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 1          UNITED STATES DISTRICT COURT OF MARYLAND
                         SOUTHERN DIVISION
 2
   ------------------------x
 3 UNITED STATES OF AMERICA  :
              Plaintiff      :
 4                           :
                             :
 5 vs                        :Criminal Action:           RWT -04-0235
                             :
 6                           :
   PAULETTE MARTIN, et al    :
 7           Defendants.     :
   ------------------------x
 8

 9                           Thursday , July 6, 2006
                             Greenbelt, Maryland
10
         The above-entitled action came on for a Jury Trial
11 Proceeding before the HONORABLE ROGER W. TITUS, United
   States District Judge, in courtroom 4C, commencing at
12 9: 58 a.m.

13       THIS TRANSCRIPT REPRESENTS THE PRODUCT
         OF AN OFFICIAL REPORTER, ENGAGED BY
14       THE COURT, WHO HAS PERSONALLY CERTIFIED
         THAT IT REPRESENTS THE PROCEEDINGS AS RECORDED AND
15       REQUESTED.

16       APPEARANCES:

17       On behalf of the Plaintiff:

18       DEBORAH JOHNSTON, Esquire
         BONNIE GREENBERG, Esquire
19
         On behalf of the Defendants:
20
         MICHAEL MONTEMARANO , Esquire
21       ANTHONY MARTIN, Esquire
         MARC HALL, Esquire
22       TIMOTHY MITCHELL, Esquire
         PETER WARD, Esquire
23       EDWARD SUSSMAN , Esquire
         HARRY MCKNETT , Esquire
24
   Tracy Rae Dunlap,   RPR , CRR                      (301) 344-3912
25 Official Court Reporter




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 1                                 I N D E X

 2                           DIR    CROSS      REDIR    RECROSS
     Shelton Roberts         147    160        172       175
 3
     Moises Uriarte          180    206        213        215
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23 Reporter's Certificate                                       226

24 Concordance                                                  227

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 1             THE COURT:      Is Mr. Sussman   here ?

 2             MR. MCKNETT :     I think he 's on the phone try ing

 3 to reach his client .

 4             MR. MARTIN:      He's been on the cell phone for the

 5 last half hour , 40 minute s try ing to reach his client .

 6             THE COURT:      Yesterday   was the elevator s.     Today

 7 it 's illness .

 8             MR. MARTIN:      Next are the lo custs .

 9             THE COURT:      Don't talk that way .      It'll happen .

10 I think I saw Mr. Sussman .

11             THE COURT:      Good mor ning, Mr. Sussman .

12             MR. SUSSMAN :     Good morn ing , sir .

13             THE COURT:      Can you give me an update      as to what

14 you know right now .

15             MR. SUSSMAN :     I spoke to my client      after Mr.

16 Krinsky     spoke to me , and she said she had a doctor 's

17 appointment .      I said it require s more urgent         attention

18 than that .      She said she would be going to the

19 emergency     room .     The closest    one -- she live s in

20 Dun bar .    I don't know     the hospital s up there .

21             Since that , I told her to call me when she get s

22 to the hospital .         I have not heard from her .       I don't

23 know -- at that time , it was probably           about 30 minute s

24 ago , and I'm not able to reach her on her cell .               I

25 don't know      if she 's in the hospital      -- I really     don't




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 1 know where she is right now .           The last time I spoke

 2 with her , she was going to leave .

 3           THE COURT:      Do you know what the nature        of the

 4 problem    is ?

 5           MR. SUSSMAN :      She was sick yesterday , and

 6 apparent ly everybody       noticed    it but me , who is

 7 general ly fair ly insensitive , and she has chill s,

 8 swollen    glands , she was -- had intestin al -- she

 9 mention ed that a couple        of time s about that being

10 problem s.        She was n't look ing well is the consensus .

11 But past that , I can't .

12           MR. MCKNETT :      Your Honor , for what it 's worth , I

13 sit next to Ms. Hard en during          the trial , and it was

14 obvious    to me yesterday      she was in distress .       She was

15 complain ing about feel ing very , very poor ly yesterday .

16           THE COURT:      You're    much more sensitive .

17           MR. SUSSMAN :      Almost   everybody   is , Judge .

18           We had discuss ed various       option s to try to save

19 time .    I have no problem        with her legal matter s,

20 waivi ng her presence       with the legal matter s, 404(b)

21 issue s and some other thing s.

22           MS. GREENBERG:       She actual ly has no standing        in

23 the 404(b)        issue s, so that was the government 's

24 position .

25           THE COURT:      Well , yeah .   I think I can hear




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 1 argument s on 404(b)        issue s without    her presence , but

 2 any testimonial       matter , she 's either     going to have to

 3 waive it or she 's got to be here .

 4            MR. SUSSMAN :     One of the thing s we discuss ed --

 5 Sergeant     Sakala   is still on the stand , and I had some

 6 plan s to cross -examine       him further .     We could move him

 7 off and move on to other thing s that don't direct ly

 8 concern     my client .     I would want her -- to reach her

 9 explain     the situation,     and have her , through       some way ,

10 make a waiver     for Your Honor .

11            THE COURT:      Let me say this :     I was thinking

12 about this before         I came on the bench , and it seem s to

13 me I've got several         option s, hope fully she will call

14 you and tell you they just gave her a magic pill and

15 she 's on the way , but I don't know           if that 's going to

16 happen .

17            If she de sire s to waive her right to be present

18 during     the proceed ings while she 's attending          to her

19 illness , I would strong ly believe           that that waiver

20 ought to be at least         effectuated   by her on the

21 telephone     so that I could personally         address    her so she

22 understand s what she 's waivi ng .        So , you're     wait ing to

23 hear from her ; is that correct ?

24            MR. SUSSMAN :     That 's correct .    Just for the

25 Court 's information , I would advise           her that a waiver




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 1 would be okay as long as        these matter s were peripheral

 2 to her own case , search es of people 's premises , thing s

 3 of that nature .     I would certain ly not advise          waiver     if

 4 the matter s were direct ly --

 5         THE COURT:      Well , we can cross that bridge          when

 6 we get to it .     It may be    that with some cooperation           by

 7 all parti es we could deal with matter s that are mostly

 8 not germane    to her , and she could waive to that ex tent ,

 9 but I want to make certain          that if there is a waiver ,

10 that I address     her personally , even if it 's

11 tel ephonically,    and we can put it on the speak er and

12 have it on the record .

13         The only other option         if we -- if she 's just not

14 going to appear     is to issue a bench warrant          and force

15 her to come , which I don't want to do if somebody               is in

16 the hospital , so that 's not -- does n't seem to be an

17 option , but I don't know       how serious    it is .    I could go

18 to the hospital     because    I stub bed a toe , I could go to

19 the hospital     because   I have    a life -en dangering

20 condition .    I don't know     what her situation       is .

21         The only other option         I see is to sever her from

22 this case , which is not a pleasant          option .    So , those

23 are my musi ngs , but let me hear from Ms. Johnston              as to

24 what her solution     is to this problem .

25         MS. JOHNSTON:       Your Honor , well , quite frankly ,




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 1 if she had a flu or stomach         virus , most people       would go

 2 see their family      doctor    and could have done it last

 3 night if she was that ill .         And I probably      sound more

 4 insensitive     than Mr. Sussman         sound ed earlier   in term s

 5 of not notici ng her .        I knew she was wrap ped up

 6 yesterday , and quite frankly , it 's usually           a little

 7 chilly   in this courtroom .       Many of us are sitting           here

 8 huddle d, not under blanket s, other than Ms. Hard en , but

 9 I believe     that -- I don't hear that it 's a

10 life -threatening     illness .    It sounds     like it may be

11 some kind of flu or something             along that line .    I

12 certain ly don't think a severance            is appropriate       in

13 this case .

14          THE COURT:       No , that 's the last option        on my

15 list .

16          MS. JOHNSTON:        The government      would suggest

17 that , perhaps , the most practical           way to handle    this is

18 to proceed     with the legal argument         on the 40 -- all of

19 the 404(b)     evidence .     The Court 's heard enough       of the

20 case at this point to , we believe , make rulings              in

21 term s of the    404(b)     evidence .

22          We would then elect to proceed , get Ms.

23 Harden   on the phone , if we have to call Bay view

24 Emergency     and get their emergency         room to get her on

25 the phone and waive her presence , for example .               One




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 1 witness     we have to call today is Shelton          Robert s, who

 2 is involv ed in the 19 86 search es of residence              where Ms.

 3 Martin     was living   sell ing drug s, call him .       That has

 4 nothing     to do whatsoever     with Ms. Harden .

 5            We also have Moises     Uriarte , who was a source          of

 6 the heroin     in New York who could testify .          He won't

 7 have anything     to do with Ms. Harden . He was scheduled

 8 to be our next witness .         We would -- we had planned ,

 9 then , to go to Paula 's School of Perform ing Art s, that

10 search , and then search        of Hayward , but I think Mr.

11 Sussman     may want Ms. Harden        present   for those search es

12 because     they are more close ly associate d with his

13 client .

14            THE COURT:      It sounds    to me like what we should

15 do , and I assume , Mr. Sussman , you are -- I don't know

16 that client     has the right to be present          during    a legal

17 argument , but to the ex tent that she has any right to

18 be present     on the presentation        of the 404(b)    argument s,

19 do you waive her presence         for that ?

20            MR. SUSSMAN :     I will waive her presence         for

21 that .

22            THE COURT:      Plus , I don't think     the 404(b)

23 evidence     has -- I don't think        she has a dog in that

24 fight .     I mean , that 's not an issue affect ing her .

25            MS. JOHNSTON:      That 's correct , Your Honor .




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 1            THE COURT:      All right .     Well , let 's do this .

 2 Mr. Sussman     is your cell phone on ?         You have my

 3 bless ing to turn it on .

 4            MR. SUSSMAN :     It is .     I would ask if it 's all

 5 right for the Court if I excuse             myself   during   the

 6 argument     to get better     reception , and I will try the

 7 Bay view thing if I can't get her also .

 8            THE COURT:      Then if everybody     is in agreement ,

 9 what I'm going to do is I'm going to , first of all ,

10 tell the jury or have Bea tell the jury that there 's a

11 delay because     a party is ill and we're address ing it

12 and we'll keep them posted .           But in the meantime , I'll

13 tell them we're hear ing argument            on some other matter s,

14 and hope fully we'll know what the answer              is by 10 :30 ,

15 and I'll give them an update .            But I'll just tell Bea

16 to tell them we're go ing to be a delay ed start because

17 of the illness     of one of the parti es and we will advise

18 them as soon as the question           of that person 's illness

19 is better     known .

20            MS. JOHNSTON:      Your Honor , as I said , we have

21 those two witness es who will be here by 10 :30 prepared

22 to go that are totally         un related    to Mr. Sussman , and

23 then we can discuss        which search      location s he would

24 prefer .     We have a third -- we have another           cooperator ,

25 Emilio     Echarte , who also has nothing        do with Ms.




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 1 Harden    , so we have witness es .        I just need some

 2 advance    notice   in term s of the search        officer s.

 3            THE COURT:      Mr. Sussman , you have my bless ing to

 4 turn your cell phone on , and at appropriate                 time s, if

 5 you need to go out and just check and see if there 's a

 6 call , you may do so .        Since you're      waivi ng her right ,

 7 to the ex tent she has one at all , to be present                during

 8 the legal argument , and you have my bless ing to absent

 9 yourself    periodically      to check on her status .

10            MR. MCKNETT :     Your Honor , jus t for the Court 's

11 schedule , there is an issue that I would like to be

12 heard on before      Sergeant     Sakala   return s to the witness

13 stand .    It arose yesterday , and I thought           about it last

14 night , and I think I need to address             it with the Court

15 this morn ing .

16            THE COURT:      What is the nature       of the issue ?

17            MR. MCKNETT :     It has to do with the -- well , it

18 has to do with the sergeant 's testimony              about the basis

19 for some of his opinion s that he testifi ed to

20 yesterday .

21            THE COURT:      Can you give me a more -- another

22 clue ?

23            MR. MCKNETT :     The sergeant       is sitting    here , Your

24 Honor .

25            THE COURT:      Oh , oh .   Okay .




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 1            MR. MCKNETT :     I'm being a bit cryptic .

 2            THE COURT:      Sergeant , do you want to absent

 3 yourself    from the courtroom      for a moment , please ?

 4            (Ser geant Sakala    excused    from the courtroom .)

 5            THE COURT :     You may proceed .

 6            MR. MCKNETT :     If I may proceed , Your Honor .        If

 7 the Court will recall        early in the case before        we

 8 start ed the actual       trial , I had filed on behalf       of all

 9 defendant s a Motion to Exclude           Expert Testimony    on

10 Daubert    grounds,     and also on proffered     hearsay    grounds .

11            In response     to question ing during    the hear ing on

12 that argument     on that motion , the sergeant        testifi ed

13 that he did not form any of his opinion s on information

14 he received     from other people        involve d in the case .    He

15 said he form ed his opinion s from other information , and

16 then when he talk ed to the individuals , the informant s,

17 cooperators     and such , they confirm ed his opinion , so

18 that information        was not the basis for his opinion .

19            I took that , I think legitimate ly , so I took

20 that to be , in effect , one of the rule s of engagement

21 that I could question        him about the basis for his

22 opinion s and reasonably        expect    that he would maintain

23 that same position .

24            Yesterday     when I was question ing him about the

25 -- his opinion     about the nature        of the relationship




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 1 between    my client , LaNora    Ali , and Gwen Levi , he state d

 2 -- I can't quote him verbatim , but he said that he had

 3 the opinion    that my client     knew that Ms. Levi was

 4 involve d in the drug trafficking          business   from

 5 information    he received    outside   of the conversation       we

 6 were referring     to , and then if I remember        correct ly , he

 7 tri ed to kind of    en courage d me to ask the next question

 8 about what was the basis for that opinion             and I didn't

 9 ask that next question .

10           However , when Ms. Johnston       re direct ed her

11 question ing toward     the sergeant , she asked him what is

12 the basis of that opinion .        And he said that he form ed

13 the opinion    concern ing the -- he formed        his opinion

14 concern ing my client 's knowledge         of Ms. Levi 's drug

15 activities    from information     he received     from other

16 people    and that is almost     verbatim .

17           So in effect , the sergeant       changed   the rule s of

18 engagement    in the course     of his testimony .      I believe

19 that re open s the argument      that I made initial ly that he

20 has now elevate d hearsay       evidence    that he received     from

21 other individuals      to the level of ex pert opinion , which

22 is im permissible , I believe , pursuant        to Crawford , and

23 also by general     hearsay   rule s.   He can't do that .

24 That 's exactly    what he 's done .

25           I think the key -- the only solution          the Court




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 1 has would be -- I would ask at this point in the

 2 alternative     to either     strike   his testimony     because    we

 3 now don't know what the foundation            is for his opinion s.

 4 He's contradict ed himself        and has now admitted          that he

 5 has form ed his ex pert opinion s based on hearsay               he has

 6 received    from other individuals         involve d in this case ,

 7 so that , I think , should cause the court to consider

 8 striki ng his testimony .

 9            I don't think     a curative    instruction     would solve

10 the problem     because , again , it 's un ringing       the bell .

11 The jury has heard the sergeant            testify    that he

12 believe s certain       thing s about my client       based on

13 information     he received     from other people .        That bell

14 cannot   be un rung by any instruction .           The only other

15 option , I think , would be to grant a mis trial , a

16 severance    of my client      at this stage .

17            THE COURT:      All right .    Well , Mr. McKnett , my

18 understand ing is that Sergeant           Sakala   was call ed , among

19 other thing s, as an ex pert witness          to ex press opinion s,

20 as I recall     them , to two broad general          area s.    One was

21 to act as an ex pert to inter pret the lingo use d during

22 these conversation s.         And in giving    an opinion       about

23 the lingo use d in these conversation s, he said he

24 could n't do that in isolation           look ing at one

25 conversation     alone , but he considered         the totality     of




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 1 all of the conversation s.        And based on the totality            of

 2 all the conversation s and based upon his judgment               and

 3 experience , he could give an opinion           of what was being

 4 said in these otherwise        potential ly nonsensical

 5 conversation s.     Second    area was to give ex pert opinion

 6 about the way s in which people           conduct   the drug

 7 business    and that was based upon his general           background

 8 and experience .

 9            I think that 's a correct       description    of what he

10 was permitted     to testify    about .     Now , he may have    been

11 asked some question s that veer ed to the edge s of those

12 ar eas of expertise , but let me hear from Ms. Johnston .

13            MS. JOHNSTON:     Your Honor , first , let 's be clear

14 about what happened        here in term s of his direct

15 examination .     Detective    Sakala     was very clear he was

16 testify ing based upon his background           and train ing and

17 his interpretation      of the call s in con text with the

18 other call s and the surveillance s, and that any

19 information     he got from cooperator s was something           that

20 was corroborative      of his testimony .

21            And in his direct    examination , he testifi ed

22 consistent    with that .     It was during     Mr. McKnett 's

23 cross-examination      when Mr. McKnett       asked him whether        --

24 asked him if he had an opinion            as to whether   or not   Ali

25 knew Gwen was involve d in drug s, and this was in




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 1 response    to Mr. -- that was Mr. McKnett 's question .

 2 I'm para phrasi ng it based upon my note s.           And he said ,

 3 yes , he had an opinion .

 4            So that was something         that came out on

 5 cross-examination      , and then Mr. McKnett       twice asked him

 6 about what was the basis of that opinion , and the --

 7 Detective     Sakala   was very care ful and said that he had

 8 other information         and left it that general .

 9            In re direct    examination , I asked him about that .

10 My question     was not object ed to by Mr. McKnett , and

11 certain ly my question        was proper    in light of the fact

12 that he opened     that door and in asking        the detective       if

13 he had an opinion         as to whether    Ali knew Gwen was

14 involve d in drug s.        And so I asked him , and he said

15 that he had gotten         information    from other source s.

16            And that was the ex tent of it .         Not any

17 testimony     about what other people        told him , but

18 certain ly what happened        here was as a result     of

19 question s Mr. McKnett        asked him on cross-examination      .

20 He asked him whether         or not the detective     had an

21 opinion    as to whether      Ali knew Gwen was involve d in

22 drug s.    Certain ly that was not something         that we

23 covered    on direct      examination , something    that he asked ,

24 and the detective         was -- and then he asked him what the

25 basis of that opinion         was .




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 1            And certain ly I was permitted       to follow    up on

 2 those question s that he asked .           That certain ly is

 3 nothing    im proper    about that and --

 4            THE COURT:      Well , let me say this :    I am not

 5 inclined    to grant the motion         for the reason s state d by

 6 Ms. Johnston , but what I would prefer            to do is to take

 7 your motion     under advise ment and look at the

 8 transcript , because       when an objection      is not made right

 9 then and there and it 's fresh in my mind , I don't have

10 perfect    recall .     And what I'd like to do is to take a

11 look at the specific        ex change s that we're talk ing about

12 which would start with your cross-examination              , Mr.

13 McKnett , and then her re direct          to see whether    we have

14 an issue or not .

15            I'm inclined     to think that since this is

16 something    that arose on cross-examination         , that it

17 would not serve as a basis for striki ng his entire

18 testimony    or severing     your client , but I don't want to

19 cross that bridge        finally .   I'd rather    do it care fully .

20 So let me ask Ms. Dun lap , at her convenience , because

21 we're going to be here a long time together,               to put

22 together    for me the testimony         that she -- that he gave

23 on Mr. McKnett 's cross-examination           and the re direct

24 that the government        elicited .

25            MR. MCKNETT :     I was refer ring to    yesterday .




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 1            THE COURT:      Okay.     So what   we really    need to see

 2 is yesterday 's brilliant           cross-examination      by Mr.

 3 McKnett    followed     by the government 's re direct        on that

 4 issue ; right?

 5            MR. MCKNETT :     Yes , Your Honor .     While it 's still

 6 fresh in my mind , may I respond            to what Ms. Johnston

 7 said ?

 8            THE COURT:      Sure , sure .

 9            MR. MCKNETT :     Your Honor , the reason        I asked the

10 question    -- part of the reason          I asked the question

11 about the basis , I think if I remember             correct ly , I

12 asked him if there was anything             in the transcript s that

13 caused    him to have the opinion          that Ms. Ali knew about

14 Ms. Levi 's drug deal ing activities .           And if I remember

15 correct ly , he indicated          not in the transcript s or the

16 other evidence , but there was other information                that he

17 reli ed on .

18            Now , I didn't    pursue    that because     I was n't sure

19 what the answer       would be ; and second ly , because        he had

20 already    said at the motion s hear ing that he did not

21 base any of his opinion s on what he was told by other

22 people    involve d in this case , so there was absolute ly

23 no expectation     and no reason        for me to expect      that he

24 would then refer to what he was told by other people

25 involve d in this case .           That 's exact ly what he




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 1 testifi ed to .

 2            THE COURT:      My problem , Mr. McKnett , is I just

 3 don't recall      it with absolute       precision .     I'd like to

 4 take a look at the written            words on a transcript , so

 5 I'm going to take no action            on your motion     at this

 6 time, but I'll consider         it further .    Okay .     All right ?

 7 Mr. Sussman , did you have any success ?

 8            MR. SUSSMAN :     I have nothing    additional , sir .

 9            THE COURT:      Nothing ?    All right .

10            MR. MCKNETT :     Your Honor , may I just , if I may

11 just inquire .      Does the Court intend       to rule on that

12 before    the sergeant      return s to the stand ?       I still have

13 re cross to do .

14            THE COURT:      I'll have to ask Ms. Dun lap .

15            MS. JOHNSTON:      Your Honor , I could -- this

16 happened     when Mr. McKnett        was question ing Agent Sakala

17 in reference      to Call B4330 , so that might help our

18 court reporter      find that portion       of his re direct ,

19 because     his re direct    was quite lengthy .

20            THE COURT:      Right .

21            MS. JOHNSTON:      His cross-examination        was quite

22 lengthy .

23            THE COURT:      Well , Ms. Dun lap has been busy

24 late ly , but Ms. Dun lap , what is your estimate of when

25 you will be able to get that?




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 1           COURT REPORTER:       Just that portion,         Judge,   I can

 2 have that for you first thing in the morn ing .

 3           THE COURT:       Well, let me see if     I can address it

 4 first thing in the morning.           It may very well       be we

 5 have to drag Sergeant        Sakala   back a second time if we

 6 can't get it resolved,         but I'll do my level best to get

 7 this resolved quickly.          Who want s to present       argument s

 8 on that ?     Mr. Montemarano ?

 9           MR. MONTEMARANO :      Thank you , Your Honor .

10 Court 's indulgence .       Initial   -- I'm not saying        this to

11 criticize     Ms. Johnston     in any way , shape , or form , but

12 I want the Court to understand , when we receive d that

13 massive     provision of    Jenks , Mr. Robert s -- Shelton

14 Robert s is not identifi ed as one of the           potential

15 government     witness es , so I don't know      that I have Jenks

16 identifi ed to him relative        to these former     search es .

17           MS. GREENBERG:       Your Honor , just to shortcut

18 this , Your Honor , it 's the      404(b)   that we sent out a

19 week before .

20           MR. MONTEMARANO :      Okay .

21           MS. GREENBERG:       One week before     trial .     It was

22 in there .

23           MR. MONTEMARANO :      Week before     trial ?

24           MS. GREENBERG:       The month before .

25           MR. MONTEMARANO :      The month before     trial I have .




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 1 I have a letter      referenci ng my client 's prior

 2 conviction     of possession    of an un registered       firearm   and

 3 ammunition , possession       of intent    to distribute     cocaine

 4 on December     11th, 1986,    and her receivi ng a 15 -year

 5 sentence , so the ex tent that we have something             beyond

 6 that .

 7            MS. GREENBERG:      There was a huge stack of police

 8 report s for the 404(b) .       Judgment    convictions     and

 9 police   report s.

10            MR. MONTEMARANO :     Okay .   I do not -- I

11 apparent ly did not bring that with me .           I might have it

12 identifi ed different ly in my file .         We'll leave that

13 alone for the moment .

14            MS. GREENBERG:      One of my paralegal s is maki ng a

15 copy for Mr. Montemarano .

16            MR. MONTEMARANO :     Thank you , Ms. Green berg .

17 That all being said , we have made -- we have object ed

18 to the government 's use of 404 beginning           with the

19 original    motion s filed back in 2005 .       We then

20 reiterate d it based upon the government 's pro vision              of

21 404(b)   material    in Motion s in Limine     filed in her --

22 and prior to the filing        of the government 's 404(b)

23 material    in early May .

24            Sim ply put , I respect fully submit     to the Court

25 that the government      has not met its burden , which is at




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 1 all time s its burden , to demonstrate         to this Court as

 2 to why 404(b)     evidence , or this particular        404(b)

 3 evidence , is usable .      It is always    the government 's

 4 burden , and this Court is obligate d to require             from the

 5 government    an explanation     of how this fit s in .

 6 So that one of the possible         exception s to 404(b)       does

 7 not --

 8            THE COURT:   Let me interrupt      you , Mr.

 9 Montemarano .     I don't like to interrupt        counsel , but I

10 think because     of what you just said , and because           of the

11 language    of the rule , I ought to have you sit down and

12 have the government      tell me which exception          they're

13 rely ing upon , an d then you can respond        intelligent ly to

14 what is .

15            MR. MONTEMARANO :     Thank you , Your Honor .

16            THE COURT:   Just one moment .

17            MS. GREENBERG:      Your Honor , in our motion s

18 response    as to the theory     of admissibility , the Fourth

19 Circuit,    as we state d, at Page 10 of our motion           has

20 indicated    that 404(b)    evidence   can be admissible        under

21 multiple    bases .

22            There 's two circuit s, the 6th Circuit         and the

23 10 th Circuit    which have different      analysis    which say we

24 have to precise ly articulate        the purpose    for which the

25 evidence    is sought   to be admitted .      However , even those




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 1 circuit s where it 's apparent        from the record     what the

 2 basis is , the Court has allow ed it .

 3            What I'd like to do for the argument , Your

 4 Honor , is sort of go over the prior convictions              we seek

 5 to introduce     rely ing on , of course , on the Fourth

 6 Circuit    authority    for why it is admissible , and if the

 7 Court determine s that it 's appropriate         to file the

 8 Six th and the follow       the Six th and Tenth Circuit          rather

 9 than Fourth     Circuit,    which allows    multiple    base s.

10 Although    the Fourth     Circuit   has n't ruled on the

11 specific    issue , what we can do --

12            THE COURT:      I don't think   the Fourth     Circuit     has

13 said , I don't have to follow         the rule , but I mean , the

14 exception    to the usual exclusion        of this , at least

15 in so far as it s being sought       to prove the character         of a

16 person    in order   to show action     in conformity     there with .

17 These exception s are there .

18            I have to figure     out how it come s in under one

19 of the exception s.        Now , perhaps   I don't have    to pin

20 you down on precise ly which one it is .           Maybe you can

21 tell me it 's fi ve of them or whatever         the case may be ,

22 but I think it would be appropriate           to our discussion

23 of this that you tell me how you believe            that it       come s

24 within    the exception     as a whole .

25            MS. GREENBERG:      Absolute ly , Your Honor .     And as




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 1 the Fourth     Circuit    said in United   States v.    Queen , that

 2 list under 404(b)        is not exhaustive , and if the Court

 3 look s to Footnote       3 of that decision , some of the other

 4 base s for which prior act evidence           was ad missible     under

 5 Fourth   Circuit    law is there 's a bunch of case s cite d

 6 there and some other incident s are ad missible            to prove

 7 knowledge     of the drug trade .

 8          That 's the Sanchez      case that 's cit ed in Footnote

 9 3 of Queen ; show intent       to distribute      narcotic s, that 's

10 the Ford case cite d in Footnote         3 of Queen and the Boyd

11 case , which is     to show motive     and nature    of the

12 defendant 's relationship        with co- con spirators.

13          Starting    with the first witness , you will have ,

14 Your Honor , Mr. Robert s.        Mr. Roberts     was involve d in

15 the case in which Ms. Martin         was convict ed in 19 86 for

16 which she received        a 15 -year sentence .     It was later

17 reduced , but it involve d a search        at Ms. Martin 's

18 residence     on 8th Street and drug s were being sold from

19 that residence .

20          And a confidential       informant    bought   cocaine    from

21 -- I'm sorry , Your Honor , it 's two search es , but the

22 one I'm going to speak about specifically , which is in

23 the Complaint , is approximately         $100 ,000 of cocaine       and

24 crack cocaine      or numerous    small baggi es throughout        the

25 residence .     Also , documentation     for an insurance       claim




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 1 for one of the      victim    compani es , over $7,000 , drug

 2 paraphernalia , a .32 caliber         handgun    and ammunition .

 3           That is very similar        to this case , Your Honor ,

 4 in which Ms. Martin       has allege d to have large

 5 quantiti es of cocaine        and crack cocaine     for

 6 distribution , large amount s of cash , and of course , as

 7 you -- the Court know s, it 's not comi ng up in this

 8 case , but a related      insurance    issue .    And these

 9 search es were both in June of 19 86 .

10           Mr. Montemarano      said in his opening        on behalf    of

11 Ms. Martin    that she was a concert        promoter , that she

12 was an entrepreneur,         and that drug deal ing was a young

13 person 's game , and that she only sold small amount s to

14 support   her addiction .       Given that defense , Your Honor ,

15 this evidence     is high ly relevant , high ly probative , and

16 as the Court is aware , 404(b)         is a rule of inclusion ,

17 not exclusion .

18           We are not introducing        this evidence      to prove

19 bad character .      We're introducing      this evidence      as

20 high ly probative      as to Ms. Martin 's involve ment in this

21 conspiracy , and in this conspiracy          is -- start s back in

22 19 97, and she received        this conviction     in 19 86 for very

23 similar   conduct    to what occurred      in this case .

24           The second    conviction     as to Ms. Martin      -- I'm

25 sorry , the second      incident , Your Honor , the 19 86 , was a




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 1 conviction     of that 19 94 was not -- the second        one I'm

 2 speak ing about is not a conviction .           If I mis spoke , I

 3 apologize , but the second       incident    involve d a search      in

 4 19 94 , just three year s before      the incident s we're

 5 talk ing about , in this case , direct ly at Paula 's School

 6 of Perform ing Art s.

 7            Ms. Martin   was pre sent at the time of the

 8 search , and officer s re covered      heroin    from a portfolio

 9 with Ms. Martin 's picture s, a scale , and Ziploc

10 baggi es .    In addition    to the other reason s to which

11 this evidence     is high ly probative      is that in this case ,

12 we have cooperator s that bought        drug s from Paula 's

13 School of Perform ing Art s.

14            We wiretap   call s in which drug s were move d to

15 Paula 's Sch ool of Perform ing Art s.        We have a search       of

16 Paula 's School of Perform ing Art s, so that is in

17 addition     to the reason    I state d for the 19 86 conviction

18 and the under lying conduct       comi ng into evidence .

19            So I think in this case , give n the nature         of the

20 charge , the nature     of the   prior act , and the role of

21 Ms. Mart in in this conspiracy , in light of --

22 especially     in light of her defense       that this evidence

23 is high ly probative     as to all prongs       of the 404(b)

24 rule , as well as to prove as under the Sanchez             case Ms.

25 Martin 's knowledge     of the   drug trade on which she




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 1 claim s that she is a mere user who distribute s small

 2 amount s of narcotic s.

 3          THE COURT:     All right .

 4          MS. GREENBERG:        Your Honor , I will stop there

 5 and perhaps     deal with each defendant .

 6          THE COURT:     Okay .

 7          MR. MONTEMARANO :       Thank you, Your Honor .        Thank

 8 you , Ms. Greenberg .

 9          Your Honor , with all due respect          to Ms .

10 Green berg , who I have been contend ing with for year s,

11 if I hear the government         say one more time that Rule

12 404(b)   is a rule of inclusion       and not exclusion , with

13 all due respect , it will be me and not Ms. Harden              who

14 is losi ng his breakfast .

15          The simple    fact is under the very schematic

16 draw ing before    the Court drawn by Ms. Greenberg , the

17 Fourth Amendment      is rule of inclusion .       Everything    is a

18 rule of inclusion      unless    you don't meet its standard ,

19 whereupon     it is obvious ly a rule of exclusion , and that

20 is exact ly what we have here .        Let us start with the

21 government 's initial     --

22          THE COURT:     It 's an exception       to a rule of

23 exclusion .

24          MR. MONTEMARANO :       Fair enough .     And with regard

25 to the government 's initial        attempt   to seek suck er in




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 1 the Fourth    Circuit , I would point the Court to the

 2 second    page of my Motion in Limine regard ing Rule 404

 3 where we discuss       the question     of probative        value cite d

 4 to the Fourth    Circuit     decision    in Hernandez        at 975

 5 F.2d .    When the defendant       deny s his involve ment in the

 6 charge d offense , the 404(b)         evidence    becomes     much more

 7 prob ative and   relevant     relative    to the question s of

 8 involve ment .

 9           THE COURT:      How is it not responsive           to the

10 argument , as I recall       you made , or statement s you made

11 in opening    statement , that your client           was a mere user ?

12           MR. MONTEMARANO :        I didn't    say that .     I said my

13 client    sold drug s.     There is no question        she dealt

14 drug s.    We have , for lack of a better           term in opening

15 argument , admitted       to the necessary       element s of Section

16 846 and Section       841 offense .     Not 846 , I'm sorry ; 841

17 that she dealt drug s.

18           The question     may well be amount .         The government

19 cannot    bring in 404(b) , which is pure pr opensity

20 evidence    under this analysis        to show that she did

21 something    which she has admitted           to do ing .    That is

22 plain character       evidence .    There is question         about it .

23 That 's the reason       they are seek ing to bring it in .

24           My client    is not deny ing that she dealt drug s.

25 Therefore , that she may have          dealt drug s in the past is




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 1 absolute ly exterior     to any analysis           of whether       or not

 2 she 's guilty    of deal ing drug s.        And that she may have

 3 dealt large amount s in the past or may have                  had

 4 possession     with intent      to distribute       of larger       amount s

 5 in the past is not probative             of her possession          at this

 6 point .    That is pure propensity          evidence .

 7            That is like say ing , well , she did it before ,

 8 she obvious ly did it         here .    One thing the government

 9 does not argue in attempt ing to            tie them together          is

10 any sort of similarity          between    the offense s.          There has

11 to be some level of similarity .             There has to be some

12 level of uniqueness .          Otherwise , it is plain propensity

13 evidence    and the circuit s are unanimous            in their

14 agreement     regard ing that .

15            Court 's indulgence , please .          The simple       fact is ,

16 Your Honor,     that my client         may have    had large amount s

17 of drug s in 19 84 or 19 86 is not relevant                in any way ,

18 shape , or form to her possession            of large amount s here

19 and now to it being her possession                versus    someone

20 else 's, there is clear joint and several                  possession       of

21 drug s in the residence         at Bexhill    -- rather       at

22 Nicholson     and in the School of Perform ing Art s, the

23 South Dakota     add ress .

24            There are other people         who had access       to it , we

25 will demonstrate      that .     It is clear Mr. Martin , John




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 1 Mart in, who I know has previous ly been convict ed of

 2 this before     this Court,    had access   to both location s.

 3 The drug s were , as I understand       from the government 's

 4 evidence , not in plain view .        There were several          of

 5 those can safe s that had drug s in them , an Aqua Net

 6 can , for example .

 7            These are all thing s that argue against          the

 8 question     of my client 's specific     knowledge    and

 9 participation     in large amount s of dealing .        Th is kind

10 of evidence     is simply    not persuasive    of that question .

11            Court 's indulgence , please .      The simple    fact is

12 in any kind of balanci ng test , under Rule 403,             as

13 required by     House , which is   the -- I think the lead ing

14 case on Rule 404 , this simply        cannot   be understood           to

15 come in .     The simple    fact is they cannot     use it to show

16 motive where a defendant        fail s to place motive       in

17 issue .     They cannot    use it to show identify      because

18 there 's no question       regard ing her identity .

19            The government    says , well , we have many way s to

20 get it in .     That 's very true , but a lot of them don't

21 apply to this case , and the only reason           that they can

22 demonstrate     to this Court is to show that because              she

23 may have     dealt large amount s of drug s in the past an d

24 was convict ed for that once and was arrested            for that a

25 second    time and not convict ed , based upon those two




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 1 event s, she is clear ly deal ing large amount s now .

 2 What is plain is that          she has not learn ed her lesson

 3 and has continue d to deal .

 4            But this is simply      not probative   of her

 5 possession     of a large amount      and knowledge    of a large

 6 amount    now because   she may have     some other time , and

 7 there is simply     not enough      commonal ity between    the

 8 offense s as charg ed in this con spiracy to          be able to

 9 bring in an offense      that is 10 and a half year s old at

10 best , the 19 86 conviction , or the criminal          pro pensity

11 argument     concern ing evidence     three year s old .

12            There are case s that --     I did not write an

13 extraordinarily     long Motion in Limine , but Your Honor ,

14 I've argue d this in front of the         Fourth   Circuit , I have

15 written    a 30 -page appellate      argu ment on this .    With all

16 due respect , there are place s where seven month s is far

17 too long .

18            There 's place s where somebody 's deal ing drug s in

19 one instance     and deal ing drug s in another       instance    --

20 this is a 5th Circuit          case , and the name of it escape s

21 me right now , where the defendant         is deal ing drug s.         He

22 has it in a condom      in his mouth , and he re move s the

23 condom    from his mouth .       He take s out the crack and he

24 serves the     under cover .     And in prior arrest s, without

25 those particular      indicia , six month s before      was shown




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 1 to -- was clear ly found by the Fif th Circuit               not to be

 2 probative .

 3            It 's simply    drug deal ing that 's propensity

 4 unless     he 's deal ing it in the very same way on the

 5 prior , deal ing it out of his mouth us ing a rubber .

 6 It's not indicative         and the government      cannot    show that

 7 sort of length .

 8            For that reason , with all due respect , it 's not

 9 very different      than the government        in an arson case

10 show ing there were prior fire s at a defendant 's place

11 of business , that there were fire -- prior insurance

12 claim s at the place of business .            That 's simply    not

13 enough .     That is pure propensity         evidence , oh , he 's

14 committed     other arson s in the past , he mus t be

15 committing     another     arson now , and that 's what th ey're

16 try ing to show .

17            THE COURT:      Let me ask you this , Mr.

18 Montemarano :     You respond ed to my question         about your

19 opening     statement     by say ing that what you concede d on

20 be half o f your client       was she had sold drug s, that the

21 real issue was quantity         of drug s.

22            MR. MONTEMARANO :     Yes .

23            THE COURT:      So , would it be fair to say that you

24 have place d at issue whether         your client     is a

25 small -time drug deal er in small quantiti es versus              a




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 1 large -quantity    drug deal er as alleged by          Indict ment in

 2 this case and you've        place d that in issue ?

 3            MR. MONTEMARANO :     I think it 's a fair statement ,

 4 yes .

 5            THE COURT:      Why would not evidence        of prior drug

 6 sell ing activities      be germane     to the question      of

 7 whether    she 's sell ing significant      quantities      of drug s?

 8            MR. MONTEMARANO :     That question       today , or in

 9 term s of this case , there 's two part s of that question

10 of whether     or not   she 's sell ing large amount s now .

11 Number    one , are there large amount s present ?           Well , we

12 see that that 's true .       I proffered    to the Court that

13 the government     is going to seek to bring in            and will do

14 so , because    my Motion to    Suppress    has been deni ed , the

15 result s of the    search    of Paula 's School of       Performing

16 Arts was about 600 grams of cocaine , you know , around a

17 pound and a half , split almost          even ly between     crack and

18 powder , seize d from that business .             That 's plain ly a

19 distribution     amount .

20            I don't think     I'm going to get very far

21 cross -examining    Sergeant    Sakala    on whether     or not

22 that 's a distribution       amount .    Okay ?     So there 's no

23 question    there 's a distribution       amount     there that 's

24 going to come in .       The government     has that .

25            The second   question   is my client 's knowledge           of




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 1 participation .       This is not probative , 19 94 or 19 86 of

 2 her knowledge     or her participation        in this conspiracy .

 3 It is pure character        evidence .     Did it before , did it

 4 now .    There is nothing .     There is no particular

 5 pattern , like if they are going to show that the drug s

 6 were secret ed in a certain       place back then and secret ed

 7 in the same place .

 8            THE COURT:     What about its relevance        to just

 9 general    knowledge     of the drug trade ?

10            MR. MONTEMARANO :    We've not place d -- general

11 knowledge    of the     drug trade is not a material         issue

12 today because     we've admitted       it in opening .     That 's not

13 a material    issue .     No more than identity .        If they

14 said , well , it show s that it        was Paulette   Martin .

15 Well , so there was some other Paula at Bex hill ?               There

16 was some other Paula at Nicholson            -- I mean Hayward ?

17 There was some other Paula at South Dakota ?               That's not

18 a question;     that 's a red her ring .

19            The simple    fact is it was character        evidence .

20 She was a big scale drug deal er once .           She 's a big

21 scale drug deal er now .       They have to show something

22 using the same kind of pattern            and /or practice    that

23 there was an arrest        of people     from a prior case

24 relating    to the same pattern        of conduct .   They can't do

25 that .




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 1            This is pure propensity       evidence,    Your Honor ,

 2 because     they haven't     given you anything      else because

 3 she knew it then , she know s it now .          If that 's not

 4 character     evidence , Your Honor , then there is no

 5 character     evidence     that is pure propensity .      If she did

 6 it before , she 's going to do it again .            We've cop ped

 7 that she 's do ing it , and now they're         say ing , oh , she

 8 did it before        in a big manner , they can't show that

 9 now .     They're    going to have to show it some other way .

10            They've    got a huge leg up the ladder .          With all

11 due respect , I would be a fool to ignore             that.       Six

12 hundred     grams of cocaine     is the 600 -pound gorilla.             For

13 lack of beat er term , it 's a problem         the defense        has

14 without     a doubt .     Throw ing this in vitiate s the effect

15 of that.      They will convict      based upon propensity .

16 There is no question         whatsoever .

17            She did it before , it does n't matter        how much

18 there was now .         We're going to convict    her of do ing it

19 again .     The Court is creat ing a problem , and the

20 government     is seek ing to    have the Court create        a

21 problem     by admitting     this evidence    where there should

22 be no problem .         This case should    be tri ed upon the

23 evidence , not upon my client 's character , as

24 questionable        as it may be .

25            THE COURT:      All right .   Ms. Greenberg .




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 1           MS. GREENBERG:      Your Honor , I will       be brief and

 2 be happ y to answer     any question s the Court has , but it

 3 was Judge Niemeyer      in Queen that called       404(b)    a rule

 4 of inclusion , not the government , at Page 994 of that

 5 opinion   citi ng prior Fourth     Circuit    case s, and also

 6 Judge Niemeyer     said , as a rule of inclusion , the rule s

 7 list is not exhaustive , citi ng U. S. v. Rawle in the

 8 case s I cite d before .      Mr. Montemarano     --

 9           THE COURT:    Let me ask you       this , Ms. Greenberg :

10 I'm look ing at Queen and the standard           that he

11 formulate d in that case in deal ing with evidence             of

12 prior act s and deal ing with 404(b)         and Rule 403 is that

13 it become s admissible       if it meet s the follow ing

14 cr iteria,    and then he enumerate d four criteria .

15           First , the evidence    must be relevant        to an

16 issue , such as an element       of the offense        and must not

17 be offered     to establish    the general    character     of the

18 defendant .     In this regard , the more similar          the prior

19 act in term s of physical       similarity    or mental     state to

20 the act provide d, the more relevant          it becomes .

21           Second , the act must be necessary           in the sense

22 that it is probative       of an essential      claim or element

23 of the offense .

24           Three , the evidence    mus t be re liable ; and four ,

25 the evidence     probative    value must not be substantially




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 1 outweigh ed by conclusion         or un fair prejudice     in the

 2 sense that it tends to subordinate            reason    to a motion

 3 on the fact -find ing process .          That 's the standard      of

 4 Queen , as I understand       it .

 5            MS. GREENBERG:      Yes, sir .

 6            THE COURT:     I'm assuming      that factor   three is

 7 probably      really   not an issue here .

 8            MR. MONTEMARANO :      We stipulate , Your Honor .

 9            THE COURT:     We really     need to focus on (a) how

10 is the evidence        relevant   to an issue , (b) how is it

11 probative      of an essential       claim or an element      of the

12 offense , and (4), which really           is taking    me back to

13 403 , the weigh ing of the prejudicial          effect    and so

14 forth .

15            MS. GREENBERG:      Your Honor , I think as to No. 1 ,

16 Mr. Montemarano        made our best argument      for us .     This is

17 a question      of whether   or not     she knew that there was --

18 she had knowledge        of drug transactions      and drug

19 deal ing .     There is nothing       more probative    in this case

20 than prior incident s where drug s were seize d from Ms.

21 Martin 's house and a business .

22            THE COURT:     But how is that an issue in this

23 case ?

24            MS. GREENBERG:      Your Honor , the question        is

25 whether      or not she is a drug deal er , whether        she is




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 1 part of this conspiracy , we have introduced              -- we have

 2 introduced    evidence , and will introduce        evidence       about

 3 her drug deal ings from Paulette 's School of             Performing

 4 Arts and from her house about people           comi ng and going

 5 there , about that is how she conduct s her drug

 6 business , that she 's deal ing large quantiti es of

 7 cocaine , crack cocaine , and heroin , and in these two

 8 prior incident s we have exact ly that .

 9            There is nothing    that is more probative        and

10 relevant    -- you could n't do a fact situation           for a law

11 school   class that is more on point of 404 (b) as these

12 two prior incident s involving          Ms. Martin .     One is at

13 her house where they re cover large quantiti es of drug s,

14 drug paraphernalia,      money indicative      of her involve ment

15 in drug trafficking      show ing her knowledge         of drug

16 trafficking , and she pleads       guilty    to it .

17            Then the second    is --

18            THE COURT:   How do we differentiate          between    that

19 evidence    being view ed as , well , she 's done        it before ,

20 she 's do ing it again ?

21            MS. GREENBERG:     Because    it goes to knowledge ,

22 Your Honor , and it goes to intent.           It does n't just go

23 to the fact that , oh , she is a drug deal er , she might

24 have dealt drug s out in Indian apolis         once .     We're not

25 say ing that .    We're say ing she 's in this area , she 's in




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 1 her house , she 's dealing          the same kind of drug s, the

 2 same kind of situation         that we have here .

 3             It goes to the knowledge       and intent   that is not

 4 only important      in every case , but even more important

 5 here because      of what Mr. Montemarano       said , and I didn't

 6 eve n go into how similar           these case s are in term s of

 7 the 19 94 warrant        because    she said in that situation

 8 that the money seize d was from a show .            Is that

 9 correct ; Ms. Johnston ?           The money was related     to a

10 show .      I'll get the exact quote for the Court .

11             Again , indicative      of her deal ing drug s back in

12 19 94 , indicative       of her knowledge , indicative       of what

13 we are -- what the charge s are here .            I'm sorry , Your

14 Honor .      The '86 warrant , Your Honor .       She said --

15 Court 's indulgence .

16             Again , we're not say ing , Your Honor , that

17 there 's some general        allegation    that she 's a drug

18 deal er .     We have here her house and her school , similar

19 conduct      here , which is high ly probative      of her

20 involve ment in this case , and specifically            if I could

21 direct      Mr. Montemarano 's attention      to Mr. Roberts '

22 report      from June 26 , 1996, search warrant,        Ms. Martin

23 said , here this is the money I collect ed from my show

24 Saturday .

25             And again,    what we're deal ing with here is not




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 1 character .     It's similar      conduct   going to show intent

 2 and knowledge     based on these two act s.         This is just

 3 like Unite d State s v. Mark .         This is just the kind of

 4 evidence     that is in credibly      probative   because   of its

 5 similarity     and because    of its relation      to this case ,

 6 especially     in light of the defense         in this case .

 7            MR. MONTEMARANO :      Your Honor , just so we're

 8 clear , the "large amount         of drug s" in 19 86 was less

 9 than two ounce s.        Under 60 gram s, a tenth of the

10 amount .

11            Once again , where is the pattern ?         Where is the

12 huge amount     of drug s?    I think we are going to

13 reasonably     concede    that a pound and a half is a huge

14 amount .     Two ounce s is very different .        But that she 's

15 using her home ?     She live s there .        She 's a drug addict ,

16 a drug deal er deal ing to friends          or -- deal ing on a

17 large basis , you'd visit at your home .            How is that any

18 sort of -- that 's what you would expect .                       Well ,

19 if they said she had it in her car , she had it on

20 person .     Where else ?    Where else is something unique

21 and different?      She kept it under the third rose bush

22 in the street last time       .     Pattern.    Conduct .   Relative

23 to this , relative       to that.     We can draw a line between

24 them .     Drug deal ing here , drug deal ing there just ain't

25 enough     and they can't give you any more than that




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 1 because    there isn't anymore .

 2            There isn't any more than that.            The fact there

 3 may have    been drug s at the school        is the bare st bit of

 4 commonal ity , but there 's no show ing it was hidden           in

 5 the same place, there 's no show ing it was or was n't an

 6 on going business     at this time .       Nothing    of that sort

 7 have they proffer ed to the Court .

 8            It 's plain ly propensity       evidence   and it does n't

 9 get over the Rule 403 hurdle .         Your Honor , elucidated

10 from Queen the element s.         They can't show it as

11 anything    more than character .      Once a drug deal er ,

12 always    a drug deal er .    That 's how they seek to prove

13 these case s by 404 .

14            It is chapter     and verse .     It's like Page 3 of

15 the U. S. Attorney 's handbook .       Your Honor , we've got a

16 prior conviction ; let 's bring it in .           That 's why the

17 first thing they say is it 's a rule of inclusion

18 because    that 's the way they have to argue it           because

19 they don't have any more .         If you look at th is under

20 Rule 403 , I would like the government            to explain   to us

21 how it is relevant      that my client       possess ed two ounce s

22 of cocaine     in 19 86 to the fact that she may have

23 possess ed -- Court 's indulgence          -- 26 ounce s, 25 ounce s

24 of cocaine     and cocaine    base in 19 -- excuse        me -- 2004 .

25 That 's 18 year s later , Judge .




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 1            Oh , I know .    It 's the conspiracy      which goes back

 2 to '97 .     Do we have a seizure        in '97 ?   ' 98 ?   '99 ?     The

 3 first seizure      I heard about that could be in any way ,

 4 shape or form boot strap ped to my client             -- for the

 5 record , please      get this , Ms. Dun lap .       I am not

 6 concedi ng my client 's relation          to this , but the first

 7 thing we heard was -- and brother              counsel    has been here

 8 listening     to the evidence       with me -- the arrest          of John

 9 Mart in with the 25 kilogram          wrapper s in July of '02.

10            That was the earliest         evidence   -- actual

11 evidence     other than a cooperator          say ing , oh , well I

12 sold it to her way back then and I got it from her .

13 No , let 's talk about hard fact s.            Physical   evidence .

14 We got 25 wrapper s cocaine          residue    on them .    I'll

15 concede    they're    cocaine    wrapper s.     I will probably

16 argue they are cocaine          wrapper s in my closi ng .         I

17 certain ly made that clear in cross -examining               the

18 witness es earlier .

19            THE COURT:      Okay .

20            MR. MONTEMARANO :        Where is the common ality ,

21 Judge ?

22            THE COURT:      All right .

23            THE COURT:      Mr. Sussman , do you have anything

24 new to report ?

25            MR. SUSSMAN :     No, sir.




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 1            MS. GREENBERG:     Your Honor , I'm sorry , I want to

 2 make sure the Court has the correct               fact s because      those

 3 are not the correct       fact s.     I have     an affidavit    from

 4 Shelton    Robert s, if the Court want s to receive             it , and

 5 we put this in our Motion 's Response .              The street       value

 6 of the drug s was over one hundred              thousand    dollar s.

 7 That 's how much      we're deal ing with here from the 19 86

 8 conviction .       In addition     to that , there was over

 9 $7,000 , as sort ed drug paraphernalia , and other item s

10 very similar       to the case as in this case .

11            And Your Honor , cite d in the Queen case is

12 United    States    v. Mark where the Court held that the

13 evidence    of a defendant 's involve ment in prior drug

14 transactions       was ad missible    to prove intent .        We have

15 intent    here and we have        knowledge .     They've    put that in

16 issue .    We have very similar        circumstance s here , which

17 is in credibly      probative .

18            THE COURT:     They have not put at issue intent              to

19 sell .    What they've    put in is how much .

20            MS. GREENBERG:     In term s of the quantity , Your

21 Honor , they're      say ing she was a small -time deal er and

22 that she dealt small quantiti es to support                 her own

23 habit .    What we have here is a complete ly different

24 situation    from the witness        testimony     and from --

25            THE COURT:     Maybe I'm having        a dis connect , but




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 1 Mr. Montemarano     minimize d the value of the drug s seize d

 2 in the earl ier search      and you're    now say ing it 's worth

 3 how much ?

 4          MS. GREENBERG:      Over $100,000 .      Your Honor , I

 5 would proffer     up to the Court a Statement        of Fact s,

 6 which was in large part incorporated           into our Response

 7 from what was re covered      from Paulette     Martin 's search

 8 warrant .    Specifically , Your Honor I'll read to you

 9 what is , again , in our Motion 's Response .

10          I want ed the Court to have the accurate           fact s.

11 One of the search es conduct ed in connection           with that

12 19 86 case , they approach ed the door on 8th Street .              It

13 was opened     by Ms. Martin .    She opened    the front door

14 using the name of Paul ette Murphy         at that time .        They

15 found narcotic s on the first floor , cash and drug

16 paraphernalia .     They found two plastic       bag s contain ing

17 a white powder substance from the solid form rock                 under

18 the sofa and be hind a brown chair in living            room .

19          Two more plastic      bag s were re covered    under a

20 table in the living      room .   Over $7,000 in cash from a

21 red suitcase , as sort ed drug paraphernalia         from several

22 location s throughout     the house .     And they estimate d the

23 street   value of the drug s at over $100,000 .

24          Now, Ms. Martin     says she didn't      know ingly

25 par ticipate   in this drug conspiracy        and she's put that




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 1 in issue .     She says she 's a small -time user who deal s

 2 small quantiti es of cocaine .         We have two incident s in

 3 which she is involve d in sell ing drug s from her house

 4 and large quantiti es of drug s, over $100,000 , were

 5 re covered   as well as large quantiti es of cash and

 6 additional ly an incident        at the school .

 7          From Mr. Montemarano 's own statement , he says

 8 that the search      warrant    at the school , that his defense

 9 is going to be she didn't          know how it was package d,

10 that it was in these little          can s, and she didn't       know

11 it was there .      Both of these incident s are high ly

12 probative    to show her knowledge       and intent     in

13 connection with      this case .     There could n't be       more

14 probative    evidence,      more re liable   evidence   under 404(b)

15 than those two incident s relat ing to          Ms. Martin .

16          And just to conclude , Your Honor , Mr.

17 Montemarano     threw in there the business         about the time

18 and made a little      gesture     about the start of the

19 conspiracy .     Well , in United     States   v. White , and I

20 will be happy to give the Court the cite, 405 F.3d 208 ,

21 Judge Quarrel s recognize d that -- the Fourth               Circuit

22 approve d of his recognizi ng that for 404(b)            purpose s,

23 you look to when the start of the conspiracy , when the

24 conspiracy     start ed .

25          And Judge Quarrel s admitted          404(b)   evidence     that




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 1 occurred     ten year s before      the start of the conspiracy

 2 in another     drug case to show that it         was somewhat

 3 remote    in time .     It was probative    as to intent     and

 4 prior drug deal ings involving          the defendant .     Very

 5 similar     to this case .

 6            Your Honor , there could n't be a more 404(b)

 7 on -point situation        than these two incident s with Ms.

 8 Martin , especially        as I said , again , in light of her

 9 defense .     But just because       it occurred     ten year s before

10 the start of the conspiracy , United            States   v. White ,

11 right on point , and all these case s cited in Queen as

12 to why you should         admit prior drug transactions .

13            Mr. Montemarano       raise s his concern     about the

14 concern     that he has that it would be character

15 evidence .     The Queen case cite s two protection s against

16 that .    One , the Court will give a limiting           instruction ,

17 if one is request ed by defense          counsel .     We have   no

18 objection     to that .     That explain s the purpose      for which

19 the evidence     is admitted       and the jury can follow       that .

20            Two , the advance      notice , which this was given

21 over a month before         trial start ed , which is     going on

22 two month s now before          the first evidence     is introduced,

23 and the Fourth        Circuit    said when 404(b)     is administered

24 according     to these rule s, it will not , we believe , be

25 applied     to convict     a defendant on the      basis of bad




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 1 character .      This is just what the rule speak s to , these

 2 two act s related       by Ms. Martin .

 3            THE COURT:     The last word .

 4            MR. MONTEMARANO :     Thank you , Your Honor .       Your

 5 Honor asks how does it show intent ?           Ms. Greenberg 's

 6 response    has been to argue intent , intent , intent , and

 7 has yet to answer        the Court 's question .     We've not

 8 place d intent     at issue .    We've not place d knowledge            at

 9 issue .

10            THE COURT:     You've place d intent     to sell a lot

11 drug s at issue , haven't       you ?

12            MR. MONTEMARANO :     I think that 's a fair

13 statement .      We have place d the question       of degree      of

14 involve ment .     If that is the basis , because        that 's the

15 only one I've heard -- it 's not a question             of identity

16 or knowledge      or anything    like that .

17            If that 's the reed upon which the government

18 balance s its argument , it is a slender           one in deed .        And

19 the question      then become s does possess ing this amount

20 ten year s before       the start of the conspiracy        and 18

21 year s before     the seizure    of this amount , because       again ,

22 the case she cite s to , White , talk ing about intent

23 admitted    it , it was ten year s.       That 's remote    in time ,

24 but we'll let it in for purpose           of intent .

25            We've not place d that kind of intent         at issue




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 1 and the    only time we have with a large amount , which I

 2 I'm going to concede , is '02 which is 16 year s after

 3 the arrest     and seizure .     Repeat edly , I have refer red to

 4 the amount s of drug s, the government           has yet to address

 5 the question     of amount .

 6            With all due respect , I think there 's the

 7 question     of objective    and subject ive evidence .

 8 Objective ly , let's talk about how many grams of what

 9 kind of drug were seize d.         600 -- and I proffer        around

10 60 .   That is my understand ing .       I'm proffering     that as

11 an officer     of the court .     I don't have     that paperwork

12 with me , but the government        has scurri ed away from that

13 argument .     All they want to talk about is the street

14 value .

15            With all due respect , Your Honor , you've          been

16 sitting    as a U.S.    District    Court Judge long enough

17 now , have heard enough        drug evidence     to know that there

18 is almost     any number    an expert   witness    can justify

19 based upon the time , based upon availability            at that

20 point in time , as to what the "street            value " of an

21 amount    of drug s.   Let 's talk about something       we can all

22 agree on .

23            What's the weight ?     Because     if the street    value

24 of this two ounce s is over 100 grams and dep end ing on

25 what kind of drug s and how it 's package d, that might




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 1 well be possible .       What's     the street   value of 600 grams

 2 of cocaine ?     Because    depend ing on the way it 's package d

 3 and all that , it might be several           millions    of dollar s.

 4 And once again , we have that dis connect .

 5           I submit    to the Court that they cannot         get over

 6 the relevance     prong in 403 if that 's all they can say

 7 is it 's relevant      to the intent to      sell a large amount .

 8 That is pure ly criminal       propensity .      They've   already

 9 gotten    the large amount     in here , 600 grams are going to

10 come in .     That 's a huge sell ing , no question

11 whatsoever , amount .       A couple     of ounce s is arguable       as

12 to an amount .

13           THE COURT:     Why would n't a contemporary

14 cautionary     instruction    to the jury advisi ng them of the

15 limited     purpose   for which the evidence       is admitted    be

16 sufficient ?

17           MR . MONTEMARANO :      Because ultimately,      you end up

18 mix ing apple s and orange s.         We've concede d possession

19 with intent , and the intent          to deal small amount s.         The

20 government     is now seek ing to       bring in another

21 possession     with conviction       for the purpose     of provi ng a

22 conspiracy .     Ms. Greenberg       just sa id it .    There 's no

23 conspiracy     conviction    in '86 .

24           They are    seek ing to    boot strap a single , finite

25 event , date and time and location           possession    with




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 1 intent , because        those are all element s of possession           of

 2 --

 3            THE COURT:      I'm not sure they're        offering     it so

 4 much for conspiracy .         It's to show     an intent     to deal in

 5 large quantiti es .

 6            MR. MONTEMARANO :      Once again , it is not

 7 prob ative of an intent        to deal in large quantiti es .

 8 The fact that she may have            had a significant      amount ,

 9 I'm not going to call two ounce s an in significant

10 amount , but that she may have            had two ounce s in 19 86 .

11 I submit      that the jury will not be able to get that out

12 of their minds .         It goes back so far , it will permit

13 them to draw the broad brush , the huge ark of Paulette

14 Martin , drug deal er in '86 , Paulette          Martin    drug deal er

15 in '06 .      They're    going to do it,     Judge .   A limiting

16 instruction      just won't be enough .

17            MS. GREENBERG:       Your Honor , just for the record ,

18 there are search         warrant s.    Mr. Montemarano     is

19 referencing      the second    one , the Affidavit      they read

20 from , where the officer         was referenci ng $100,000         was a

21 quarter    kilo of relatively         pure -- most of it was

22 relatively      pure cocaine .

23            THE COURT:      What are the date s of the        two

24 search es ?

25            MS. GREENBERG:       They're    both in 19 86 .




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 1            MR . MONTEMARANO :     Make sure I'm not mis taken .

 2 Which one was the one she was found guilty                  of ?   Which

 3 one ?    The quarter    key or the two ounce s?         That 's what

 4 I'm asking .     Because    if I'm mis taken , then you know , my

 5 bad , Judge .    I'm not going to question           that for a

 6 second .     My understand ing is her find ing of guilt was

 7 on the two ounce s.

 8            MS. GREENBERG:       Well , Your Honor , both of them

 9 are relevant     under 404(b) , the two search          warrant s.

10            MR. MONTEMARANO :      They're      not the same day ,

11 they're     not the same place .

12            MS. GREENBERG:       They are the same place .

13            THE COURT:      One was two ounce s and one was what ?

14            MS. GREENBERG:       About a quarter      kilogram , Your

15 Honor , and most of it was 84 -- most of it was between

16 84 .8 and 84 .9 percent      pure .     The first search warrant

17 was June 10, 1986, and the            second   one was June 26 ,

18 19 86.     And Court 's indulgence , I can tell it -- I can

19 look at the judgment        and conviction .        It's the June

20 10 th , 19 86 , incident    in which Ms. Martin        pled guilty .

21            THE COURT:      What was the amount       in that search ?

22            MS. GREENBERG:       That was , Your Honor , the

23 Affidavit     I jus t read to you .

24            THE COURT:      With the $100,000       street    value .

25            MS. GREENBERG:       Yes , Your Honor .




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 1          THE COURT:      Was that the quarter        kilo ?

 2          MS. GREENBERG:        Yes , Your Honor .

 3          THE COURT:      Mr. Sussman , any new information ?

 4          MR. SUSSMAN :     No, sir .

 5          THE COURT:      Have you reach ed her ?

 6          MR. SUSSMAN :     No, sir .

 7          THE COURT:      Okay .

 8          MR. MONTEMARANO :        Your Honor , I think you can

 9 also make an in dependent         find ing that that $100,000        is

10 not a credible     amount .     We've heard testimony         for three

11 week s now that a quarter         kilo sell s for ten grand , give

12 or take .     Certain ly not 100 grand .       I mean , where is

13 that number     comi ng from without , shall we say , a little

14 inflation ?

15          THE COURT:      All right .    Now , how many other

16 type s of evidence     are you offering       beyond    the '86

17 search es that we're going to be add ressing             the same

18 issue on .

19          MS. GREENBERG:        There are the two ' 86 search es ,

20 Your Honor , involving        Mr. Roberts    that both relate       --

21 they are both charge d in that one case .              The quarter

22 kilo , which was the -- what happened , Your Honor , is

23 they found that amount , and then they went back to a

24 magistrate     and got an additional        search   warrant .

25          That 's where they found the ounce s quantity              that




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 1 Mr. Montemarano      is referring       to , the 39 plastic      bag s,

 2 which weigh ed approximately          five ounce s.      That was the

 3 second   search   warrant , so we have a quarter             kilo , and

 4 then five ounce s in the same month in 19 86 , which were

 5 charge d and th en Ms. Martin         was convict ed relating        to

 6 those -- pled guilty        relating     to those charge s to

 7 possession     of an un registered       firearm   and possession         to

 8 distribute     cocaine   on December      11 , 19 86 .

 9          She receive d a 15 -year sentence           for that an d the

10 second   one as to Ms. Martin         was at Paulette 's School of

11 Performing     Arts in 19 94 , from which officer s re covered

12 heroin , a scale , and Ziploc         baggi es from the school .

13 Those are the two relating           to Ms. Martin , and those are

14 the only two we seek to introduce              as to her .

15          THE COURT:       All right .     How about as to other

16 defendant s?

17          MS. GREENBERG:       Your Honor , there 's a lot .

18          THE COURT:       Oh , okay .    All right .     Well , let me

19 take a morn ing recess .          Mr. Sussman    can make some

20 additional     effort s to see what we can do with

21 contact ing his client , and then I can come back and see

22 if I can address      these issue s.       Mr. Ward , did you want

23 to raise something ?

24          MR. WARD:       I have    a similar    404(b)   issue , but we

25 can take it up --




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 1            MR. SUSSMAN :     I want to point out I neglect ed to

 2 tell the Court I have         a 12 :45 scheduling     conference      in

 3 front of Judge Williams .

 4            THE COURT:      12 :45 ?

 5            MR. SUSSMAN :     Yes .

 6            THE COURT:      Is this a long one or short one ?

 7            MR. SUSSMAN :     It 's a contempt    hear ing .    It's

 8 someone    who won't answer       question s.    He's been held in

 9 contempt      before   and nothing 's changed .

10            THE COURT:      All right .    Well , let me take a

11 recess    until 11 :20 and see what you can do , Mr.

12 Sussman , because       the first question      when I come    back

13 is , have you got an update ?          You might try to contact

14 the emergency      room and see if they can get her to turn

15 her cell phone on or something            because   I really   need to

16 re solve issue .

17            MR. SUSSMAN :     Well , jus t so the Court 's -- she

18 had a doctor 's appointment , and when I press ed upon her

19 the urgency , she might have move d up that appointment

20 or spoken      to her own private      doctor , as Ms. Johnston

21 suggest ed , and I don't know         who that would be , but I'll

22 continue .

23            THE COURT:      Well , keep try ing and I'll see you

24 at 11 :20 .

25                    (Off the record       at 11 :03 a.m. )




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 1                  (On the record       at 11 :29 a.m. )

 2            THE COURT:      Mr. Sussman , am I correct         that there

 3 is no additional        information    about your client ?

 4            MR. SUSSMAN :     Correct , Your Honor .

 5            MS. JOHNSTON:      Your Honor , the government , at

 6 this time , is going to ask the Court to issue a warrant

 7 for her arrest .        She is not present       here .     Mr. Sussman ,

 8 I believe , has call ed the hospital            that she indicated

 9 she was going there to , and he has not locate d her

10 there .    There has been no indication           she is in dire

11 need of medical       assistance .     She has not appear ed at

12 this point in time .        We would ask the Court to issue a

13 warrant    for her arrest     at this point .

14            The Court can always       rescind    that warrant     if she

15 happen s to show up , or if he has some proof that she

16 need ed emergency       medical    treatment    for some serious     or

17 life threatening        injury .    We don't have that here .        She

18 has flu -like symptom s, and he has not been able to be

19 in touch with her in the last several              hour s, and I am

20 assuming    he has not had any contact           to verify     she was

21 at Bay view Hospital , which is where she said he was

22 going .

23            THE COURT:      Let me tell you what I am going to

24 do .   I don't know      if we are dealing       with somebody     who

25 is simply    using a mild cold or something               as an excuse




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 1 not to show up for trial , which is not acceptable , or

 2 whether    she , in fact , has an emergent         medical   condition

 3 that 's necessitated       her absence     from the courtroom .

 4            First of all , I've got a jury sitting            out there

 5 do ing nothing , and I'm not happy about that .              Mr.

 6 Sussman , has -- Mr. -- who was it that the quarter                of

 7 one matter ?

 8            MR. SUSSMAN :     Me .

 9            THE COURT:      Mr. Sussman    has a quarter      of 1:00

10 matter    before   another   judge , which mean s I would have

11 to break for lunch by quarter            of in any event , and I

12 would ordinarily        take an hour and 15 minute s plus or

13 minus for lunch .        I think wh at I ought to do is , first

14 of all , tell the jury , have a nice , long lunch hour ,

15 and I will give them a final update              on what we're going

16 to do at 2 o' clock .

17            In the meantime , I want to have Mr. Sussman             make

18 every conceivable        effort     to contact   her or whatever

19 hospital    she claim s to be in .        She should   be inform ed ,

20 Mr. Sussman , that her failure           to appear   today is an

21 extreme ly serious       matter , and simply      you don't call and

22 say , gee whiz , I'm sick today without            significant

23 medical    condition     reason s justify ing that .         I'm

24 expect ing that she 's going to tell you just to not

25 in cur my difficulti es with me , that she , in fact , has




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 1 been admitted     to a hospital    with a serious      medical

 2 condition    that necessitate d her absence .         And if that 's

 3 not the case , she simply       went to an emergency      room

 4 because    she could n't get to see her doctor         faster , and

 5 she 's got something     that 's read il y treatable     with cold

 6 medicine    or something , that she needs to understand

 7 that she can't do that , and that I'm ex pec ting her to

 8 be here bright     and early tomorrow      morn ing at nine

 9 o'clock , ready to proceed       with trial .        And if she

10 does not do that , then I will        change     her condition s of

11 re lease so that she will be guarante ed to be here .               I

12 don't want to have to do that .         I don't know     whether

13 she 's skati ng across a line or whether           she 's a sick

14 woman , so I'm not going to make that decision            now .

15            Wh at I'd like do is I'll make that decision            at

16 2:00 .    All I know is she says I didn't          feel good and

17 she didn't    look real good yesterday , and in the absence

18 of her proffering      some explanation        for her failure     to

19 appear , I'll issue a bench warrant , and if they try to

20 serve her and she 's strap ped to a hospital           bed , well ,

21 maybe we'll refrain      from do in g that , but I have no way

22 of know ing which it is now , and I hope in the next two

23 and a half hour s, we can find that out .            But I'm not

24 going to issue a bench warrant         now .

25            I will issue one today if I haven't         got any




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 1 further   explanation     because   this trial is going to have

 2 to go forward , but in the meantime , I don't see how I

 3 can possibly    have this jury sit there with not know ing

 4 what 's going on , so I would pro pose that to tell the

 5 jury we have an issue with a party is ill , we may not

 6 be able to re start .       I'll know for sure by 2:00 .        And

 7 at 2 o'clock    we deal wi th it .

 8           If you do reach her , Mr. Sussman , and she want s

 9 to waive her presence , I'm going to need to have her on

10 the phone do ing that in this courtroom , and we'll hook

11 her up , and the staff here will help you get that done .

12           MR. SUSSMAN :     That would be under the

13 circumstance s we spoke about before .

14           THE COURT:      Yes , yes .   In the meantime , I would

15 -- I don't want to waste the time of all these people

16 who have come here today , other than the jury , which

17 I'm going to tell to go take a long lunch hour .              I want

18 to deal with any other preliminary -matter -type issue s

19 and 404(b)    issue s on anything       else that 's comi ng down

20 the pike in this case so we can use my bench time

21 efficient ly for all concerned          to address   these issue s.

22           I think it would be best if I were to have the

23 courtroom    deputy    advise   the juror s, not me , because     I

24 don't want to get them into the who 's sick and

25 speculati ng about that kind of a thing , so unless             you




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 1 would --

 2            MR. MONTEMARANO :        We agree , Your Honor .

 3            THE COURT:      -- prefer    that I tell them , I'm

 4 going to request         Ms. Merez , with your approval , to

 5 advise   the juror s that because         of the illness   of one of

 6 the parti es , we are going to not need them until 2:00,

 7 and at 2:00, we will know whether            we need them at all

 8 for the rest of the day or not .

 9            But Mr. Sussman , as I said before , your client

10 needs to understand         that , you know , taking   15 people

11 off the street         and giving   them jury duty for something

12 that 's not a very well -document ed excuse          is something

13 that -- the real thing she needs to worry about is that

14 (a) a mar shal is going to come get her and bring her in

15 here whether     she like s it or not and (b) her re lease

16 status   could be changed       to where she 's incarcerate d.

17 So th at 's what she needs to be concerned           about .

18            MR. SUSSMAN :     As long as    the Court 's not taking

19 any action     now .

20            THE COURT:      I'm not taking    any action    right now ,

21 but at 2 o'clock , if we are in the present            status     of

22 thing s, I will issue a bench warrant           and tell them to

23 go get her .     And unless     she 's tie d to a gurney       with

24 tube s in here , she 's got to be         back here at 9 o'clock

25 in the morn ing .        Or some significant medical




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 1 explanation given for failing to appear, because this

 2 is not a small trial , it is a very             big trial with an

 3 awful lot of people        who are being in convenienc ed by

 4 this .

 5            All right y.    Have Ms. Merez tell the jury they

 6 can be excused     until 2 o 'clock .         We will have a final

 7 decision     then on whether       we can proceed      at 2:00 or

 8 whether    we have to just come back at 9 o'clock

 9 tomorrow .     But trus t me , unless        your client      is in

10 ex tremis,    we will be with her at 9 o'clock               tomorrow .

11 All right .     Now , let me -- Mr. Montemarano ?

12            Before you go , I will      have Ms. Merez communicate

13 that to the jury .        I don't see any -- unless            she were

14 to walk through     here in fi ve minute s how we could

15 possibly     have anything    in front of this jury before

16 2:00, so we will excuse        the jury until 2:00 .            Yes, sir .

17            MR. MONTEMARANO :       If I could prevail         upon the

18 Court for for ty more seconds          to supplement         my argument .

19            THE COURT:     Sure .    What did you just give me ?

20            MR. MONTEMARANO :       Pardon    me ?

21            THE COURT:     What did you just give me , Clerk .

22            MR. MONTEMARANO :       I gave Your Honor , your clerk

23 Mr. Krinsky , some re search         I did regard ing this 404(b)

24 issue in a brief to the Fourth              Circuit   about six month s

25 ago .    In particular , I asked them to            Xerox.     I provide d




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 1 to the Court and I provide d to the government             as well

 2 in the section     regarding     the argument     on intent , and I

 3 knew there was something         rattli ng around    in my brain

 4 that I just could n't lay my hands on , sort of like one

 5 of those claw machine s, and I manage d finally            to

 6 ex tract the argument        from the mass of this re search .

 7           When the defendant      deny s pure ly the criminal

 8 act , 404(b)    evidence     is not ad missible    as intent    is

 9 often inferable     from the act itself .         We don't have 60

10 grams here , and we're going to be tap -danc ing around

11 the question     of intent     when you deal with large

12 amount s.

13           The seizure , as suming     it come s in and the jury

14 believe s my client        knew about it , in and of itself

15 prove s intent .    Six hundred     grams of cocaine      simply

16 isn't a personal         use kind of amount .     It does n't mat ter

17 if it 's all coke , all crack , or anywhere          in between ,

18 and that 's the exact situation         we have here .            And

19 the case s I -- I mean , I've read these case s too many

20 time s.     The Near y case is a question       of a restaurant

21 fire , and there 's multiple       points    of origin , there 's

22 accelerants     use d.     The Appellate    Court said , look , this

23 is clear ly arson .        He said he didn't    do it,   intent

24 ain't the question .         It's plain ly an arson , if he did .

25 This was n't start ed accidentally .          This was n't an




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 1 electrical    fire .    It 's all the character istic hallmark s

 2 of an arson with the multiple         point s of origin, the

 3 accelerants, the insurance        claim follow ing it .       The

 4 question    is , did he do it ?     We can't bring in 404 , it

 5 will pollute     the well .

 6            In the sound --

 7            THE COURT:    In the example      you gave , would the

 8 answer    be different    if the arson statute      were divide d

 9 into categori es of value so that an arson of $500 or

10 less was one crime or punishable          one way , and an arson

11 of $500 was another , and you came in and said , I don't

12 dispute    that I burn ed the place , but you do put in

13 issue whether     you intend ed to burn $500 or more .

14            MR. MONTEMARANO :     I believe    that if you set a

15 fire at a commercial        establish ment , that it 's plain

16 that more than $500 of damage         will be the foreseeable

17 result    of start ing a fire with multiple        point s of

18 origin    and the use of accelerant s.         It 's almost

19 in conceivable    that this situation        be otherwise .     That

20 para llel s entire ly with our situation         here .

21            If you believe     I'm in possession    of 600 grams of

22 cocaine , it is in conceivable       that it    is not intent       to

23 deal large amount s, and the question           -- there may or

24 may not have been a prior arson in which I was involve d

25 in or a prior drug deal ing which I was involve d in is




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 1 pure ly character       evidence .   It is not dis positive        of

 2 issue in this case .        That may have    been something        once

 3 before .     It does not make it so here .

 4            THE COURT:     Let 's come back to this case .          Your

 5 client     is charge d, among other s, with conspiracy

 6 relating     to drug s.

 7            MR. MONTEMARANO :     Yes .

 8            THE COURT:     Under the Mark case , by simply

 9 plead ing not guilty , she 's placed        at issue knowledge

10 and intent .     That 's what the Fourth      Circuit    said .     You

11 have said that in your opening           statement , you 've

12 concede d that she is a user who occasional ly sold small

13 quantiti es , something      to that effect .

14            MR. MONTEMARANO :     Yes .

15            THE COURT:     Clear ly you're    put ting at issue by

16 your opening     statement    whether    she had knowledge        and

17 intent     to sell large quantiti es of drug s, which is what

18 is alleged .

19            MR. MONTEMARANO :     Yes .

20            THE COURT:     Why is not that knowledge       and intent

21 question     having   been place d at issue that way , why is

22 not the earlier       transaction    involving   a -- you may

23 argue whether     it is large or not , but large quantity               of

24 drug s not admissible       to show knowledge     and intent ?

25            MR. MONTEMARANO :     Because    the denial   in this




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 1 case is , in essence , trump ed by the amount           of drug s in

 2 this case .

 3            THE COURT:   Explain    that to me again .

 4            MR. MONTEMARANO :    The denial    of intent    in this

 5 case is , for the purpose       of 404(b)    analysis , ultimate ly

 6 trump ed by the seizure       of 600 grams of cocaine          in her

 7 place of business , which re move s intent         as a reasonable

 8 question , that she may have       place d it at issue by her

 9 denial , which the Court 's view , which I don't

10 necessarily     agree with because     we agreed to an intent

11 to distribute .     The question     of amount   is , in essence ,

12 proven   for the government 's purpose s as like a thumb on

13 the scale the 600 gram --

14            THE COURT:   When the jury get s the verdict           form

15 and they're     suppose d to figure    out what quantity         to

16 fill in , how does your concession          play into that ?          The

17 government     has an obligation     to prove the range of drug

18 quantity    on the verdict     form that we've all agreed is

19 appropriate .

20            MR. MONTEMARANO :    If they argue anything          other

21 than a 600 -gram seizure       on June 1, 2004 , at 5559 South

22 Dakota , I think their time is wasted          before    the jury .

23 That 's what they need to focus upon , and whether               or not

24 my client     did it before    is pure ly a question      of

25 criminal    propensity .




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 1           It is not a question      of this intent     -- of intent

 2 in this case , and that has been drawn through              almost

 3 every kind of criminal       conduct    from threat s against

 4 witness es , where it    can't be shown they were made by a

 5 defendant     in a witness   threatening    case , to question s

 6 of arson , threat s of arson , which show a propensity               to

 7 solve dispute s by the use of fire , but are not

 8 dis positive    of whether   or not    this case was an arson in

 9 this instance .

10           This is exact ly what the government         tr ie s to do

11 and this is the reason .        The Court needs not to buy

12 into this .     It is a weak argument      when juxtapose d with

13 the balance     of the evidence , and for that reason          under

14 403 , it is simply     not relative     -- relevant    or

15 dis positive    of the question    of my client 's intent       to

16 deal large amount s, now that she may well have done it .

17           That is pure criminal       propensity   without    some

18 kind of , as I argue d earlier , some kind of common

19 scheme , some kind of unique       signature    element     to the

20 offense , bank robber s to who use president s' mask s --

21 president s' face s for masks,        that kind of thing .

22 Without     that kind of thing , it 's simply      other criminal

23 conduct , and that 's not what 404(b)         was intend ed to

24 include .     Thank you , Your Honor .

25           THE COURT:    Any last words from the government ?




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 1          MS. GREENBERG:        Unless   the Court has any

 2 question s, Your Honor , no .

 3          THE COURT:     All right .      Well , I've considered

 4 the very well -present ed argument s of both sides on this

 5 issue , and the Fourth        Circuit   has spoken   rather   clear ly

 6 on how to resolve      question s of 404(b)     issue s, which

 7 have to be taken into account           in connection   with Rule

 8 403 as well , and has enunciate d in the Queen case the

 9 four factor s that I've discuss ed with counsel , and let

10 me say several     thing s.

11          First of all , in the U. S. v. Mark case , which is

12 943 F.2d 444 , the Court ad dressed         this issue , and as

13 Ms. Greenberg     point ed out , referred     to this as being an

14 inclusion ary rule , which admit s all evidence           of other

15 crime s relevant     to an issue in the trial , except         that

16 which tends to prove only criminal           dis position , or as I

17 might para phrase     it , if they did it before , they're

18 do ing it again , that that would not be appropriate .

19          In the Mark case , the Court specifically            point ed

20 out that a defendant 's knowledge          and intent   are clear ly

21 element s which the prosecution          must establish    to prove

22 a conspiracy .     The same conspiracy       allege d in this

23 case , I believe .     And considered      those issue s of

24 knowledge   and intent    to be place d in issue by a plea of

25 not guilty .     And the Court also note d that whe re such




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 1 act s were sufficient ly related , the relevance            of the

 2 evidence    derive s from the defendant s having          possess ed

 3 the same state of mind in the commission of both the

 4 extrinsic act and the          charge d offense .

 5            The Court went on to note that the government                is

 6 correct    in argui ng that the extrinsic           act evidence

 7 offered    did not address       a pure ly collateral     matter   but

 8 rather    support ed the government 's central          theory   that

 9 the defendant       was not an innocent     friend     of the

10 co -defendant 's , was rather       a major cocaine      distributor

11 respons ible for the transaction          at issue .

12            The Court went on to       also note that the evidence

13 was certain ly relevant         in establish ing Mark 's knowledge

14 and intent , and then address ed the 403 factor             that --

15 and observe d, as has been repeat edly observe d, that all

16 in criminating      evidence    is inherent ly prejudicial .       But

17 the question     under Rule 403 is whether           the evidence has

18 potential    to cause    un due prejudice ..

19            Now , in the Queen case , Judge Niemeyer         for the

20 Fourth    Circuit    return ed to address    the same question s

21 that were address ed in the earlier          decision     of the

22 Fourth    Circuit    in the Mark case , and enunciate d this

23 four -part test that was based upon a fair ly exhaustive

24 analysis    of the decision s on this issue and indicated

25 that there are four matter s to be considered , one of




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 1 which is conced ed in this case and that is that test

 2 must be re liable .

 3            And the question      is whether    or not the evidence

 4 of these drug s seize d in 19 86 would be admissible               under

 5 these criteria .        The first criteria     is the evidence

 6 must be relevant        to an issue , such as an element          of the

 7 offense , and must not be offered         to establish      the

 8 general     character    of the defendant.      And Judge Niemeyer

 9 went on to point out , in this regard , the more similar

10 the prior act is , in term s of physical          similarity       or

11 mental    state to the act provide d, the more relevant                 it

12 become s.

13            I con clude that the evidence        of the prior

14 search es is relevant         to an issue , and that issue is

15 knowledge     and intent      of the defendant , and it is the

16 evidence     at issue is not being offered        to establish

17 general     character    of the defendant , and I conclude          that

18 the prior act is very similar , if not identical , to the

19 act provided , and therefore         it 's more relevant     than it

20 otherwise     would be .

21            Second   factor    is the act must be necessary         in

22 the sense that it is probative          of an essential      claim

23 for an element      of the offense , and because         the charge

24 in this case require s proof of knowledge           and intent , it

25 is in deed probative         of an essential   element    of the




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 1 offense .

 2          Finally , the fourth       factor   -- I'm skip ping over

 3 the third because      it 's concede d -- the probative           value

 4 must not be substantially         outweigh ed by confusion         or

 5 un fair prejudice     in the sense that it         tends to

 6 subordinate reason to emotion in the             fact -find ing

 7 process .

 8          I believe    that the probative         value here is

 9 substantially     outweigh ed by any potential         for confusion

10 or un fair prejudice , and my intention            is that at the

11 time that the testimony       is offered , to give a

12 contemporaneous      cautionary    instruction      to the jury

13 advisi ng them of the limited          purpose   for which it 's

14 being received , and that it 's not being offered             nor

15 should   it be considered     by them in any way as being

16 receive d to prove the character          of a person    in order       to

17 show action     and conformity     there with , which I may try

18 to put in less tongue -twisting          English    when I give the

19 cautionary    instruction    with due apolog ies to the

20 author s of the Federal      Rule s of Evidence , so that is my

21 ruling   on your issue , Mr. Montemarano .

22          MR. MONTEMARANO :        So the record     is clear .     Does

23 this ruling     apply to all three part s of the evidence

24 that the government      seek s to bring in ?        There are two

25 piece s of evidence     from 19 86 .




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 1          THE COURT:     Right .

 2          MR. MONTEMARANO :        June 10 and June 26 .       My

 3 client   was only convict ed of the       June 10th offense ,

 4 that 's what 's on the JNC that was provided           to me over

 5 the break by Ms. Johnston , for which I thank her .                 And

 6 the third is a non -adjudicate d seiz ure in 19 84 where

 7 the charge s apparent ly were dis miss ed .         I want to be

 8 clear what Your Honor is mak ing a ruling            on .

 9          THE COURT:     I'm ruling     on both .

10          MR. MONTEMARANO :        All three ?

11          THE COURT:     Yes , all of them .

12          MS. GREENBERG:      Your Honor, just       so the record

13 is clear , we're not sure whether         the Court misspoke as

14 to the probative and prejudice weighing that t               he Court

15 finds -- did the Court specifically             find that the

16 prob ative value of the evidence is         not substantial ly

17 outweigh ed by confusion      and --

18          THE COURT:     I thought     I had done that , but I'll

19 do it again .    Under Rule 403 , I've concluded            that the

20 probative    value is substantially       outweigh ed by the

21 danger   of un fair prejudice      and the reason     that I'm

22 concluding    that , among other s, is that I will admit it

23 with a contemporaneous       cautionary    instruction       that

24 would --

25          MS. JOHNSTON:      Your Honor , I don't mean to




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 1 interrupt , but I believe           what the Court is say ing is

 2 that whatever     prejudice       there is can be cure d by a

 3 limiting    instruction , so the Court is not find ing that

 4 the probative     value is substantially           outweigh ed so as

 5 to justify    exclusion     of the evidence ?

 6            THE COURT:     No .     No .   Let me make it clear .     As

 7 the case s have said , evidence           like this is prejudicial .

 8 The question     is whether       it 's un fair ly prejudicial , and

 9 it would not be un fair ly prejudicial             if I admit it with

10 a contemporaneous       limiting      instruction , and that 's my

11 intention , and I will try to work on some

12 contemporaneous      limiting       instruction    that I can share

13 with you so you -all can pick it apart before               the person

14 take s the stand .

15            MR. MONTEMARANO :        Thank you , Your Honor .

16            THE COURT:     All right .       Try to give you a fair

17 air ing on that one .

18            Now , are there other 404(b)           matter s on your

19 client , Mr. Montemarano ?

20            MR. MONTEMARANO :        No those are the only one s I'm

21 aware of regard ing Ms. Martin .            Thank you for

22 permitting    me to air my view s.

23            THE COURT:     My pleasure       to listen   to it .

24            MS. JOHNSTON:         Your Honor , before    we move on to

25 the other 404(b) , which Ms. Greenberg              is going to




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 1 handle , I am charge d with the duty of call ing these

 2 witness es , in particular         Shelton   Robert s, the 19 86

 3 search    warrant s, which he himself         did .     He leave s

 4 tomorrow     morn ing on vacation .

 5            THE COURT:      Tomorrow    morn ing at what time ?

 6            MS. JOHNSTON:         At -- I believe      he leave s at 10

 7 o'clock .

 8            THE COURT:      Oh.

 9            MS. JOHNSTON:         I would ask the Court , in any

10 event , to call him this afternoon            with or without         Ms.

11 Harden 's presence .       It is a 404(b)      incident     that has

12 nothing     whatsoever    to do with her , so I want ed to bring

13 that to the Court 's attention           because      if the Court

14 would like to give an in struction            before     he testifi es ,

15 I think the Court can safe ly do that in asmuch as                   it

16 does not affect     Ms. Harden        and we don't have -- that

17 would be the government 's position .

18            THE COURT:      Mr. Sussman , what is position on

19 whether     I should proceed to hear the seizing office in

20 the ' 86 searches       of Ms. Martin 's premises without your

21 client present?

22            MR. SUSSMAN :     Without    any contact      from my

23 client,     I'm afraid    that I can't waive her presence , so

24 that my answer     would have to be that I would personally

25 oppose    it .




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 1           THE COURT:      Let me cross that bridge         at 2

 2 o'clock .   That 's the best I can do .

 3           MR. SUSSMAN :     If I contact     my client , I will

 4 bring this matter      up and advise      her that --

 5           THE COURT:      You need to tell her of the Court 's

 6 dis pleasure   at her not being here unless            there 's a good

 7 and sufficient     reason , but you need to also inquire               of

 8 her as to whether      she 's willing     to , on the record , on

 9 the telephone , make a waiver         tailor ed as we previous ly

10 discuss ed so it would not affect           her right s.    All

11 right ?

12           MR. SUSSMAN :     I will try to do both .

13           THE COURT:      Okay .

14           MR. MONTEMARANO :        Your Honor , just so the Court

15 is clear , I just informed         Ms. Johnston    that as suming

16 the government     rest s by tomorrow , which would be the

17 14 th and Detective     Robert s is available       the follow ing

18 week , in my view , because        it relate s to my client , the

19 Court -- we could , in essence , recess           the defense ,

20 whom ever it might be , for the purpose           of put ting the

21 detective   on in -- that 's not in any way , shape , or

22 form waivi ng my objection         to it actually       comi ng in ,

23 but as a logistical matter, the           gen tleman    is entitle d

24 to his vacation .

25           THE COURT:      That 's another    solution .




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 1           MS. JOHNSTON:      I'm not so sure the other six

 2 defendant s would agree to interrupt ing their case if we

 3 happen    to be in their case .

 4           THE COURT:      Is there any object ion among the

 5 remain ing six defendant s to doing that?

 6           MR. MARTIN:      No, Your Honor .

 7           MR. HALL:     No , Your Honor .

 8           THE COURT:      Well , we'll work around        it .   He's

 9 leavi ng on how long a vacation ?

10           MS. JOHNSTON:      He 's leavi ng tomorrow       through        the

11 14t h, next Friday .

12           THE COURT:      He get s to take a vacation .          I

13 don't , but you know .

14           MS. JOHNSTON:      I appreciate that.          We were

15 hopi ng to move the case along , and certain ly don't want

16 to interfere     with the defendant s' case , so should              we

17 wait until 2 o'clock ?        Because    he 's here .

18           THE COURT:      Yeah , we'l l cross that bridge            at 2

19 o'clock .     Since I told the jury I'd like to tell them

20 what 's going on at 2 o'clock , we'll recess              in time for

21 Mr. Sussman     to get to what he needs to do in front of

22 Judge Williams , was it , I think ?

23           MR. SUSSMAN :     Yes, sir .

24           THE COURT:      At quarter     of 12 :00 .    I'll recess         --

25 quarter     of 1:00, excuse    me .    I'll recess      at , like , 20




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 1 of , so you can get there on time , and what I'll ask

 2 you -all to do is to get back here by five minute s of

 3 2:00, so I can go in here and find out what's              going , on

 4 make some decision s, and we can          call the jury in and

 5 send them home or not         send them home .

 6            And frankly , because      I don't think    they need to

 7 know who 's sick , I will simply         tell Bea to tell them to

 8 go home unless     somebody     want s me to personally     do it .

 9 I don't want them to infer anything           from the fact that

10 one person's     not here .     Let them speculate      when they go

11 home after they 've reach ed their verdict            as to who it

12 was that was     sick .     Let them speculate    as to which

13 elevator    broke down yesterday , too.

14            MR. WARD:      Of course , if they come into court ,

15 it will be pretty         apparent   to them who 's not here .

16            THE COURT:      That 's why I said I'm not going to

17 do it that way .        That 's why I'm going to have Ms. Merez

18 tell them to go home , so at 2 o'clock , I want to be in

19 a position     to have Ms. Merez go back and say , sorry

20 about that , the person        didn't   get well, so we're going

21 to see you on Friday         morn ing at 9 o'clock .

22            MS. GREENBERG:      Your Honor , if we could then ,

23 today , use whatever        time we have to finish      up the

24 404(b)   because   we have some outstanding        witness es .

25            THE COURT:      I'm not going to waste any body's




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 1 time .    You've   got my un divide d attention , so -- what is

 2 the next 404(b)      issue ?

 3           MS. GREENBERG:        Your Honor , next on our response

 4 was Mr. Goodwin .       He has one conviction      relating    to a

 5 federal    conviction .    It was a case by Judge Kaufman ,

 6 which was pass ed on to Judge Mallets           in this district

 7 up in Baltimore .       He was sentence d on March 17 , 19 88 ,

 8 to a 15 -year sentence         for conspiracy   to possess    with

 9 intent    to distribute    cocaine .

10           Specifically , Mr. Goodwin , his stepson , Larry

11 Lane , who is also a co -defendant         on this case , and his

12 wife were charge d with conspiracy          to distribute     cocaine

13 and distribution       of cocaine    based on an under cover DEA

14 case .

15           Your Honor , I think that the best thing to do is

16 that we actual ly have a transcript          regard ing the

17 statement    of fact s to which Mr. Goodwin        agreed to on

18 the record    under oath before        Judge Mal let s, and I think

19 that 's the best indicat or of what the agreed -upon fact s

20 were on this case , so the Court can analyze .

21           THE COURT:      Is this a guilty      plea stipulation ?

22           MS. GREENBERG:        Yes , Your Honor , and I'll read

23 it to the Court .       Counsel , it 's on Page 39 of the

24 transcript , specifically         -- of course , we will call

25 witness es to prove this up , but I want Your Honor to




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 1 understand     what the case was about from the agreed -upon

 2 fact s.

 3           In April of 19 87 into May of 19 87 , an individual

 4 name d Sheila      Hall came into the Drug Enforcement

 5 Administration       office   in Washing ton , D. C. She met with

 6 Detective     Fanny Johnson , who is the witness            in our

 7 case , the under cover detective .           And during     that

 8 meet ing , Ms. Hall advise d Detective          Johnson     that she

 9 knew of several       individuals    in Maryland    -- the

10 Washington , D.       C. suburb s and Maryland      that were

11 engaged     in trafficking     in cocaine .

12           Ms. Hall gave the name of those individuals ,

13 including     the defendant , Learley        Goodwin , Larry Lane ,

14 and Mr. Goodwin 's wife , Constance           Goodwin .     Based on

15 that information , she initiate d an investigation                 into

16 the activities       of Learley    Goodwin    and other s.

17           On May 4, Detective       Johnson    had Sheila     Hall

18 place a call to the residence          of Learley       Goodwin    at

19 1302 Chill um Road , and for the purpose           -- and the

20 purpose     for that call was to set up the purchase               for a

21 half ounce of cocaine .          Detective    Johnson     was on the

22 line when Sheila       Hall made that call and listened              to

23 the conversation       between    Sheila   Hall and Learley

24 Goodwin .

25           During    that conversation , Learley         Goodwin     state d




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 1 that he , in fact , would be willing          to sell to a friend

 2 of Sheila    Hall a half ounce of cocaine            for the purchase

 3 price of $1,000 .        An agreement     as to the time and place

 4 for the buy was set .        After that , Detective          Johnson

 5 arrange d for surveillance          at the 1302 Chill um Road

 6 residence    of Learley     Goodwin .

 7            She then , in the company       of Sheila     Hall , went to

 8 that Chillum       Road residence     and was introduced        to

 9 Constance    Goodwin     as Wendy , and she introduced          herself

10 as Wendy , her under cover name , as the            person    who want ed

11 to buy cocaine .        They went in side .       The individual ,

12 Learley    Goodwin , was on the phone .

13            He pause d during    one conversation        on the phone ,

14 and Your Honor , he address ed Detective             Johnson    and told

15 Detective    Johnson     that he was try ing to keep his

16 workers    straight .     Constance     Goodwin    then took Sheila

17 Hall and Detective        Johnson    on a brief tour of the

18 residence , and after a short time came back to the

19 kitchen    area.

20            At this time , the defendant , Learley            Goodwin ,

21 ha d a digital      scale , and he place d on the scale a

22 quantity    of white powder     substance , which weigh ed in

23 excess    of 14 grams , which is        approximately    half an

24 ounce of cocaine .        He then gave the half ounce of

25 cocaine    to Detective     Johnson     and Detective    Johnson       gave




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 1 him $1,000 .       They left the residence          a short time after

 2 that .

 3           During    the course    of that brief tour of the

 4 residence , there were numerous            item s, including      a

 5 number    of silk dress es in the residence            that had price

 6 tag s on them , a lot of merchandise , tel ephones,

 7 stereos, and that       type s of thing s.      Sheila    Hall then

 8 told Detective       Johnson    it 's very common      for the

 9 Goodwin s to accept         merchandise in trade for cocaine

10 rather than money       when somebody       come s to the house to

11 buy cocaine .

12           After that May 4 purchase , a week later on May

13 11 , Detective      Johnson , through      Sheila    Hall again ,

14 arrange d for the purchase         of another       half ounce of

15 cocaine      with Learley     Goodwin .    They were , at this time ,

16 to meet in a Big Boy restaurant , which was a Capital

17 Plaza on Route 450 in Hyattsville             near the B. W.

18 Park way .

19           Again , Detective      Johnson    set up surveillance         on

20 that location, went with          Sheila    Hall to the    Big Boy

21 restaurant.        After they arriv ed , they went in side the

22 restaurant .       Sheila    Hall , at the direction      of Detective

23 Johnson , and while she was stand ing there , place d

24 several      call s to the beep er of Learley         Goodwin .       After

25 having    received    no response    to the call s to the beep er ,




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 1 Sheila    Hall at Detective     Johnson 's direction,     place d a

 2 call to the residence .        Learley   Goodwin    was at the

 3 residence , and at that time , he said he was n't going to

 4 be com ing to    the Big Boy , Larry Lane would , in fact ,

 5 arrive    at the Big Boy and have the half ounce of

 6 cocaine    for Detective    Johnson    to purchase .

 7           He indicate d he would be driving         a blue Toyota

 8 vehicle , de scribe d him , and that de scription        was given

 9 to Detective     Johnson , who in turn , gave it to

10 surveillance     agent s.   Shor tly after that , Larry Lane

11 did show up in a blue Toyota          vehicle , and after some

12 conversations and introductions, gave to             Detective

13 Johnson a half ounce of cocaine,          again , for $1,000 .

14           Your Honor , the similarity      in this case is clear

15 that Mr. Goodwin     was distributing      quantiti es of

16 cocaine , that he use d his step son , Larry Lane , in

17 connection     with this drug business .       We have drug s

18 seize d from Oglethorpe .       We have witness es who

19 testifi ed that he use d his son in connection           with the

20 drug business , and that he had workers            who assisted    him

21 with the sale of cocaine , as is clear from the

22 information     from Lobo's and from Anacostia         Road .

23           This is clear ly re liable .     Mr. Goodwin     admitted

24 to those fact s.     They're    the fact s that Detective        Fanny

25 Johnson    is going to testify     to , although     now she goes




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 1 under a different       name .   She 's gotten    re marri ed .        It's

 2 the same detective , and it 's clear ly probative            under

 3 404(b) , very similar      to the act s charge d in this case .

 4 Thank you .

 5           THE COURT:     All right .    Mr. Martin .

 6           MR. MARTIN:     Good afternoon , Your Honor .            On

 7 behalf    of Learley    Goodwin , there are three point s that

 8 I'd like to make in response         to the government .           The

 9 first has do with remote ness.          The second     has to do

10 with similarity , and the third point would be with

11 respect to 403 analysis.

12           Remote ness, Your Honor .      This transaction          or

13 series    of transaction s that the government          has referred

14 to took place from , I believe         it was    May 4, 19 87 , to

15 August    13 , 19 87, and that was some 15 year s up to the

16 point where the government         start ed to become      aware that

17 Learley    Goodwin   was allegedly     involve d in the

18 conspiracy    that he 's now on trial for .         That 's 15

19 years .

20           And while I understand       that 404(b)     does not have

21 any specific    time limit or cut off period         as to when

22 thing s may be admitted , the Court , in its discretion ,

23 can determine    whether    or not   that is too far re moved

24 and remote , an d we would suggest to           the Court that it

25 is in term s of its similarity , its relationship                 to




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 1 what's    taking     place now .

 2            There are some factor s that are , in fact ,

 3 different .     To begin with , this was , as I understand

 4 it , powder    and it only involve d Mr. Goodwin        at a

 5 street -level .       That is what the government      was talk ing

 6 about earlier , just him .          Now he 's involve d in what's

 7 de scribe d as not a street -level -type operation , but an

 8 upper -l evel conspiracy      involving    heroin , crack and

 9 powder    cocaine .

10            So , obvious ly what he 's charge d with today is

11 substantially        more onerous    than what he was charge d

12 with then, and as a street           deal er to bring in something

13 that involve s a small amount          of cocaine   and try to link

14 it to what 's taking       place today , I would argue to the

15 Court that that is not so similar           a thing , that it is

16 different     in some respect s.

17            Finally    Your Honor , there 's no way around       this

18 business    about the prejudice , and I understand          that

19 everything     that the government       does is prejudicial       to

20 the defense , but to bring that in --

21            THE COURT:     How is it un fair ly prejudicial ?

22            MR. MARTIN:     I was just going to say how it 's

23 un fair ly prejudicial .      To bring it in suggest s to the

24 jury that in no way that can be rebut ted by us , that

25 because    he was involve d in drug s in the past , that he 's




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 1 involve d in drug s again today .            And then in 19 87 , we're

 2 talk ing about a total of 150 grams of cocaine .                Today

 3 the government      is talk ing about kilo s, multiple          kilo , s

 4 and hundreds      of thousands      of dollar s, and so I would

 5 suggest    to the Court that when somebody              is a marijuana

 6 and cocaine     deal er , and this case involve d marijuana

 7 and cocaine , the 19 87 case , and to extrapolate              that

 8 over to what he 's do ing today , suggest s that , you know ,

 9 if you're    involve d with something          small , you must be

10 involve d with something          big .

11            And for that reason , we would argue that the

12 probative    value of this is outweigh ed by whatever

13 prejudicial     effect , and even a curing         in struction,      as

14 I've said in the past , isn't going to un do that .

15            THE COURT:     All right .

16            MS. GREENBERG:     Your Honor , just brief ly as to

17 the remoteness .        Mr. Goodwin       was sentence d on March 17 ,

18 19 88 , to a 15 -year federal        sentence , so he was n't out

19 for much time when this conspiracy              began in 19 97.       And

20 as I previous ly cite d to the Court the White case , in

21 which the Fourth        Circuit    affirm ed Judge Quarrel s'

22 decision    that the -- Judge Quarrel s look ed to how much

23 time there was before        the start of the       charge d

24 conspiracy , and he had a 404(b)             incident    that was ten

25 year s before .




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 1            In this case , with have a con spiracy that

 2 start ed in 19 97 .      This conviction     and conduct     was back

 3 into 19 88 and we're talk ing about the same analysis

 4 that Judge Quarrel s did ; and further , Mr. Goodwin

 5 could n't have gotten       involve d much prior to then

 6 because    he was serving     his federal     sentence    for this

 7 conviction .     So the remoteness     in time is be lie d by the

 8 fact of the length        of the conspiracy , the amount            of

 9 time it took us to go to trial , and also the amount                      of

10 time that Mr. Goodwin        was in jail .

11            Additional ly , Your Honor , the act s are similar .

12 This is very similar        to the conduct     Mr. Thurman

13 de scribe d about Mr. Goodwin      sell ing small er quantiti es

14 of cocaine     and cocaine    base and his activities         out of

15 Lobo 's, his activities       out of Anacostia     Road .     So it is

16 very similar     to buy ing large quantiti es , sell ing

17 small er quantiti es .      That 's what Mr. Goodwin        did .

18 That 's what Ms. Martin       did , and it 's very similar           to

19 this case and any prejudicial         effect    can be address ed

20 by a limiting     instruction    as to what the nature         of this

21 evidence    is being introduced      for .

22            MR. MARTIN:     The only other point that I would

23 make in response      to that , brief ly , Your Honor , is that

24 of that 15 -year sentence , it 's my understand ing that

25 Mr. Goodwin     serve d less than seven year s.          I believe         it




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 1 was six and half year s.

 2            THE COURT:     It was a 15 -year sentence      an d he

 3 serve d seven year s?

 4            MR. MARTIN:     That 's what he tell s me .

 5            THE COURT:     This is a federal       sentence .

 6            MR. MARTIN:     I didn't understand       that either

 7 because     it occurred    after 19 84 .

 8            MR. MARTIN:     In any event , he didn't      serve the

 9 full 15 year s.

10            MS. GREENBERG:      Your Honor , even seven year s

11 would have been 19 95 , which is two year s before              the

12 start of the charge d conspiracy .

13            THE COURT:     Now , what is the evidence ?         You read

14 to me a stipulation , but what is the evidence             that you

15 intend     to offer on this ?

16            MS. GREENBERG:      The detective 's testimony , Your

17 Honor .     The under cover detective .

18            THE COURT:     Okay .

19            MS. GREENBERG:      And the judgment      of conviction .

20            THE COURT:     All right .      Well , I think that with

21 regard     to the matter    involving      Mr. Good win , that it is

22 essentially     a government       -- the same analysis    that I

23 just applied     to the evidence       with respect    to Ms.

24 Martin .     There are some slight         wrinkle s to it , but the

25 bottom     line is that this is a charge         of conspiracy ,




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 1 that the prior act s involve d here are probative                 of an

 2 issue that is clearly        put at issue by a plea of not

 3 guilty , which would be , at a minimum , knowledge                and

 4 intent , and that with an appropriate          cautionary

 5 instruction , I believe       that it would satisfy        the four

 6 factor s under the test adopt ed by the Fourth             Circuit        in

 7 the Queen case .

 8           It is evidence     that is relevant     to an issue ,

 9 which as I said is the knowledge          and intent      that is

10 essential     to proof of a conspiracy       charge .     It 's not

11 being offered     to establish    general    character     of the

12 defendant , and the prior act is very similar              to the act

13 to be prove d here , and therefore        it 's become     high ly

14 relevant .

15           I conclude    also under the second      test that it is

16 necessary     in the sense that sit probative           of an

17 essential     element   of the offense , name ly the       knowledge

18 and intent     element .    There does n't appear       to be any

19 dispute     about reliability    of the testimony .        And

20 finally , it 's -- the final factor         is whether     it s

21 probative     value is substantially      outweigh ed by

22 confusion     or un fair prejudice    in the sense it intends

23 to su bordinate    reason    to emotion   in the fact -find ing

24 process .

25           There is no question       that the evidence      is




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 1 probative     for the reason s I've just given , and while

 2 any evidence        of this nature     is prejudicial , the

 3 question    under this test as well as under Rule 403 is

 4 whether    it is un fair prejudice , and in this case , I

 5 believe    that any prejudice , much less any un fair

 6 prejudice     can be at ten uated or eliminate d by the giving

 7 of an appropriate        cautionary     instruction , which I will

 8 give .    So I will deny the motion         on -- with respect         to

 9 Mr. Goodwin .

10            What's    the next ?

11            MS. GREENBERG:         Your Honor , the next , if Mr.

12 Hall is ready , the next is Mr. Whiting .             There were

13 four prior act s, and I think I'll make it easier                for

14 the Court and Mr. Hall by just address ing the last two .

15 Just so Your Honor is aware , our motion            talk ed about a

16 19 68 conviction       for marijuana     and a 19 74 conviction        in

17 federal    court in connection         with the Liddy Jones

18 operation .     We will not seek to admit those , and I'll

19 focus on the most recent           convictions   of Mr. Whiting .

20            THE COURT:     All right .

21            MS. GREENBERG:         Of course , y our Honor , we

22 re serve the    right , if Mr. Whiting        testifi es , to go into

23 those , but for 404(b)       purpose s, we'll just go with the

24 last two convictions .

25            THE COURT:     Okay .     So what are those two ?




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 1            MS. GREENBERG:     Your Honor , the first one is a

 2 conviction     that Mr. Whiting    received        on November     6,

 3 19 87.    He receive d a sentence        of eight year s, three

 4 month s based on -- actual ly , the conviction             was in 19 87

 5 based -- the judgment       was in 19 87 based on a conviction

 6 in 19 86 in Mexico     for possession       of cocaine .

 7            Specifically , he was arrested          for possess ing

 8 over seven kilogram s of cocaine           and scale s in Mexico .

 9 The document s that we obtain ed from the Mexican

10 government , which were provid ed to counsel , talk ed

11 about a search      of a hotel room .       Mr. Whiting     had no

12 luggage    other than the box of cocaine .            Mr. Whiting           was

13 arrested    on an anonymous     tip .

14            And when question ed by the Mexican          police , he

15 admitted    that somebody    in Mexico      nam ed Jorge Gonzalez

16 sold him the cocaine , and he was convict ed for -- they

17 have a -- of course      here , Your Honor , that amount               of

18 cocaine    would be possession     with intent        to distribute ,

19 but in Mexico      it was simple   possession        charge .     Again ,

20 it was over seven kilogram s of cocaine              and scale s that

21 were re cover ed from    Mr. Whiting       in his hotel room .

22            Subsequent ly , Mr. Whiting      was arrested        in 19 94

23 and convict ed in the Eastern           District    of Virginia        for

24 his role as an organizer        for a large conspiracy            to

25 im port heroin .     He was sentence d to 18 6 month s




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 1 incarceration , later reduced , through         a Rule 35 , to 72

 2 month s incarceration .      And Your Honor , that case was

 3 based on Mr. Whiting 's recruit ing friends           to serve as

 4 courier s to im port heroin into        the United    States from

 5 Thailand.

 6           One courier    was arrested    in San Francisco      after

 7 she flew back into the United         States   from Tokyo with

 8 over eight kilogram s of 89 percent         pure heroin     as well

 9 as business    cards in Mr. Whiting 's name .         Mr. Whiting

10 not only pled guilty , he cooperate d with the

11 government , and that was the basis for the Rule 35

12 reduction .

13           Your Honor , in this case , Mr. Whiting 's role in

14 aid ing and abet ting the conspiracy        is twofold .     He ,

15 one , is a lawyer , and he assist s Ms. Martin          when people

16 are arrested , and he also talk s about get ting a

17 suppli er for the group .       This evidence    is key to show

18 his intent , his knowledge       of the drug conspiracy , and

19 how he is involve d in this drug conspiracy .

20           Mr. Hall , in his opening      statement , like ned Mr.

21 Whiting    to a rubber   tire that got caught        on a fish ing

22 line , said he was n't a big fish , he was n't a small

23 fish .    He was n't a fish at all .      He was a rubber     tire ,

24 and that he was -- if he was a lawyer           and he was

25 helping    her with people    that got arrested , and that was




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 1 the ex tent of his involve ment and knowledge            about the

 2 conspiracy .

 3            This evidence    is crucial    to show knowledge       and

 4 intent , giv en Mr. Whiting 's defense        in this case , if it

 5 was n't already      ad miss ible, Your Honor , under the Fourth

 6 Circuit     law .   General ly when intent    and knowledge       are

 7 always     an issue , but given what Mr. Whiting         was try ing

 8 to do , to aid and abet this drug conspiracy , it 's

 9 essential     for these convictions      to be introduced .

10 They're     re liable , he admitted    to them , and they are not

11 remote     in time , the 19 86 and 19 94 , from this

12 conspiracy .

13            Unless   the Court has any question s, those would

14 be the two we would offer .

15            THE COURT:    All right .     Mr. Hall .

16            MR. HALL:    Thank you , Your Honor .       First of all ,

17 I -- let me address        each one separate ly rather      than

18 lumping     them together , and then we can go through            the

19 element s as outline d in the Queen case .            First of all ,

20 focusing     on the 19 86 conviction , which occurred        in

21 Mexico .     Just let me correct      one thing factual ly .

22 Despite the fact that counsel          referred   to an admission

23 on the part of my client        that was actual ly a trial , and

24 I think the document s from Mexico , which have been

25 provided     to me and translate d the -- would reflect .               I




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 1 think what counsel      was referring     to is an admission        to

 2 or a statement     to the Mexican     authoriti es .

 3          The first thing I want to make a point about

 4 this case , that I think make s it complete ly different

 5 than the case that 's before       this Court , and I think

 6 it 's important    that in the Court in examining         the -- I

 7 think the Court needs to examine          what has been produced

 8 in this case in this courtroom         so far in reference         to

 9 my client 's conduct     to really    examine   how this allege d

10 404(b) evidence     would fit in .

11          First of all , the case in 19 86 was undoubtedly                a

12 case in which my client       was going to , I'm most certain ,

13 allegedly   smuggle    the cocaine    to the United     States .        He

14 certain ly was n't bring ing the cocaine        to Mexico .      That

15 would be like bring ing coal s to New Castle , so it was a

16 case involving     a smuggling    operation .    There is nothing

17 in what has been adduced        so far in this trial which

18 would remotely     place my client     in the position      of

19 engagi ng in any type of similar        conduct .

20          What the Court has heard is evidence           involving

21 allege d attempt s by him to purchase         drug s from Ms.

22 Martin , some question s on her part concern ing chargi ng

23 document s and the like , but factual ly it 's quite

24 different   than this case .      What I would suggest        to the

25 Court that since it is factual ly so different            than what




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 1 has been present ed in this case , that the 19 86

 2 conviction    in Mexico    fail s the first test because           it

 3 isn't relevant     to an issue that has -- that is at stake

 4 here .

 5           What my client     is charge d with here is whether

 6 or not    he conspire d to even possess       with intent     to

 7 distribute    or to distribute     cocaine , and I would

 8 suggest    to the Court simply     the fact that this involve d

 9 a cocaine    case in Mexico     does not make it similar , does

10 not im prove -- does not prove his intent , and

11 therefore , fail s the first prong of the Queen test in

12 that it is not relevant       to one of the issue s that 's

13 before    the Court here .

14           I would suggest     to the Court that within        the

15 various    role s that people    can have in drug trafficking ,

16 someone    involve d in a smuggling     operation    is quite

17 different    than the allege d role that my client           has in

18 the case that 's before      the Court .

19           I would also suggest      the same thing is true of

20 the 19 94 conviction      in the Eastern    District    of

21 Virginia .    In that case , and in what I have received

22 from the government       as part of the 404(b) evidence , was

23 an appellate    opinion    from one of the co -defendant s, who

24 Mr. Whiting    had cooperate d against , which explain s in

25 some de tail what occurred       in that case that what my




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 1 client    allegedly    did was that he recruit ed an

 2 individual    to bring in a bag or a ship ment of heroin

 3 from Thailand      and through   Tokyo to the United        States .

 4           That individual    was stopped     at Custom s and end ed

 5 up being arrested .       Mr. Whiting   end ed up cooperating

 6 against    that individual    and -- cooperating       in some

 7 fashion    in that case eventually , and -- but again , that

 8 is a smug gling case .      It 's case in which my client         is

 9 involve d with recruit ing an individual         to go to another

10 country , and under some dis guise of a business

11 transaction , bring drug s into the United          States .

12 Again , that 's very different       than what the Court has

13 here .

14           My client    was not involve d in recruit ing anyone

15 to do anything .       Again , what the Court has heard thus

16 far is that my client       allegedly   made several     phone

17 call s to Ms. Martin      in which he attempt ed to purchase ,

18 and he answered       some question s involving     chargi ng

19 document s and legal issue s, but I think the Court can

20 see that what the -- what has been shown to this jury

21 so far is a very different        type of behavior      than either

22 the Mexico    --

23           THE COURT:     How is it ?

24           MR. HALL:     Well , it 's different    because    my

25 client    was act ing as either    someone    to recruit




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 1 individuals     to smuggle    or to smuggle     drug s himself     as

 2 in the Mexico     case .    Just because     it involve s drug s, I

 3 would suggest     to the Court , is simply       not enough .

 4           THE COURT:       But when you've    got decision s that

 5 allow this in because        it show s knowledge    of the   drug

 6 business , why would it not be admissible           for that as a

 7 minimum ?

 8           MR. HALL:      Because    the -- what I'm say ing to the

 9 Court is that it still -- it has to be relevant              to an

10 issue .     Now , we're not dealing with the situation           where

11 there is some quantity        of drug s which my client      has

12 been caught     with in this case in which the question             of

13 intent    to distribute , for example , would be at issue .

14 And therefore , the show ing that he had a prior

15 conviction     before    for a quantity    of drug s and intend ed

16 to distribute , that therefore          this evidence   would prove

17 his intent     to distribute .

18           Wh at I'm say ing to the Court is that I think the

19 Court has to be cautious           in the use of the word

20 "knowledge     of the drug trade " because       that come s very

21 close , I suggest       to the Court , to the fourth     element        of

22 the Queen case , which is propensity           or usi ng this as

23 some type of reflection        on Mr. Whiting 's character , and

24 I would suggest       to the Court that allow ing --

25 considering     what has been shown in this case so far ,




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 1 allow ing two convictions       to come in show ing that in the

 2 1980s he was a drug deal er , in the 1990s he was a drug

 3 deal er , and therefore      he must be a drug deal er at this

 4 point in time .

 5            I would suggest    to the Court that the term

 6 "general    knowledge     of the drug trade ," it still has be

 7 relevant    to a specific     issue in this case , and I'm

 8 suggest ing to the Court that these two prior

 9 convictions , considering       the fact that they're

10 smuggling    case s, considering     the fact that he play ed a

11 very different     role than what is allege d here , is

12 simply   not enough     and therefore    should    be excluded .

13            I also would suggest     to the Court that it should

14 be excluded     because    the -- even with a caution ing

15 instruction , I'm suggest ing to the Court that two prior

16 convictions     of this type is simply      too prejudicial        to

17 allow in , and that it 's going to have the very effect

18 which 404(b)     is not suppose d to have , and that 's to

19 show a propensity .

20            I real ize the government     is not going to get up

21 there and argue that what I just said about him having

22 been a drug deal er this decade         and that decade     and

23 therefore    this one , but it can't help but go off like a

24 light bulb     in a juror 's mind when they hear that about

25 two very serious , very large quantity            drug operation s




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 1 that Mr. Whiting       was involve d in , and then in this

 2 case , in which he has not been connect ed with any drug s

 3 thus far , and I suggest       to the Court based upon my

 4 re view of the evidence , there will not be a seizure

 5 comi ng into this case involving          Mr. Whiting   that the

 6 probative     value is just simply       going to be outweigh ed

 7 by the prejudicial        effect    if this is allow ed in .

 8           THE COURT:      All right .     Ms. Greenberg ?

 9           MS. GREENBERG:      Your Honor , brief ly , and again ,

10 I will    be happy to answer        any question s the Court has .

11 This is not a different        role .    These prior incident s

12 involve    Mr. Whiting     supply ing drug s for a conspiracy

13 going to Mexico , get ting large quantity          of drug s,

14 send ing people    to Thailand       to get a large quantity      of

15 drug s, the wiretap       conversation s show that he was

16 talk ing to    Paulette    Martin    about source s of supply .

17 That was Sergeant       Sakala 's testimony .

18           This is not different         than this case , and it

19 goes to show Mr. Whiting 's knowledge , as the           Court

20 correct ly point ed out , not only his knowledge            of drug s

21 and involve ment in the drug conspiracy , but knowledge

22 of source s and source s of supply         and it 's in credibly

23 probative     of his involve ment in this conspiracy .

24 Thank you .

25           MR. HALL:     Can I jus t sa y one more thing to the




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 1 Court , just in response         to what counsel     just said ?

 2           THE COURT:      Sure .

 3           MR. HALL:     We are talk ing about , therefore , one

 4 line in one phone call , and that is the call in which

 5 my client , in reference         to the ticket , says I might be

 6 able to do something         about that and that 's it .        And I

 7 would suggest      to the Court that 's simply        too thin a

 8 reed to let this type of evidence            go in before      the

 9 jury .

10           THE COURT:      Anything    else , Ms. Greenberg ?

11           MS. GREENBERG:       Nothing .

12           THE COURT:      Okay .    I believe    that the proper

13 application      of the factor s set forth in Queen to the

14 ad missibility     against    Mr. Whiting    of his prior Mexican

15 cocaine    conviction    and his conviction        in the Eastern

16 District    of Virginia      participation      in a cocaine

17 conspiracy    are admissible        under Rule 404(b)    and proper

18 application      of Rule 403 .

19           The evidence     is certain ly relevant      to the issue

20 of knowledge      and intent     and is not being offered        to

21 establish    the general      character    of Mr. Whiting .      The

22 act is necessary       in the sense that it is prob ative of

23 an essential      claim for an element       of the offense .         In

24 this case , the charge d conduct          is that of a conspiracy

25 and knowledge      and intent      is an element .




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 1            There 's -- there can be little       question      about

 2 the reliability      of these two matters,      both are based on

 3 court decision s, and finally        on the question      of

 4 probative     value and whether    it 's not substantially

 5 outweigh ed by confusion      or un fair prejudice , I conclude

 6 that the evidence       is probative    for the reason s I just

 7 gave , and that that probative         value is not

 8 substantially     outweigh ed by confusion      or un fair

 9 prejudice     because   it is not un fair ly prejudicial        in the

10 first place , and second ly , whatever        prejudice     there may

11 be , un fair or otherwise , will be attenuated          by me

12 giving     a care ful and contemporaneous      limiting

13 instruction , so I will over rule the objection             with

14 respect     to the evidence   proffered    by the government           as

15 to Mr. Whiting .

16            Mr. Mitchell , is there 404(b)      on the next one ?

17 Okay .     What is your --

18            MR . MITCHELL:    Can we pass on Mr. Bynum for a

19 moment ?

20            MS. GREENBERG:     Your Honor , we do have one on

21 Ms. Dobie .      I had discuss ed some possible        resolution

22 with Mr. Mitchell , so if we could move on to Ms.

23 Dobie and then we'll --

24            THE COURT:    Mr. Ward , are you re ady to       go ?

25            MS. GREENBERG:     Mr. Ward ?




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 1          THE COURT:       Mr. Ward ?

 2          MR. WARD:      I'm ready to go .          Do you want to hear

 3 from me , Your Honor ?

 4          THE COURT:       Certain ly let me find out from Ms.

 5 Greenberg    what it is .

 6          MR. WARD:      Right .      I have received        from the

 7 government    certifi ed document s, or at least              a copy of

 8 what I presume      to be certified          copies     of document s from

 9 the Circuit    Court for Baltimore            City show ing that on

10 September    21, 19 89 , a Lavon Park er pled guilty                to Count

11 I of Indict ment No. 18806411 , in which she and two

12 other s were charged       with wear ing , carry ing , and

13 transport ing a handgun           on or about their person .

14          It appear s from additional            document s that the

15 government    gave me that there was a burglary                at 114

16 South Fulton      Avenue in Baltimore          City .     Certain    thing s

17 were taken from the premises .               I think a set of car

18 key s, and I'm not sure what else , and although                    it 's not

19 clear , whoever     the parti es were that were involve d in

20 that , it appear s they were not arrested                 at the premises

21 but sometime      afterwards .

22          Number    one , we have a remoteness             issue in that

23 the offense    took place -- was allege d to have taken

24 place on or about January            28 , 19 88, and the conviction

25 was on August      28 , 19 88 .     Number    two , we have a total




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 1 dis similarity    with regard      to the offense s.     The offense

 2 to which that person         was pled guilty     incidentally , and

 3 was convict ed on that guilty          plea , was simply     carry ing

 4 a handgun .     That 's all .     On or about the person .

 5            In this case , of course , we have a drug

 6 trafficking     of fen se.    There 's nothing    in the first case

 7 to indicate     that it had anything        at all to do with drug

 8 trafficking     or that the handgun        was possess ed , as is

 9 one of the charge s in this case .

10            THE COURT:     What was the offense      -- Mr. Ward,

11 what was the offense         of conviction     we're talk ing about ?

12            MR. WARD:     Simply   carry ing a handgun .

13            THE COURT:     So it 's a handgun     violation .

14            MR. WARD:     It 's a handgun     violation   I

15 understood , Your Honor .         I'd be happy to give you the

16 -- well , I don't remember         it offhand , and the cite is

17 not on the indict ment , and as of course , it 's not

18 required    to be .     In any event , that was the -- it 's

19 actual ly Article       27 , Section   36 B.    That was the

20 offense    of conviction , so we have a complete

21 dis similarity    of type of offense .

22            We have -- in addition       to that , we have      a

23 question    of their identity .        The person   name d is , as I

24 said , Park er , and I don't know        how the state pro pose s

25 -- the government        pro pose s to go about provi ng that the




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 1 person    convict ed in that case that entered          the guilty

 2 plea and the person       here are one and the same person .

 3 I will leave it to the government           to en light en the

 4 Court on that .

 5           In any event , assuming      argu en do , that it is the

 6 same person , I think that this a complete ly dis similar

 7 offense    on a very re mote date simply       is not admissible

 8 under 404(b)     and does not even meet the first criteria

 9 set out in Queen , which is that the prior offense                be

10 related    to an issue in this case .        All we have in the

11 prior offense     is possession      of a handgun .     Nothing

12 about drug s, nothing      about in furtherance        of drug

13 activity , and I suggest       that that is so totally

14 dis similar    that it does n't even meet , of course , the

15 first criterion      under Queen .

16           As to the matter     of necessity , I can't really

17 argue on that because       the necessity     that the government

18 is required     to show complete ly eludes me .         I don't know

19 how all the prior offense        is necessary     to be introduced

20 into this case .      I think all that can be drawn from

21 what the government       is pro posi ng , assuming     they can

22 pro ve identity , is that the person         on January    28 , 19 88 ,

23 simply    possess ed a handgun , and assuming         they can prove

24 it in this case , Lavon Dobie possess ed a handgun

25 allegedly     in furtherance    of a drug trafficking       crime .




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 1 If that 's not propensity , I don't know          what is .    Simply

 2 the fact that possession        of a handgun .     I'll wait to

 3 hear the government 's response .

 4           THE COURT:     Let me hear from Ms. Greenberg .

 5           MS. GREENBERG:      Your Honor , Mr. Ward says the

 6 two offense s are complete ly dis similar , but what this

 7 404(b)    evidence   goes to Count 61 , in which Ms. Dobie is

 8 charge d with know ing and intelligen tly possess ing a

 9 firearm    in furtherance    of a drug trafficking        crime , we

10 have to prove as part of this offense            that she

11 know ingly and intentionally        possess ed a firearm .      Based

12 on her testimony       in another   proceed ing involving      her

13 husband , I believe      that she 's going to say they were

14 her son 's gun s, they were not her guns, and that she

15 mere ly move d them and that is why her DNA is on them .

16           In the prior incident , your Honor , an officer

17 approach ed a car that he belie ved to be involve d in a

18 burglary .     It was occupi ed by Ms. Dobie and two male s,

19 one of which was her husband , Goldie          Dobie , and he

20 specifically     saw Ms. Dobie hold ing two load ed handgun s,

21 specifically     a Smith and Wesson,      Model 49 , . 38 caliber

22 weapon , and a .38 Caliber       Armenius ,

23 A R M I N I U S, both of which were load ed , Your Honor .

24           He saw her hold ing the two handgun s, and that is

25 the substance     of the charge s in this case , that is the




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 1 substance    of the 404(b)     testimony .     We intend     to

 2 introduce    nothing   about the burglary , simply         that she

 3 possess ed these two firearm s, and it is in credibly

 4 probative    of her possession         of these firearm s in

 5 connection     with this drug conspiracy        simply    as to that

 6 one count , and we don't object           to a limiting

 7 instruction     that this is simply        as to the 924 (c) charge

 8 as to Ms. Dobie .

 9           In connection      with --

10           THE COURT:     What element      of the offense     under

11 the count -- what is it , Count 61 you say ?

12           MS. GREENBERG:       Sixty-one    require s know ing and

13 intentional     possession    of a firearm .

14           THE COURT:     All right .

15           MS. GREENBERG:       I expect , based on her prior

16 sworn testimony , she is going to say before              a judge up

17 in Baltimore , in connection           with her husband 's parole

18 violation    or supervised     re lease violation , that she 's

19 going to say they were her son 's gun s and she move d

20 them , so therefore     this evidence       is in credibly    relevant

21 to her know ingly and intentionally           possess ing a firearm

22 element   as part of Count 61 of the indict ment .

23           It 's not introduced     as part of the drug

24 conspiracy .     It is simply    for that one charge , and in

25 this case , the fact that her DNA is on the gun does n't




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 1 help us if she 's going to say that she move d them for

 2 her son , but the fact that she possessed              gun s on a

 3 prior occasion     is in credibly    probative .       The prejudice

 4 is limited , but we're not going to introduce                  any

 5 evidence    of the burglary , and simply           that an officer

 6 saw her with those two gun s in the car .

 7            THE COURT:     All right .    Mr. Ward ?

 8            MR. WARD:     Well , of course    the element         that the

 9 government    convenient ly leave s out is not simply                 the

10 possession , but know ing possession .             It 's the

11 possession    in furtherance     of the drug trafficking

12 crime .    That is not an element        of which she was

13 convict ed in the past , so simply          provi ng that she

14 possess ed a gun is not the offense              charge d.     Provi ng

15 that she possess ed the gun under certain              circumstance s,

16 that is in connection        with a drug trafficking            crime , is

17 the crux of the        government 's case and --

18            THE COURT:     Let me ask you this , Mr. Ward :               The

19 crime charge d by the state of Maryland              in the 19 88

20 conviction    was what ?

21            MR. WARD:     It was --

22            THE COURT:     You gave me the section            number     but I

23 forget    what that section     number    is .

24            MR. WARD:     It 's Article   27 , Section        36 (b) .    Your

25 Honor , now that the code has been changed              around , I




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 1 don't know     what the comparable      code is , but it 's -- I'm

 2 sorry it 's 36 B(b) .      And the charge      is that the

 3 defendant s, it name s all three on or about the date s of

 4 the offense     set forth above , being January          28 , 19 88 , at

 5 the location     set forth above , that being 114 South

 6 Fulton     Avenue in Baltimore      City un law fully did wear ,

 7 carry and transport        a handgun   upon or about their

 8 person s contrary       to the form of the      Act of Ass embling ,

 9 and such a case may have         been provided     --

10            THE COURT:     It 's a conceal ed weapon      charge     then ?

11            MR. WARD:     Sir ?   I'm sorry ?

12            THE COURT:     It 's a con cealed    weapon   charge ?

13            MR. WARD:     It 's not eve n conceal ed according            to

14 the government 's statement , but it 's simply            carry ing a

15 weapon .

16            Now , as said , there 's nothing      -- there is no

17 evidence     -- there 's not going to be any evidence              -- the

18 government     has no evidence      that drug s were ever found

19 in this vehicle        or on the person   from whom the gun s

20 were taken or upon anybody          else in the vehicle .          That 's

21 entire ly out of that first case .

22            I think it 's glari ngly apparent       that the

23 government     skip ped over the identification          issue .     I

24 assume     they intend    to bring an officer      in to identify

25 my client     as being the same person         with whom the gun s




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 1 were taken .     I don't know .      But that 's certain ly an

 2 is sue in   the case .     For all those reason s, Your Honor ,

 3 I think that the prejudice          does not -- is not over come

 4 and cannot     be over come by an instruction        in this case .

 5 For those reason s, that evidence          ought not be admitted .

 6            THE COURT:     All right .    Well , I will announce      my

 7 ruling    on this when we return        at five minute s of 2:00 .

 8 Mr. Sussman     is not here , so I assume      he 's --

 9            MR. MONTEMARANO :       He left , Your Honor , while Mr.

10 Ward was argui ng and asked me to inform            the Court .

11            THE COURT:     Okay .

12            MS. GREENBERG:      Your Honor , the only one we have

13 left now is     Mr. Bynum and I will       speak with Mr.

14 Mitch ell at the break .

15            MR. WARD:     I'm sorry , Your Honor .      I thought    he

16 just got tire d of listening         to me talk .    I was a little

17 upset .

18            THE COURT:     I enjoy hear ing you talk,       Mr. Ward .

19 It's a pleasure        to listen   to you any time .

20            I will -- now assuming       that we don't have Ms.

21 Harden    sitting   here at 2:00 , I will continue         to address

22 these and any other legal issue s you have so that we

23 wear out our reservoir        of preliminary     matter s, and so

24 if there 's any other matter s that require            legal

25 argument    that I can -- am or can reasonably            get




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 1 prepared      for , I will be glad to take those up .

 2            But at five minute s of 2:00, I'm going to get a

 3 weather      report    from Mr. Sussman     on what's going on with

 4 his client .        We will take action       appropriate    with the

 5 jury .    I will      conclude   the matter    with Mr. Ward 's

 6 client , and then I will take up the matter              with Mr.

 7 Bynum .      I believe    that will be all the 404 matter s; is

 8 that correct ?

 9            MS. GREENBERG:        Yes, sir .

10            THE COURT:       All right .    We will see you at five

11 minute s of 2:00.

12                       (Off the record     at 12 :43 p.m. )

13                       (On the record    at record at 2:01 p.m. )

14            MS. GREENBERG:        Your Honor , as to the remain ing

15 404(b)    issue , I think it will take all of two minute s

16 when the Court is ready .

17            THE COURT:       Let 's hear about Mr. Sussman 's

18 client    first .

19            MR. SUSSMAN :      Well , Judge , you'll    be happy to

20 hear I've locate d my client , and I spoke to the

21 personnel      at the emergency      room at Bay view Hospital ,

22 part of John s Hopkins .          She 's been there since the

23 morn ing .     They had her listed        under Arden with an A.           I

24 spoke to the woman , that 's why they didn't             locate    her .

25            THE COURT:       They had her listed      as what ?




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 1          MR. SUSSMAN :        Arden with an A instead      of Hard en

 2 with an H.     I spoke to Ms. Harden .        I spoke to someone

 3 in the emergency      department .     I explained      to them the

 4 circumstance s.      She is prepared      to waive .     I told her

 5 to standby , that the call from the Court , I thought

 6 that 's how the Court want ed to do that .

 7          THE COURT:      What is her medical      status    now ?

 8          MR. SUSSMAN :        She has not been seen .      The

 9 symptom s report s, I can report         them , but what that

10 mean s is -- I play cards with doctor s, but I don't

11 think I can proffer       what it all mean s.

12          THE COURT:      Well , you've    discuss ed with her

13 waivi ng presence     in the proceed ings today ?

14          MR. SUSSMAN :        I discuss ed with her -- what I

15 told her , Your Honor , was that the matter s we would

16 take up this afternoon         would be matter s that did not

17 direct ly concern     her .    I believe d it would be the

18 search   of Ms. Martin 's premises        and one going back

19 quite a way s.     And that was by de sign that we would

20 avoid issue s that touch ed her direct ly .

21          I also told her that the Court obvious ly would

22 tell the jury something         about her health       and why we're

23 going on in the fashion         we're going on so she would not

24 be prejudice d in that way and she seem ed agreeable , but

25 obvious ly the Court would probably          want to speak with




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 1 her , and I told her to standby .

 2            THE COURT:      All right .

 3            MR. SUSSMAN :     I don't know       the best way to do it

 4 for technology .

 5            THE COURT:      We would have to place a call from

 6 here to her and visit , go over the speak er system .

 7 Just give her the number .            Before   you call , I want to

 8 take up another      issue .     Mr. Montemarano , you had an

 9 issue with regard       to the juror ?

10            MR. MONTEMARANO :        I think Mr. McKnett    would like

11 to address     the Court .

12            THE COURT:      Okay .

13            MR. MCKNETT :     Your Honor,       at lunch -- I'm not

14 sure if the Court has been in the attorney               lounge

15 downstairs .

16            THE COURT:      Oh , I've spent many an hour in

17 there .    I use d to do what you do .          I keep on brag ging

18 about that conference          room being such a love ly place

19 that you would n't expect           in a courthouse .

20            MR. MCKNETT :     As the Court will recall , there is

21 an entry way , a corridor        that goes straight      back .   There

22 are two conference         room s at the back of that unit , and

23 adjacent    and to the left of the larger           conference    room

24 is a computer     room .     The entrance s from the computer

25 room -- the entrance         to the computer      room and to the




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 1 larger   conference       room are , I would estimate , eight to

 2 ten feet     apart .

 3            Several     of us , myself , Mr. Montemarano , Mr.

 4 Hall , were in the large conference          room at lunch .       We

 5 had been in there , I would estimate , three to four

 6 minute s.     We were discuss ing matter s that had been

 7 discuss ed this morn ing on the record         out of the

 8 presence     of the jury .     We were discuss ing , for example ,

 9 the Court 's rulings        on some of the rulings      the Court

10 had made .

11            We were discuss ing the need and mechanism          for

12 obtain ing transcript s for possible         future    use , and

13 there may have         been one or two other topic s, but they

14 all related     to matter s that had been matter s of record

15 out of the presence         of the jury .   After about three or

16 four minute s of that conversation , we heard a voice

17 comi ng say hello ?        Hello ?   Comi ng from what I thought

18 was at the main door way into the lob by o f the

19 courthouse .

20            I got up from my seat , which was at the end of

21 the large table in the larger           conference    room closest

22 to the door and start ed to walk toward           the entrance .

23 As I pass ed the door to the conference           room , which is

24 on my right at this point , the computer             room , the --

25 excuse   me , the computer      room , a person   approach ed me




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 1 from right rear and start ed talk ing to me say ing ,

 2 hello ?

 3            I want ed to let you know I'm in here .            And I

 4 turn ed and I didn't         immediate ly recognize    the person .

 5 I knew I had seen the person            before , but I didn't

 6 immediate ly recognize         her .   She continued   to talk to me

 7 and tell me that she had been in the computer                 room the

 8 entire     time .    She didn't   say it , but it was obvious         she

 9 had heard us talk ing because           she was the person      who had

10 been say ing hello ?         Hello ?   I want you to know I'm in

11 here .

12            She continued      to explain   that she had been in

13 the computer        room .   She claim ed that a court clerk had

14 taken her into the computer            room so she could use the

15 computer .     While she was say ing that , I real ized that

16 she was , in fact , a juror and she was -- she had been

17 the alternate        juror that is now sitting , I think , as

18 Juror No. 8 .

19            She had been Alternate        No. 1 , and she re place d

20 the former     Juror No. 8 .      If I said anything     to her at

21 all in that coup le of seconds , it was why are you here ,

22 or words to that effect , but that was before             I

23 recognize d her as a juror .           I believe   I said , who are

24 you ?     And as soon as I said that , I recognize d her as a

25 juror and I stopped          talk ing to her .




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 1            She continued     talk ing to    me say ing , I know we're

 2 not suppose d to talk to you , but the clerk said I could

 3 be in here , and the clerk brought              me in and use d the

 4 computer     because    at that point she left the entire

 5 area .

 6            MR. MITCHELL:      Mr. Martin     and I were walk ing in

 7 chat ting about similar           issue s as she was walk ing out .

 8 I don't know     about Tony .        I didn't    recognize   her

 9 either .

10            MR. MCKNETT :     Your Honor , I've talk ed to fellow

11 counsel , not all of them but most , and I think it 's our

12 consensus     opinion    that this juror must be stricken .

13 She has been -- whether            she real ize s it now or not , she

14 has been privy to conversation s about matter s that are

15 not matter s that go to the jury .              We don't know -- the

16 Court can address        this .     We don't know if she 's talk ed

17 to any of the     juror s about this yet , but the fact

18 remain s that she has heard us discuss              matter s that are

19 not juror matters .

20            THE COURT:      Mr. McKnett , yesterday      I had the

21 elevator .     Today I have --

22            MR. MCKNETT :     It 's the    week for bizarre

23 occurrence s.

24            MR. HALL:     There 's a dark cloud over us , Your

25 Honor .




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 1          (The following proceedings were held with              Ms.

 2 Harden via telephone.)

 3          THE COURT:       It 's been one of those week s, but

 4 Ms. Harden     is on the phone , so what I'd like to do is

 5 take a break from this problem            and deal with the other

 6 problem .    Can you hook her up , Bea, so her and I can

 7 talk ?

 8          THE CLERK:       I'm hopi ng I have her hook ed up .

 9 Ms. Harden ?

10          DEFENDANT    HARDEN:     Yes ?    Yes ?

11          THE COURT:       Ms. Harden , can you hear me ?        This

12 is Judge Titus .

13          DEFENDANT    HARDEN:     Yes .    How are you ?

14          THE COURT:       Good afternoon .

15          DEFENDANT    HARDEN:     Good afternoon .

16          THE COURT:       Ms. Harden , can you tell me what

17 your current     status is ?

18          DEFENDANT    HARDEN:     Right now , I'm in the -- they

19 just call ed me back to the tr iage area , so I guess soon

20 I'll be going back to see a doctor .               She said it 's not

21 going to be soon .        I've been here since about 11

22 o'clock .    I was sick yesterday .         I have -- my glands

23 are swollen     up , my neck is swollen       on the right side ,

24 I'm having     chill s.    I'm dizzy , nauseate d, I have

25 diarrhea , and all these thing s were going on yesterday .




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 1 I haven't    eat en in a few day s because          I can't swallow .

 2 So I'm try ing to find out what's           going on and get

 3 something    for it .

 4            THE COURT:     Well --

 5            DEFENDANT    HARDEN:     Somebody   from there call ed

 6 here , but they had spell ed my name wrong , the lady said

 7 so --

 8            THE COURT:     First , Ms. Harden , I want to ex plain

 9 to you that you really        can't decide        on your own

10 initiative     to simply    not show up for court .

11            DEFENDANT    HARDEN:     I didn't   decide    on my own , I

12 call ed your office       this morn ing .

13            THE COURT:     I understand , but you simply         cannot

14 announce    to somebody     you're   not comi ng .      You need to do

15 significant ly more than that .          If you have a medical

16 reason   that pre vent s you from attending           the court , you

17 need to have something        from a physician        that would

18 clear ly indicate       that this is a very urgent

19 circumstance .     Not just any illness           is going to excuse

20 you from being able to attend           court .

21            But I -- what I want to discuss           with you now is

22 this .   Mr. Sussman      tell s me he has spoken        to you.   As

23 you know , can you hear me ?         Ms. Harden ?

24            DEFENDANT    HARDEN:     Yes , I'm here .

25            THE COURT:     As you know , we have seven defense




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 1 attorney s, two prosecutor s, and 15 juror s and a host of

 2 witness es who had ass embled          today for these

 3 proceed ings .     We would like to be able to continue , but

 4 you have a right under the United             States    Constitution

 5 and under the Federal           Rule s of Criminal     Procedure   to be

 6 present    at all trial proceed ings in your case .

 7            We are contemplati ng having        testimony    this

 8 afternoon    from witness es who would be relating            to

 9 evidence    developed       at an earlier    time against    Ms.

10 Martin    and --

11            MS. JOHNSTON:        Your Honor , the other witness           --

12 I think we'll only go get two witness es in today .                 The

13 other witness      would be Moises        Uriarte , who was the

14 heroin    suppli er from New York who does not personally

15 know Ms. Harden        .    And if she --

16            DEFENDANT       HARDEN:   Sir , that 's fine .   I had

17 asked Mr. Sussman          -- I thought    he was going to waive my

18 right -- waive my appearance            anyway --

19            THE COURT:        Ms. Harden , you need to understand

20 --

21            DEFENDANT       HARDEN:   -- the right way , and it

22 turn s out it 's screw ed up anyway .

23            THE COURT:        Ms. Harden , I want to make certain

24 that you make the decision           yourself .

25            DEFENDANT       HARDEN:   Yes , I did .   I'm really     --




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 1 I'm ill .     I've been sitting        at this hospital        all day

 2 wait ing to be seen .        I was going to go to my doctor ,

 3 but Mr. Sussman        said this morn ing I had to go to the

 4 hospital     instead , and I could have been seen and

 5 treat ed and out of here now instead              of sitting        here all

 6 day , and then they tell me it 's going to be a while

 7 before   I'm seen .      But yeah , it was my decision              to waive

 8 my right .     I have to get medical           treatment .     I

 9 definite ly have to get medical              treatment .

10            THE COURT :     Well , what I'm asking          you is this ,

11 Ms. Harden :     I don't want to put you in an un fair

12 situation     or violate     any of your Constitution al or

13 legal right s.     You have a right to be present                  at all

14 trial proceed ings involving           this case unless        you

15 affirmative ly decide        to waive that know ingly and

16 voluntarily .

17            Do you understand        you have    that right ?

18            DEFENDANT     HARDEN :    Yes .

19            THE COURT:      Do you de sire to give that right up

20 for the proceed ings I've de scribe d to you today , which

21 would involve     some evidence        seize d in 19 86 from Ms.

22 Mart in and from --

23            DEFENDANT     HARDEN:     Yes , I do .

24            THE COURT:      -- and from Moises       Uriarte , the

25 purport ed seller       of heroin    from New York City ?




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 1            DEFENDANT    HARDEN:   Right .      I don't know   him

 2 anyway .

 3            THE COURT:     All right .     Now just a minute .          Your

 4 counsel    wish es to say something .

 5            MR. SUSSMAN :     Jus t to add --

 6            THE COURT:      Mr. Sussman , you're     going to have to

 7 speak into a mike .        She won't hear you .

 8            MR. SUSSMAN :     I believe    Mr. Uriarte     does not

 9 know and has not mention ed Ms. Harden             in any of his

10 previous    testimony .

11            THE COURT:      That 's correct .     There is no -- Mr.

12 Uriarte    will not give any testimony          that mention s the

13 name of your client        as far as     I understand .

14            MS. JOHNSTON:      That 's correct , Your Honor .           Now ,

15 I don't know     -- I'm hopi ng with the other matter             we

16 have to take up , that that will take us at least                 later

17 in the day , but we have those two witness es available

18 to testify     today un related , un connect ed to Ms. Harden .

19            THE COURT:      All right .    Now , Ms. Harden , there 's

20 one other matter        that is like ly to come up today , and

21 that is that a member         of the jury panel inadvertent ly

22 over heard some conversation s between            several   defense

23 attorney s about this case .        I'm going to have to deal

24 with that issue and that -- the resolution                of that

25 issue may result        in me excusi ng that regular        and




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 1 re placi ng that juror with an alternate             juror .

 2            Your counsel     is present       and is able to address

 3 that issue .     I believe     the defense       attorney s are all of

 4 the view that the juror should              be excused   because     the

 5 juror over heard some conversation s between              the defense

 6 attorney s.     I have not yet heard from the government .

 7 That issue is before         me for decision       and I really      can't

 8 begin to hear any further           testimony     until I've dealt

 9 with that issue .

10            Do you understand       you have a right to be present

11 for that aspect ?

12            DEFENDANT     HARDEN:    Yes , I do .

13            THE COURT:      And do you wish to waive your

14 presence    for that ?

15            DEFENDANT     HARDEN:    I'll waive my presence , yes .

16            THE COURT:      All right .       Now , Ms. Harden   --

17            DEFENDANT     HARDEN:    Yes .

18            THE COURT:      Go ahead .

19            DEFENDANT     HARDEN:    Hello ?

20            THE COURT:      Ms. Harden       , you need to understand

21 that I'm expect ing you to           be here at 9 o'clock

22 tomorrow    morn ing .    It 's not acceptable       to simply     call

23 and say you can't come .           Do you understand that ?

24            DEFENDANT     HARDEN:    Right .     Well , let me ask you

25 this :   When you're      sick or something        goes wrong , then




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 1 what do you do ?        Actual ly , like I said , I'm try ing to

 2 do the right thing and all this do ing is creati ng

 3 bigger    problem s.     What do you do ?     Life is life and

 4 thing s happen .       I didn't    ask for this .     It happened .

 5           THE COURT:      All right .    I understand     that .

 6           DEFENDANT     HARDEN:     I call ed your chamber s, I

 7 call ed Mr. Sussman , and I call ed my former            pre trial

 8 agent try ing to notify       everybody     of what was going on .

 9 I was sick there yesterday .           You know , it 's not

10 pre tend .     It's not make -believe .      It's actual ly

11 happening , and I really          had no intention     of sitting     in

12 this emergency      room .

13           MR. SUSSMAN :      I'm sorry , Ms. Harden ?

14           DEFENDANT     HARDEN:     What do you do ?

15           MR. SUSSMAN :      Ms. Harden , if you just wait up

16 for a second , I think the judge will explain              to you

17 what he want s.

18           THE COURT:      Ms. Harden , what you need to do is ,

19 number one , anticipate       you're    going to see medical

20 personnel      today who can tell you what's          wrong and what

21 you need to do about it .

22           DEFENDANT     HARDEN:     Well , I'm here now to get

23 that done .      I've been here since 11 o'clock .

24           THE COURT:      I understand    that .     You need to be

25 certain      that they provide      you written     documentation     of




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 1 what it is that is wrong with you , and you need to get

 2 written    documentation     from them as to whether        or not

 3 you can be permitted        to come to trial tomorrow .        You

 4 should    make certain     that information     is given to your

 5 attorney , Mr. Sussman .

 6           Mr. Sussman     know s how to get a hold of me and my

 7 law clerk , and we can deal with that issue , but you

 8 need to -- that can't simply          come tomorrow    morn ing .     I

 9 mean , you have to get this information           in the hands of

10 your lawyer     today so that I can deal with it

11 appropriately     with this large group of people           here , all

12 right ?

13           DEFENDANT    HARDEN:     Well , that 's fine .    As soon

14 as I get out of here , I will get that done .

15           THE COURT:     All right .    Mr. Sussman ?

16           MR. SUSSMAN :     Your Honor,      I would suggest   that

17 Ms. Harden    make herself       available   by phone this

18 afternoon .     I will talk to her after I get out of

19 court .

20           DEFENDANT    HARDEN:     The only problem     is in the

21 hospital , just like in the court , you cannot             have the

22 phone on because       it interfere s with the equipment        that

23 they have here .

24           MR. SUSSMAN :     We can work it out and arrange           to

25 meet after you leave -- arrange           to talk after you leave




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 1 the emergency     facility .

 2            DEFENDANT     HARDEN:     Okay .     Fine .

 3            THE COURT:      Ms. Harden , your counsel          will be

 4 provided    with number s from me and my law clerk and will

 5 discuss    with him how best to deal with this issue , but

 6 you should     be certain     to get written        documentation      of

 7 what is wrong and written            documentation       as to whether

 8 there 's any urgent       medical     condition     that precludes      you

 9 from being present        here tomorrow , and that information

10 needs to be in the hands of your lawyer                  today so that I

11 can act on it today .

12            DEFENDANT     HARDEN:     Okay , great .

13            THE COURT:      All right ?        Well , Ms. Harden,     I will

14 accept    your partial      waiver    of your right to be present

15 for the limited        purpose s of hear ing from the two

16 witness es that Ms. Johnston           has announced       will be

17 comi ng before    me , as well as deal ing with the question

18 with regard     to this juror .        I'll accept       your waiver    for

19 th ose purpose s only .       Whether    it ex tends beyond        this or

20 not will be something         we will have to have          a further

21 discussion     about .

22            DEFENDANT     HARDEN:     Okay.      All right .    Thank you .

23            THE COURT:      Thank you .

24            DEFENDANT     HARDEN:     Okay , bye .

25            MR. SUSSMAN :     See how easy it was ?




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 1            (Ms. Harden has disconnected and no longer

 2 present for the following proceedings.)

 3            THE COURT:      Now , Ms. Johnston , what is your

 4 position    with respect      to the juror that over heard this

 5 conversation ?

 6            MS. JOHNSTON:      Your Honor , one , I think the

 7 Court needs to bring the            juror in .

 8            THE COURT:      That 's wh at I intend    to do .

 9            MS. JOHNSTON:      And ask the juror what the

10 circumstance s were that led for her to be in the

11 lawyer 's lounge .      Two , what was it that she over heard ,

12 will what she over heard affect           her ability   to be fair

13 and im partial , and has she dis close d it to any other

14 juror s, and then the government           can take a position          on

15 defense    counsel 's request .

16            THE COURT:      You read my mind .

17            MR. WARD:    Your Honor , I would simply       add that

18 there 's a large sign on the door itself .

19            THE COURT:      Attorney 's lounge .

20            MR. WARD:    Say ing this is for use of attorney s

21 only .

22            THE COURT:      Yeah .

23            MR. MONTEMARANO :        For attorneys   involve d in

24 matter s before    this Court .

25            MR. MCKNETT :     Your Honor , I don't know         if the




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 1 Court would want to inquire           into this at this point ,

 2 but she did claim that a court clerk            took her into the

 3 attorney    lounge     and direct ed her to the computer       and

 4 told her she could use it .

 5            THE COURT:      Well , first of all , I don't know

 6 whether    somebody     might have thought     she was an

 7 attorney , so .

 8            MR. MARTIN:      Then only had three semester s of

 9 law school .

10            THE COURT:      It 's obvious   to me there 's three

11 subject s that I need to discover          with this juror , so

12 let 's bring in the juror .          What is it , No. 12 now ?

13            MR. HALL:     I thought    we decide d it was No. 8.

14            MR. MCKNETT :     It was former    Alternate   No. 1 , who

15 ha s taken the place of Juror No. 8 .

16            THE CLERK:      I think it 's Juror No. 140 .

17            MR. MCKNETT :     Yes , Juror No. 140 .

18            THE COURT:      Juror No. 140 , she is now Juror No.

19 12 .   All right .      I have will have her take the stand .

20            MS. JOHNSTON:      Your Honor , could the juror take

21 the jury box ?       I think it 's a little     bit less onerous .

22            MR. WARD:     Then we can't hear her on this end .

23            (Juror enter s the room and take s a seat in the

24 jury box .)

25            THE COURT:      Give her a hand held mike .




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1           BY THE COURT:

2 Q.        Good afternoon , ma'am .      I have been advise d by

3 some of the attorney s in the case that apparent ly you

4 were in the attorney 's conference          room and may have

5 heard some conversation s between          the attorney s about

6 this case .    I want ed to ask you       several    question s, how

7 it come to pass that you were in the attorney 's

8 conference    room ?

9 A.        The clerk let me in , the clerk downstairs .            I

10 forget   what her name is .     The jury clerk .

11 Q.       All right .

12 A.       I had asked Bea if there was a computer            in the

13 build ing and she said she didn't         know , go ask the jury

14 clerk , so I did and she said I could go use that room .

15 And no one was in there .

16 Q.       All right .    Well , without    regard    to how you were

17 there , tell me what did you hear in the conversation s

18 that you over heard .

19 A.       I just heard a couple      of the men come in , and I

20 immediate ly sang out hello and got up and walk ed out

21 and said , you know I just want you to know I'm here ,

22 and I'm leavi ng now that you're         here .    I was n't sitting

23 there -- as soon as I heard them come in .             I sung out

24 and let them know I was there .

25 Q.       Well , how long were they there and you there at




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1 the same time ?

2 A.         Less than a minute .

3 Q.         What conversation s, if any , did you hear between

4 the attorney s?

5 A.         I actual ly didn't   hear anything     particular .

6 They were just talk ing , but I didn't         hear exact ly what

7 they were say ing .

8 Q.         Did you hear any words at all ?

9 A.         Yeah .   I heard somebody    say something      about the

10 judge and somebody      say , well , I'm not going to tell you

11 that , and that was all I heard .

12 Q.        Anything   else you recall    hear ing ?

13 A.        No .

14 Q.        After you left the attorney       conference     room and

15 return ed to the room with your fellow          juror s, did you

16 discuss    with your fellow    juror s what had happened ?

17 A.        I just said that I was -- everybody           asked what

18 people    did over that long break .       I said I was able to

19 get use of a computer       here .

20 Q.        Did you discuss    with your fellow        juror s that you

21 had been present     where some defense      attorney s were ?

22 A.        I said that some of the attorney s came in and I

23 immediate ly had to leave -- let them know I was there

24 because    of your instruction s about not talk ing to them .

25 Q.        All right .   So you did not --




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 1 A.         It just happened .

 2 Q.         You did not tell any of your fellow           juror s

 3 anything     you'd heard ?

 4 A.         No , because    I don't think     I heard anything

 5 substantive .

 6 Q.         Do you recall       whether   you heard entire     sentence s

 7 or not ?     Did you hear the essence        of the conversation ?

 8 A.         No .   What I just explained       to you was all that       I

 9 remember     hear ing , and some laughter , and that was that .

10 Q.         Do you recall       hear ing whether   the conversation

11 was happy or un happy ?

12 A.         It was sort of razz ing , seem ed like .

13 Q.         It was what ?

14 A.         Like a jocular       sort of ex change .

15 Q.         All right .

16            THE COURT:      Co unsel , do you have any other

17 question s that you would like me to --

18            MR. MONTEMARANO :        No , Your Honor .

19            THE COURT:      -- submit to this juror ?         All right .

20 You may return      to the jury room .       Thank you very much .

21            THE CLERK:      She should     not discuss   --

22            THE COURT:      Do not discuss     our discussion       or

23 anything     about this with anybody        in that jury room .

24            JUROR:    Okay .

25            MR. MARTIN:        Oh.




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 1            THE CLERK:     Did you want her to come back ?

 2            MR. MARTIN:     There is one question , Your Honor ,

 3 and I don't know        how you want me to do this , if you

 4 want me the approach        you first .

 5            THE COURT:     Come up here and tell me what you

 6 want to ask .

 7                    (At the bar of the Court.)

 8            MR. MARTIN:     I think she said that there was

 9 another    juror , if she would just give us the juror 's

10 name , if she know s.

11            THE COURT:     Another   juror ?

12            MR. MARTIN:     Didn't she say she spoke to another

13 juror ?

14            THE COURT:     She said she spoke to the other

15 juror s.

16            MR. MARTIN:     No, no , no .      I thought   she said she

17 did talk to another        juror when they asked , what did you

18 do during    the long lunch break .

19            THE COURT:     She said she went to use the

20 computer .

21            MS. JOHNSTON:     She didn't       say a particular

22 juror .    She said when they all got back together , they

23 were talk ing about what they did at lunch , and she said

24 she got to use a computer .

25            MR. MARTIN:     If she could tell us who that juror




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 1 was .

 2           THE COURT:     I don't think     there 's a specific

 3 juror who asked that question .

 4           MS. JOHNSTON:       I don't think    there 's any basis

 5 based on her testimony        to question     any other juror s.

 6 She 's made it clear in term s of what she told them --

 7           THE COURT:     She said it was a general        discussion

 8 about what they did at lunch , which is           appropriate , and

 9 her answer     was she had gone and use d the computer .

10           MR. MONTEMARANO :      While we're here , I'd like to

11 supplement     Mr. McKnett 's comment s because       this may

12 evoke further     questions    on the part of the Court .        She

13 suggest s she was there for less than a minute .             After

14 she left and we -- the three of us , Mr. Hall , Mr.

15 McKnett    and I, were a little      dumbfound ed there had      been

16 a civilian,     let alone a juror from our case , in the

17 room .    We look ed at each and said how long was it that

18 she had to be listening        to us , because    she clear ly came

19 in before    we did , and Mark and I look ed at each other

20 and said -- almost      said in unison , half a sandwich .           We

21 had both eat en half a sandwich .         I am not that fast an

22 eat er , a nd Mark and I had time to finish          half of our

23 sandwich es.     It had to be at least        three min utes jus t

24 to eat just -- no way it 's possible           -- if not long er .

25           THE COURT:     Counsel , you're     not going to be




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 1 heard on the transcript .

 2             MR. MARTIN:      Tim , go ahead .         I'll seg ue .

 3             MR. HALL:     It was only because           just pick ing up

 4 on that same point that Mr. Montemarano                   was just

 5 maki ng .    The impression      I got from what she said was

 6 that she call ed out as soon as we walk ed in .                  Clear ly

 7 it was not as soon as we talk ed in .                 I want to make

 8 clear that in reference          to what Mr. Montemarano              was

 9 just say ing , it was definite ly three or four minute s.

10             THE COURT:      She was another       room away from you .

11 I mean , I'm familiar        with this --

12             MR. MONTEMARANO :        We're sitting       at that end of

13 the table , Your Honor .

14             THE COURT:      Excuse    me ?

15             MR. MONTEMARANO :        We're sitting       at the end of

16 the big table next to the open door .

17             THE COURT:      The biggest      room ?

18             MR. MONTEMARANO :        We're not -- you know , we're

19 not speak ing sot to voce        or anything      of that sort .

20             MR. MCKNETT :     We're in side a room , in side a

21 room .

22             THE COURT:      Big Latin words .

23             MR. MONTEMARANO :        It alian .

24             MR. MCKNETT :     Your Honor , I can confirm              the time

25 frame .     I had bought     a bowl of soup .           I had been able




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 1 to come in the room , sit down , open up the bowl of

 2 soup , put cracker s in it , and eat maybe a third of the

 3 bowl of soup before        she -- I heard her voice say ing

 4 hello , hello , and it was about the same time Mark is

 5 eat ing his sandwich , Michael         is eat ing his sandwich ,

 6 and we're having        a conversation    while we were eat ing .

 7 It had to be at least         three or four minute s.

 8            MR. MARTIN:      I didn't    walk in right be hind Mr.

 9 Montemarano , Mr. McKnett        or Mr. Hall .    We walk ed in --

10 it had to be a good three to five minute s after they

11 left here because        I was trying to     find a stipulation

12 for Ms. Greenberg .        So there was at least      a gap of

13 three minute s, if not five , between          your arrivi ng down

14 there and my comi ng with Mr. Mitchell .

15            MR. MONTEMARANO :     Your Honor , I suggest      you

16 might want to inquire         of Ms. Smith , the jury

17 commission er , to find out if she took her in there ,

18 because    I find the notion      that this Court 's personnel

19 would --

20            THE COURT:      Listen .    I certain ly am going to

21 inquire    about it .     I don't think    I need to make that

22 inquiry    before   I decide    what do with this jury .

23            MR. MCKNETT :     It may affect    the credibility

24 ruling .

25            MR. MONTEMARANO :     I find it difficult      to belie ve




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 1 -- I'm not criticizi ng Ms. Smith one way or the other .

 2 If she didn't     know any better , that 's fine .          I find it

 3 difficult     to believe     that she had done it .

 4           MR. MARTIN:       That 's exact ly why , Your Honor , I

 5 want ed to know which juror she had spoken               to because   it

 6 went to the credibility         question .     It seem s the Court

 7 gave short shrift         of that and didn't     give much cre dence

 8 to that and I dropped         it .

 9           THE COURT:       I believe     her statement    was that the

10 juror s simply    said , what did you do at lunch , and it

11 was a general     discussion         of what they had done at

12 lunch , and she said he had use d the computer .

13           MS. JOHNSTON:       She continued     and said she had

14 use d the computer        and then had to leave because        of the

15 attorney s entering .        She was n't suppose d to have

16 contact     with them .

17           THE COURT:       Lisa Rosenthal     is in the back .

18           Ms. Rose ntha l, co uld you come up here ?

19           MR. WARD:       While we 're wait ing for Ms.

20 Rose nthal,    Your Honor , let me just say I don't           want my

21 silence     on this issue     to be mis con strued.       I was not

22 present .

23           THE COURT:       You in deed join in everything .

24           MR. WARD:       No , I was not present .

25           THE COURT:       Lisa , you heard about this juror .




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 1 Do you know anything         about this ?

 2            MS. ROSENTHAL:      Other than Bea giving        me a

 3 heads -up that something        had happened ?      That 's why I

 4 came up .

 5            THE COURT:    You don't have any knowledge            about

 6 what may have     happened ?      She certain ly would indicate

 7 that someone     in the jury office         had direct ed her to the

 8 jury lounge .     That should n't happen .

 9            MS. ROSENTHAL:      Correct .     But it did happen .

10            THE COURT:    It may not have happened .          I don't

11 know .     Did it happen ?

12            MS. ROSENTHAL:      It happened .

13            THE COURT:    It did happen .

14            MS. ROSENTHAL:      It happened     I was told that the

15 instructions     that were given , that room that has

16 Inter net access , and if nobody        is in there , you can use

17 it .     If there 's anybody    in there , you have to leave .

18            THE COURT:    Okay .    Perhaps    that 's why she said

19 hello .     The issue here is whether         she was there for a

20 long time or a short time .          All right .     Well , we

21 should n't do that again .         All right .     Okay .   Counsel ,

22 I'm going to --

23            MS. GREENBERG:      Judge , before    we de part , if you

24 do excuse     her , could just let her know that it 's not --

25 she seem s to be concerned         that she 's follow ing all the




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 1 Court's    Order s the Court gave her , and follow ing

 2 instruction s --

 3            THE COURT:      Oh , yes .

 4            MR. MCKNETT :     Your Honor , if I could just be

 5 heard brief ly .     My concern     is that she 's now

 6 amplify ing , like I said , she said she does n't know if

 7 she heard anything      substantive .        She does n't think she

 8 heard anything     sub stantive,        and we don't know what she

 9 heard .    All I know is that we were discuss ing rulings

10 made by the Court out of the presence             of the jury ,

11 issue s that were not -- may or may not come before                  the

12 jury , and then we had -- we talk ed about a process                 of

13 acquiring     transcript s possibly        for further   use .

14            That in itself     would have taken more than a few

15 seconds    she de scribe d, but by her own admission , she

16 does n't know if she heard anything            substantive , and she

17 may have     and she may not real ize that until --

18 literal ly until jury deliberation s, and she may real ize

19 that what she heard is substantive             stuff that she

20 should    not be considering , and there 's no way to

21 pre vent that even with a curative            instruction .      I hate

22 to ask the Court --

23            THE COURT:      So far she says she didn't         hear

24 anything .

25            MR. MCKNETT :     She said she does n't know if she




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 1 heard anything       sub stantive,    and there 's no way for us

 2 to know if she did or not , and we may not find that

 3 out .     She may not real ize it until something           is said in

 4 closi ng argument .       I hate to ask the Court to strike           a

 5 juror , but we have a couple          more , and I think to

 6 protect     the right of the defendant s from jury

 7 consideration       of im proper    matter s, this juror has to be

 8 stricken .

 9            MS. JOHNSTON:     I think , quite frankly , the Court

10 can ask her if she happen s to recall           anything     that she

11 heard .     That 's all that is required , unless         counsel is

12 going to proffer        they were discuss ing something        in

13 there that was essential           to their case .

14            THE COURT:     At least    she didn't     hear them say ,

15 Judge Titus was a fool or something            like that .

16            MR. MONTEMARANO :       With all due respect , Your

17 Honor , let 's assume      for the sake of discussion         that we

18 said that .

19            THE COURT:     That 's a pretty    good assumption ,

20 isn't it ?

21            MR. MONTEMARANO :       Actual ly , it isn't .    Your

22 Honor , let 's assume      we did .    You would not hold      that

23 against     us .   You're chuckli ng about it , and the reason

24 is --

25            THE COURT:     I'm suppos ed to have a thick skin .




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 1            MR. MONTEMARANO :     With all due respect , Your

 2 Honor , it 's your job , our job to dis agree with you .

 3            THE COURT:     Absolute ly .

 4            MR. MONTEMARANO :     You would not , therefore , hold

 5 it against    us .

 6            THE COURT:     No .

 7            MR. MONTEMARANO :     That 's not a dynamic      or

 8 calculus    she can understand .

 9            THE COURT:     I'm going   to have further      limited

10 inquiry    with her .

11                         (Back in open court.)

12            BY THE COURT:

13 Q.         You must feel like you're       in the hot seat , and I

14 didn't    want to leave you there too long .            First of all ,

15 if someone    direct ed you to     go there , I don't want you

16 to think that you've        done something    wrong .     So not to

17 worry that you've been taken to           the wood shed , but my

18 obligation    as the person      pre sidi ng over the trial is to

19 make sure that juror s base their decision s sole ly upon

20 the evidence     in the case .

21            As you know from your experience         in this case to

22 date , we do a lot of thing s outside         the presence       of the

23 jury , that 's because      we have to figure     out what 's the

24 right thing for the jury to consider            and what's    not the

25 right thing for the jury to consider .            I have    to rule




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 1 on question s of law and thing s like that , and it 's

 2 important     that we keep this barrier        between   those who

 3 are the fact -finder s from the person           who 's making     the

 4 law decision s that may relate           to factual   issue s that

 5 should n't come before       you for one reason       or not

 6 another .

 7            What I'm try ing to ascertain       is , -- without

 8 regard    to how you got in that room -- and it 's not your

 9 fault that you were direct ed there , so please            don't

10 feel bad about that .        I'm try ing to ascertain      whether ,

11 through     content    or tone or anything     in the essence       of

12 what you heard , even though          you didn't   hear complete

13 sentence s, you heard anything           that would potential ly

14 affect    your ability     to be a fair and im partial         juror

15 who 's focused       sole ly upon the evidence     that you've

16 heard and see n in this courtroom .           So that 's the     reason

17 I'm asking        you some question s.

18            When you were direct ed in there , were you given

19 any instruction s on what to do if anybody             came in ?

20 A.         No .

21 Q.         You weren't ?

22 A.         No .    They just said if there 's -- if there 's a

23 computer     that 's not in use , I could use it .

24 Q.         So nobody    told you to    leave if somebody       came in ?

25 A.         I don't recall     get ting any particular




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1 instruction s to do anything .           As soon as I heard

2 voice s, I thought        I better    make myself   known .

3 Q.          I've been discussing       with some of the attorney s

4 who were there that I understand             have some concern         that

5 you may have         been there long er than you may have

6 thought     and may have      heard more than you may think as

7 you sit there now .          Do you recall    the tenor of the

8 conversation s at all ?

9 A.          Not more than what I de scribe d.          I mean , I was

10 busy reading        something , you know , from my work , so all

11 of a sudden     I real ized somebody      had just come in , and

12 that 's all I had heard was , like , somebody             joki ng with

13 somebody     as I just de scribe d about .

14 Q.         When they were joki ng --

15 A.         I didn't    even know if they were talk ing about ,

16 you know , this case or something           totally   un related .

17 They were just joki ng about the judge said something ,

18 and somebody        said what ?   And they said , I'm not going

19 to tell you , and that was all I remember             hear ing , and

20 then I got up and walk ed out of that cubicle                in the

21 back and , you know , show ed myself         and left .      Pick ed up

22 my thing s and left .

23 Q.         Okay .

24 A.         That 's really    all I can say because        I was n't

25 really   pay ing attention .        As soon as I became       aware




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 1 they were in there and they could be some of the

 2 lawyer s in this case , I thought        I'd better    hustle    out

 3 and let them know I'm here , so I call ed out to them .

 4 Q.         So when they did come in , were you aware the

 5 moment    they came in that they had come in ?

 6 A.         Well , I mean I heard voice s, but I didn't know

 7 who else use d that room, since I had never been in

 8 there .

 9 Q.         Were you busy work ing on the computer         when you

10 heard the voice s?

11 A.         Oh , yeah , I was back in this little        cubicle ,

12 kind of in the back .

13 Q.         Were you concentrati ng on what you were see ing

14 on the computer ?

15 A.         Yeah .   I was reading    a congressional     re search

16 service    report .

17 Q.         Oh , that 's wonder ful stuff to read .

18            And so could it be that they were there a little

19 bit long er than you thought ?

20 A.         They could have been there another          minute    or so ,

21 yeah .    I mean , I --

22 Q.         But without    regard   to the precise    length     of time

23 that they were there and you were there , the most that

24 you can tell me that you over heard is there was some

25 laughter     an d --




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 1 A.        And that little        ex change .

 2 Q.        -- something        about the    judge 's ruling ?

 3 A.        Or say ing something .

 4 Q.        You don't remember        the substance        of it at all ?

 5 A.        I don't think        there was any substance         referred

 6 to , or if it was it was in some , you know , lawyer

 7 jargon    that I didn't       perceive .

 8 Q.        Okay .

 9 A.        I mean , that 's all I can say .

10           THE COURT :     All right .       Counsel , anything

11 further    you wish to have me inquire           about ?

12           All right .     You may return        to the jury room .        As

13 I said , this conversation          is between        you and me and not

14 to be share d with your fellow             juror s.     All right ?

15           JUROR :    Okay .

16           THE COURT :     Thank you .

17                     (Juror excused        at 2:38 p.m. )

18           MR. MCKNETT :        Your Honor , if I may speak for Mr.

19 Hall and Mr. Montemarano .           The conversation , as

20 de scribe d by the juror , didn't           happen .     No one said

21 those thing s.

22           MR. MITCHELL:         What I can tell Your Honor is Mr.

23 Martin    and I were walk ing in as she was walk ing out ,

24 and I recall       us talk ing kind of in that -- in --

25 talk ing about the 404(b)          and issue s related       to that , so




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 1 it is possible     that maybe she heard us talk ing as she

 2 was walk ing out , maybe that 's what she remember s.            I

 3 don't know .

 4           THE COURT :     I don't find anything      fundamental ly

 5 in consistent    that what you -all communicate d to me , as

 6 you should , as officer s of the court and what she said .

 7 She may have     been there as long as       three minute s, but

 8 this woman sounds       like she was ensconce d with the

 9 congressional     record    on the computer    reading    it , at no

10 time hear anything       substantive , didn't     share what

11 little    she heard with her fellow       juror s, so I'm not

12 sure there 's a basis for excusi ng her .

13           MR. MITCHELL:      Just for the record , I think it

14 was Mr. Martin     talk ing about the judge , not me .

15           MR. MARTIN:      Anyway , I don't want to go there .

16           MR. MCKNETT :     May the record    be clear it was not

17 me who laugh ed , Your Honor .

18           MR. WARD:     And I was n't there .

19           THE COURT:      Well , we now have new direction s in

20 the jury office       about where to send juror s.

21           MR. MCKNETT :     Your Honor , may I just follow        up ?

22           THE COURT:      Yes .

23           MR. MCKNETT :     My concern , as I ex press ed it at

24 the bench , is not with what she real ize s she heard

25 today .    She said -- I wrote it down as quick ly as I




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 1 could .     I don't think     I heard anything     substantive        and

 2 what she said from the box tend ed to support                that , but

 3 she does n't know exact ly what it is she heard and we

 4 don't know .

 5            THE COURT:      Well , what she heard made no sense

 6 to her .

 7            MR. MCKNETT :     Today .     But two , three , four week s

 8 from now when we're maki ng closi ng argument s or the

 9 next day when she 's in the jury room            deliberati ng the

10 verdict s, she may real ize that what she heard was

11 substantive     and now we have in the jury room             evidence

12 -- fact s that are not part of the record .

13            THE COURT:      All right .     Mr. McKnett , I think it

14 would be speculation         for you to     go there .     I can

15 certain ly inquire      of this juror again at a later time

16 to see if she now real ize s she heard something , but

17 I've inquired     of her as much as         I think I can do

18 without     intimidating     a juror about what took place , and

19 I have not heard from her mouth anything                 that would

20 indicate     to me that she has heard anything             that has

21 affect ed her ab ility to be a fair and im partial                 juror ,

22 and I explained      it to her , so she understood           why I was

23 asking     the question s.

24            MR. MONTEMARANO :     Your Honor , on behalf        of Ms.

25 Martin , that would be perfect ly acceptable .               While I




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 1 would wish to suggest , being mind ful of the record ,

 2 that I agree with the Court , I think that at this

 3 point , further    question ing might well be --

 4            THE COURT:    Intimidati ng ?

 5            MR. MONTEMARANO :    If not intimidati ng , how about

 6 just re in forci ng this in her memory         that she start s

 7 search ing it , what was it that they said .           While I'm

 8 not agree ing with Your Honor 's decision , which appear s

 9 to be made , not excuse       the juror , I would be perfect ly

10 happy at this point if you were to simply             permit    us to

11 bring it to your attention         again if we think it 's

12 appropriate     if something    else com es up relative .

13            THE COURT:    If something      else com es up , you let

14 me know .     Ms. Johnston , do you have anything         else?

15            MS. JOHNSTON:     Your Honor , only that I thought           I

16 had request ed up at the bench that the Court ask her if

17 she could set aside that incident           and if any of that

18 come s back to her mind , set aside any thought s and

19 render   a fair and im par tial verdict        based upon the

20 evidence     in the case .    I think that make s the record

21 clear , and I don't know       that the Court asked her that

22 question .     I probably    should   have re mind ed the court .

23            THE COURT:    I can certain ly ask her that .

24            MS. JOHNSTON:     I don't think     there 's any basis

25 at this point in time for the Court to excuse              this




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 1 juror for cause .

 2          THE COURT:        All right .    I'll bring her in and

 3 ask her that one las t question , and I'll ask her if you

 4 -- if after further         reflection   you think this there 's

 5 some concern , you think about what you heard , you let

 6 me know .    All right .       Bring her back in .

 7          (Juror No. 140 return s to the jury box .)

 8          BY THE COURT:

 9 Q.       I just have one or two          more quick question s for

10 you .   I thank you for your patience .            You've   indicate d

11 that you really      didn't     hear anything   of any substance

12 that you can recall , and what I want ed to ask you is ,

13 do you think you can put out of your mind and dis regard

14 what took place today and render            a verdict   based sole ly

15 upon the evidence      in this case and dis regard          anything

16 you may have     heard ?

17 A.       Sure , because      I didn't    think I heard anything

18 substantive .

19 Q.       Let me ask you one          other thing , if you just make

20 a little    pledge   to me .     If you wake up in the mid dle of

21 the night sometime         between   now and the    end of this

22 trial , and you sudden ly say , you know , now I remember

23 more of what I heard , or now I think I know what was

24 important    about what I heard and you do have a concern

25 about it , I want you to         tell me about it .




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 1           So if sudden ly , you know , some dot s get

 2 connect ed and you sudden ly real ize that you did hear

 3 something , I want you to        be able to tell me that , and I

 4 want you to    be able to tell me whether          you think it

 5 would give you a concern         in your own mind as to your

 6 ab ility to be fair        to both sides in this case and

 7 rend er a fair and im partial       verdict .     Okay ?   So we're

 8 going to finally       get you -all back in here short ly .

 9           Thank you very much .

10                  (Juror excused      at 2:45 p.m. )

11           THE COURT:       All right .   Counsel , what I pro pose

12 to do is to -- I think I can stop 404(b)             rulings    for

13 now .    I think that the testimony          today of the first

14 witness    I've already      ruled upon .     The second   one , I

15 don't make a ruling         like that on .

16           MS. GREENBERG:       Your Honor , I'm going to make it

17 easy for you because         Mr. Mitchell     and I made an

18 agreement .    We agreed to the pend ing motion , jus t so

19 the record    is clear , that the 19 90 charge        against    Mr.

20 Bynum , the 19 91 charge , the 19 92 charge , and the 19 94

21 charge    reference d in the government's         motion   would not

22 be introduce d in the governments 's case in chief .

23           If Mr. Bynum take s the stand , we would , of

24 course , be free to use that as the Court allow s in

25 cross-examination      .    We've agreed that the 19 96 charge




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 1 could be admissible        as 404(b) , and of course        the July

 2 20 , 2000 , is within      the time period       of the conspiracy ,

 3 so the only issue left , then , is Mr. Whiting              -- the

 4 Court 's rulings     on Ms. Dobie 's argument .

 5            THE COURT:      I'm going to re serve ruling        on Ms.

 6 Dobie 's argument       because     I don't   want this jury cool ing

 7 their heel s any long er .

 8            MS. GREENBERG:      Is that correct , Mr. Mitchell ?

 9            MR. MITCHELL:      Yeah , I want ed to say , Your

10 Honor , that is our agreement .

11            THE COURT:      Mr. Sussman ?

12            MR. SUSSMAN :     Obvious ly, the     Court is going to

13 tell the jury something           about Ms. Harden ?

14            THE COURT:      Yeah .    What I pro pose to do -- tell

15 me if this is something           you're   comfortable    with is to

16 indicate    to them that Ms. Harden           became   ill and she is

17 seek ing medical     attention       as we speak .     We're quite

18 hope ful that she will be back here tomorrow               morn ing .

19 We have dealt with other legal matter s today in her

20 absence , and she has waive d her right to be present                   for

21 the proceed ings today .

22            MR. SUSSMAN :     I would prefer --

23            THE COURT:      Unless    you want me to not mention

24 the waiver .

25            MR. SUSSMAN :     I would prefer      you keep the waiver




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 1 out , and I prefer , if you would , that you tell them

 2 that in a large trial like this , that we often go

 3 forward    and we just go into evidence            that does n't

 4 direct ly concern       that particular      defendant .      The waiver

 5 make s it look like you're           a little   in different    to the

 6 proceed ings .

 7            THE COURT:      I can do it either        way .

 8            MR. SUSSMAN :     My preference        would be the latter .

 9            THE COURT:      If she 's not here tomorrow , we'll

10 have another     problem .

11            MR. SUSSMAN :     To day 's problem s are today 's .

12            THE COURT:      All right .      Mr. Montemarano ?

13            MR. MONTEMARANO :        One other thing .        When we

14 broke yesterday , the Court may recall              that I was

15 cross -examining     Sergeant       Sakala , and that won't

16 continue    until it look s like tomorrow .            Or maybe even

17 Tuesday , who know s?        I would request       that the Court

18 inform    the jury that we are going to be break ing with

19 detective    -- Sergeant      Sakala    to bring other witness es

20 in because     of scheduling        issue s or something      like that .

21            THE COURT:      Okay .

22            MR. MONTEMARANO :        I would n't want them to think

23 that I was done or in different           to continui ng my cross .

24            THE COURT:      That 's fine .

25            MR. MONTEMARANO :        Thank you .




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 1           THE COURT:      All right.      I will   not indicate       any

 2 waiver    on Ms. Harden 's part , but I will indicat e what

 3 we've been do in g.

 4           MS. JOHNSTON:      One other thing , Your Honor , so

 5 it 's clear on the record .        I know Mr. Sussman         and I

 6 discuss ed Detective      Robert s, who we're going to be

 7 call ing to testify , was actual ly charge d in the

 8 District of    Columbia , but was acquitted         of some     charge s

 9 back in about 19 90 .      I don't think      that it 's something

10 that 's subject      to cross-examination     , but I just want ed

11 to put that on the record .

12           THE COURT:      All right .     Okay .   Re ady for the

13 jury now ?

14           MS. JOHNSTON:      Yes, sir .

15           THE COURT :     All right .     Bring them in .

16                     (Jury return s at 2:50 p.m. )

17           THE COURT:      Good afternoon , ladies and

18 gentlemen .    We've had a bumpy start to day .          My

19 apologi es to you .      I want ed to tell you that the reason

20 for the delay is that one of the defendant s, Ms.

21 Harden , became      ill and she 's current ly receiving         some

22 medical    care .    We are hope ful that she will be

23 return ing with us tomorrow , but I have taken up the

24 time while we were deal ing with that question                with some

25 other legal matter s, so we have been work ing on other




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 1 matter s until we resolve d the question           of her absence ,

 2 but she won't be here today .          She 's been excused     by me ,

 3 but I'm hope ful and anticipate         that she will return

 4 tomorrow .

 5            The second   thing I want ed to tell you was that

 6 we're going to interrupt        the examination      of Sergeant

 7 Sakala , who was on the stand yesterday            when we broke ,

 8 to take two witness es who will have scheduling             issue s,

 9 so we will be resuming        the examination      -- or concluding

10 the examination      of Sergeant     Sakala   tomorrow   or whenever

11 we get to it , next week , but today we're going to hear

12 from an officer      -- a gentleman     who has just taken the

13 stand , and you will hear more about that in a minute .

14 All right .

15            MS. JOHNSTON:     Thank you , Your Honor .      The

16 government     would call Shelton      Robert s.

17 Thereupon,

18                            SHELTON   ROBERTS ,

19 having been called as a witness on behalf of the

20 Plaintiff , and having been first duly sworn by the

21 Courtroom Deputy, was examined and testified as

22 follows:

23                         DIRECT EXAMINATION

24            BY MS. JOHNSTON:

25 Q.         Good afternoon , Mr. Roberts .




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1 A.          Good afternoon , ma'am .

2 Q.          Where are you current ly employ ed ?

3 A.          By the Department     of Defense , Walter        Reed Branch

4 as police officer .

5 Q.          And how long have you been employ ed by the

6 Department      of Defense   at Walter     Reed Hospital       as a

7 police officer ?

8 A.          Approximately    15 year s.

9 Q.          What did you do prior to that time ?

10 A.         I was employ ed by the Metropolitan            Police

11 Department .

12 Q.         For how many year s?

13 A.         Approximately    20 year s, 21 year s.

14 Q.         Call ing your attention       back to 19 86 , do you

15 remember     what your assignment     was back in 19 86 ?

16 A.         Yes , I do .

17 Q.         What district    were you assigned      to ?

18 A.         Assigned   to the 4th District .

19 Q.         What unit ?

20 A.         Narcotic s branch , the vice unit .

21 Q.         Could you de scribe    for us your experience           in the

22 vice area , in particular ly narcotic s area ?

23 A.         Well , we had -- I had at least , like , a thousand

24 case s -- narcotic s case s in the District of             Columbia ,

25 so I had pretty       good experience     in narcotic s as far as




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 1 deal ing with narcotic s.

 2 Q.         Now , back in 19 86 , could you de scribe           for us the

 3 manner     and the mean s that you would conduct           narcotic s

 4 investigation s?

 5 A.         Yes .    The way we operate d once we get an

 6 assignment , myself       and other officer s, would go out and

 7 sit on the site and watch for -- see what kind of

 8 activity     goes on , and later myself , we the under cover

 9 person     or special    informant , would make a controlled

10 buy at this particular         location    after which I got five

11 day s to get a search        warrant .

12 Q.         Now , you said you would either           make an

13 under cover buy or use a special           informant .     What do you

14 mean by an under cover buy ?

15 A.         Well , I simply    mean I use d to purchase          drug s

16 myself .

17 Q.         You would go in in an under cover capacity ?

18 A.         Yes , I would .

19 Q.         When you use d the special        informant , could you

20 de scribe    that procedure ?

21 A.         A special    employee   is a person       who is hire d by

22 the police     department , who work ed for the police

23 department     just for money purpose s only , who provides

24 information        concern ing drug activity .

25 Q.         How would you utilize         a special    informant    to




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1 make a purchase        from a particular      location ?

2 A.         Well , first of all , before       you go on site , you

3 search   that person       and make sure they have no drug s on

4 them you , give them money .        Normally        we mark the money ,

5 and you watch them go in the premises                and come out the

6 premises .     Whatever     they bring back , you field test it

7 positive     or negative     substance .

8 Q.         Were you using that procedure             and process   back

9 in June of 19 86 ?

10 A.        Yes , I was .

11 Q.        Are you familiar     with an investigation         that was

12 done on June 10 th of 19 86 at 5408 Eighth Street ,

13 Northwest    in Wash ington,    D. C.?

14 A.        Yes , I vague ly remember       that .

15 Q.        Did you also follow      up that investigation          with

16 subsequent    activity     on June 26 of 19 86 ?

17 A.        That is correct .

18 Q.        Okay .    D id you prepare   report s and affidavit s at

19 that period       of -- back at that time period          relating   to

20 those event s?

21 A.        Yes , I did .

22 Q.        Would re view ing those report s assist          you in

23 recalling    some of the particular s of those event s?

24 A.        Yes .

25 Q.        I'm going to show you what's             been mark ed as




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 1 Government 's Exhibit        Miscellaneous      13 for

 2 identification        purpose s only .

 3            Do you recognize       those document s?

 4 A.         Yes , I do , ma'am .

 5 Q.         Are those your report s and statement s relating

 6 to the event s of June 10 of 19 86 ?

 7 A.         Yes , they are .

 8 Q.         And June 26 of 19 86 ?

 9 A.         That is correct .

10 Q.         Now , call ing your attention         first to June 10 th

11 of 19 86 .     Could you ex plain to the ladies and gentlemen

12 of the jury        what you did on June 10th       of 19 86 ?

13 A.         Yes .    On June 10th , myself       and other member s of

14 the 4th District        Vice Unit executed       a search   warrant   at

15 5408 Eighth Street Northeast             for narcotic s.

16 Q.         When you say "a search         warrant ," was that an

17 order sign ed by a judge ?

18 A.         Yes , it was .

19 Q.         Based upon your earlier         investigation    at that

20 location ?

21 A.         And a controlled       buy , yes .

22 Q.         Could you de scribe      for us what happened        when you

23 executed      the search    warrant ?

24 A.         Well , we knock ed on the door and a female

25 officer      did gain entry .     Once she got in , we all rush ed




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 1 in and search ed the premises .

 2 Q.        What was re covered    from the premises ?

 3 A.        As sort ed white powder     substance   that later

 4 tested    as cocaine .    Also , white rock type form known as

 5 crack was re covered , also along with cash .

 6 Q.        Can you tell us approximately        how much cash was

 7 re covered ?

 8 A.        On June 10th ?

 9 Q.        Yes, sir .

10 A.        Approximately    $7,000 .

11 Q.        And approximately     how much cocaine , whether       it 's

12 powder    or crack , was re covered ?     Can you tell us that ?

13 A.        It had a street     value of $100,000     what we was

14 valui ng it as .

15 Q.        Can you de scribe    how it was package d?

16 A.        In a clear white bag , small bag .

17 Q.        Were there multiple     small bag s?

18 A.        Yes , there was , ma'am .

19 Q.        And in look ing at -- did you submit        those drug s

20 to property    and ultimate ly to the DEA to be tested ?

21 A.        Yes , I did .

22 Q.        In look ing at the report      of that test , does that

23 refresh    your recollection    concern ing the various        number

24 of package s that were submitted ?

25 A.        Yes , I do .




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 1 Q.        Can you de scribe       those package s that were

 2 submitted ?

 3 A.        Okay .    T here was 25 large bag s contain ing white

 4 powder    substance    that were field tested , and there was

 5 28 small er bag s that contained a            white powder

 6 substance , and in addition , there was five larger              bag s

 7 contain ing a white powder          substance .    There was another

 8 bag contain ing a white powder             substance , and there also

 9 were 22 additional       small bag s contain ing white powder

10 substance , all tested          positive    for cocaine .

11 Q.        When you say "tested        positive ," do you mean

12 field tested       positive ?

13 A.        Field test ed as cocaine , yes .

14 Q.        In addition , were they analyze d by the DEA

15 chemist ?

16 A.        Yes .

17 Q.        What were they determine d to be ?

18 A.        Cocaine .

19 Q.        In reference     to that incident , when the female

20 officer     approach ed the door first , who answered         the

21 door ?

22 A.        Ms. Paul ette Murphy       -- Martin .

23 Q.        Do you see her here in court ?

24 A.        Yes , I do .

25 Q.        Would you identify        her to the record ?      Using me ,




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 1 where is she , count ing over ?

 2 A.        To your left , with red,        sitting    be side of

 3 counsel   with the dark suit on between             the two gentlemen

 4 there .

 5           MS. JOHNSTON:       We would ask the record       reflect

 6 that the witness has         identified   Paulette     Martin.

 7           THE COURT:      The record will so indicate.

 8           BY MS. JOHNSTON:

 9 Q.        Did you know her by a nickname            back then ?

10 A.        Yes , I did .

11 Q.        What was that ?

12 A.        Reds .

13 Q.        After -- did you arrest         Ms. Martin    on that date ?

14 A.        Yes , I did .

15 Q.        Was she re lease d after she was process ed ?

16 A.        Yes , she was .

17 Q.        Did there come a time when you return ed to that

18 very same address      in the month of June , 19 86 ?

19 A.        Yes , I did .

20 Q.        Approximately      when was that in June of 19 86 ?

21 A.        Approximately      two week s later , on June 26 .

22 Q.        What was your reason       for return ing to that

23 residence    on June 26 of 19 86 ?

24           MR. MONTEMARANO :      Objection    to the    hearsay .

25           THE COURT:       I don't know    if it 's going to elicit




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 1 a hearsay    response    or not .

 2           BY MS. JOHNSTON:

 3 Q.        For what purpose       did you go there on June 26 ,

 4 19 86 ?

 5 A.        I got a complaint       that Reds was --

 6           THE COURT:       No , no , no .

 7           MR. MONTEMARANO :       Objection .

 8           THE COURT:       Sustained .

 9           BY MS. JOHNSTON:

10 Q.        Based upon the information           you received , what

11 did you do on June --

12 A.        Executed   another     search     warrant   on the premises ,

13 ma'am .

14 Q.        Did that search       warrant , was that sign ed by a

15 judge in the District of          Columbia ?

16 A.        Yes , it was .

17 Q.        Where did you execute          that search    warrant ?

18 A.        5408 Eighth Street , Northeast.

19 Q.        The same address       you had been at two week s --

20 approximately     two week s earlier ?

21 A.        That 's correct .

22 Q.        Who was present       in the residence       when you went

23 there to execute       the second     search    warrant ?

24 A.        Ms. Martin , along with other people .

25 Q.        What was seize d from the residence            when you




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 1 return ed there on June 26 of 19 86 ?

 2 A.         A white powder    substance    field tested    for

 3 cocaine , also some cash , and then a .25 Caliber            handgun

 4 I remember .

 5 Q.         If you could de scribe   for -- look ing at your

 6 report s, if you could de scribe         for us the quantity        of

 7 cocaine    that was re covered    as well as -- and how it was

 8 package d.

 9 A.         There was 39 bag s contain ing a white powder

10 sub stance.     There was one    large bag contain ing a white

11 powdered     substance   along with three add itional       bag s

12 contain ing a white powder       substance .

13 Q.         Was there -- based on your train ing and

14 experience , was there any significance          to the drug s

15 being package d in many small er plastic         bag s?

16 A.         Well , the small er bag s are sold for small er

17 amount ; the larger      bag s are definite ly sold for more

18 money .

19 Q.         Based on your train ing and experience , were

20 those quantiti es for personal       use or for distribution ?

21 A.         Distribution .

22 Q.         On June 26 , was Ms. Martin      also arrested       at that

23 time ?

24 A.         Yes , she was .

25 Q.         Did she , at that time , make any statement s




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 1 concern ing the incident ?

 2 A.         Yes , I think she did .

 3 Q.         Well , in that regard , when you executed         that

 4 warrant , I've asked you about the quantity           of drug s.

 5 What about the amount       of money that was seize d on June

 6 26 of 19 86 ?

 7 A.         $75 and $97 re covered     that day , also $4,516 ,

 8 three different      amount s.

 9 Q.         What , if anything , did Ms. Martin      say in

10 reference     to the --

11 A.         She said that her ex-husband      had a key to the

12 premises     and maybe the stuff belong s to him .

13 Q.         That statement .      Was that made on the first time

14 you were there or the second , if you could re view your

15 report s?

16 A.         I think it 's the second     time we was there .

17 Q.         Would you re view your report s and make sure on

18 which date she made that statement ?

19 A.         That statement      was made the first time .

20 Q.         And that would have been on June 10th ?

21 A.         Yes , it was .

22 Q.         And then call ing your attention      to the second

23 incident     on June 26 of 19 86 .     First of all , on June 26

24 of 19 86 , were any drug s re covered      from her person ?

25 A.         Yes , there was .




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1 Q.         Approximately      how many of the plastic         bags were

2 re covered    from her person ?

3 A.         There were three plastic       bag s re covered      from

4 in side her blouse       pocket .

5 Q.         On that occasion , did she make any statement s?

6 A.         Yes , she did .

7 Q.         What was the statement s she made on the second

8 incident ?

9 A.         She said the money she collect ed from a show

10 that she had or something          like that .

11 Q.        In that regard , did Ms. Martin          provide    you with

12 information       concern ing her employ ment back in 19 86 ?

13 A.        Yes , she did .

14 Q.        Okay .    What information    did she provide        you with

15 regard    to her employ ment in 19 86 ?

16 A.        She said she own ed or work ed at an Art s School

17 call ed Paula 's School of Art or something            like that .

18 Q.        What address      did she provide      you for that

19 business , Paulette 's School of Art ?

20 A.        South Dakota      Avenue , Northeast .     5549 South

21 Dakota    Avenue , North east .

22 Q.        Do you have a report       in front of you that would

23 refresh    your recollection       concern ing the exact address ?

24 A.        Yes .

25 Q.        Would you re view that report ?




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1 A.         The address        of the location     of the school ?

2 Q.         The exact name that she gave you of the school

3 as well as its address .

4 A.         Okay .    It says , Paul ette 's School of Art .

5 Q.         And the address        that she provided       for that

6 school ?

7 A.         5559 South Dakota        Avenue , Northeast,      Washington .

8 Q.         Was Ms. Martin        indict ed ?

9 A.         Beg your pardon ?

10 Q.        Was Ms. Martin        indict ed and charge d with those

11 two offense s in a single          case ?

12 A.        Yes , she was , ma'am .

13 Q.        I want to show you what's            been mark ed as

14 Miscellaneous       12 .     Do you recognize     this document ?

15 A.        Yes , I do , ma'am .

16 Q.        What is that document ?

17 A.        United    States     Cou rt Dis position     for a person , in

18 particular    Ms. Paulette        Martin .

19 Q.        Does it indicate        whether     or not   Ms. Martin   pled

20 guilty

21 A.        Yes , it does .

22 Q.        What does it indicate ?

23 A.        That she pled guilty         to possession      with intent

24 to distribute       a controlled     sub stance , 21 -U.S. C. 8141 -B

25 on June 10th       19 86 .




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 1 Q.        Is that the same date that you executed            the

 2 first search       warrant ?

 3 A.        Yes , it is .

 4           MS . JOHNSTON:       Court's indulgence.

 5           I have nothing       further , Your Honor .

 6                            CROSS-EXAMINATION

 7           MR. MONTEMARANO:

 8 Q.        Good afternoon , Mr. Roberts .

 9 A.        How you do ing , sir ?

10 Q.        Your current      position ?   What rank do you go by ?

11 A.        Officer .

12 Q.        Officer .     So I can call you officer ?

13 A.        Sure .

14 Q.        Thank you .

15           Ms. Johnston      asked you about the amount       of drug s

16 seize d in the first search ; correct , sir ?           Remember

17 that question ?

18 A.        Yes , she did .

19 Q.        You didn't      give us an amount .    You told us --

20 you said it was a street          value of $100, 000 ; is that

21 correct , sir ?

22 A.        I gave you how many bag s that were re covered

23 also .

24 Q.        What was the amount , like weight ?           That 's how we

25 usually   measure     drug s; isn't it ?




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1 A.        Not how we , but how DEAs might handle          it .        No,

2 we go by the bag s, send it to DEA, and they do the

3 rest .

4 Q.        I'm sorry ?

5 A.        On the DEA form , they do have the weight              on

6 here .

7 Q.        Okay .   Why don't you tell us how much in the

8 weigh t of drug s was seize d?

9 A.        Okay .   One of them says 39 .969 grams , six grams

10 found , one say s 2,2144 ounce s, eight ounce s, one says

11 36 ,18 3.9 grams , and the last says rock form was 5985 .5

12 gram s in four plastic     bag s.

13 Q.       Is that for June 10th ?

14 A.       This one is --

15 Q.       That 's June 27 ; isn't it ?

16 A.       I'm sorry,     that would be the second      arrest .

17 Let 's go to the first one .

18 A.       Sorry about that .

19 Q.       That 's quite all right .

20 A.       Okay .   On this one on June 10th , the weight               is

21 not listed   here on June 10th .

22 Q.       You have the same document s I do .         I'm going to

23 invite   your attention    to this one document.         You have

24 one that look s like that ?

25 A.       Let me see .     No, sir , I don't have     that .      No,




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 1 sir .    At this time , I do not have that .

 2 Q.         Okay .    I'll tell you what, Ms. Johnston , this --

 3 you guy s gave me this .           Ms. Johnston     has given me an

 4 extra copy .

 5 A.         Okay .

 6 Q.         And she gave this to me , so you would agree this

 7 look s like the kind of document s you guy s use d to

 8 generate     when you made drug arrest s back when you

 9 work ed for the MPD; correct ?

10 A.         From the    DEA , yes.

11 Q.         Okay.     And so we're clear,       this is 19 86 .     This

12 would be approximately            20 year s ago ?

13 A.         Yes .

14 Q.         So as we sit here today , you probably            have no

15 in dependent       recollection     of the events,     you have to

16 look at the document s to recall            the weight s and

17 amount s?

18 A.         Definitely.

19 Q.         You did a lot of search         warrant s when you      work ed

20 for the MPD?

21 A.         Yes , I did .

22 Q.         So keep ing them all separate            and apart without     a

23 little    assistance     isn't very easy ; right ?

24 A.         We only use a search         warrant     when you're   going

25 to court or something         like that .




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1 Q.       How many search        warrant s do you suppose       you

2 execute d during         your time with the MPD?

3 A.       Other 1,000 search        warrant s.

4 Q.       Looking at the piece of paper that           Ms. Johnston

5 provided to give         to you, let's talk about the weights

6 of the   amount s of drug s.

7 A.       Okay .

8 Q.       Bag A or Sec tion A.           That talk s about how much

9 in way of drug s?

10 A.      Right .     The net weight       and the weight     after .

11 Q.      Well , why don't we talk about the weight              after .

12 A.      Okay .    It says 88000 .235 millimeter s, whatever

13 that stands     for .

14 Q.      That 's with packaging ?

15 A.      Ziploc    bag , that 's correct .

16 Q.      The net weight        would be the actual    drug s;

17 correct ?

18 A.      Yes .

19 Q.      That 's why that number          is less; right ?

20 A.      I don't do these calculation s here .

21 Q.      Net weight        was what ?

22 A.      The net weight        was 75 ,572 .2 milligram s.

23 Q.      Okay .    And translate d into grams , that would be

24 75 grams , give or take , right ?

25 A.      Once again , I don't do the calculation s, sir .




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 1 Q.        We'll use the number s that we have here .           75 ,572

 2 milligram s.       1000 grams , you divide    by 1000, and it

 3 would be about 75 grams , 76 grams ; right ?

 4 A.        I'm not a chemist , sir .       I don't know    what it

 5 is .

 6 Q.        How about B?      What was the net there ?

 7 A.        B says 15 ,964 .9 milli liters .     That 's net .

 8 Q.        Okay .    And how about C?

 9 A.        64 ,468 .9 mill iliter s.

10 Q.        How about D?

11 A.        We have after weight , but not a net weight .

12 Q.        That would be because ?

13 A.        I have no idea .     I don't do this .

14 Q.        Why don't you look at the second         column ?

15 A.        Oh , that 's jus t the bag s, plastic     bag s,

16 paraphernalia .

17 Q.        No drug s?

18 A.        Paraphernalia , no .

19 Q.        An d then E?

20 A.        The net weight     was 7,36 2.8 milligram s, and the

21 after weight       is 13 ,294.9 milligrams.

22 Q.        I'm going to ask you        to ass ume for the sake of

23 discussion     that these number s all represent         the grams

24 dividi ng by 1000 .      We have 75 and a half , and about 16 ,

25 right ?   You're     going to give me , what , 91 add ing those




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 1 together ?

 2           MS. JOHNSTON:      Objection , Your Honor .

 3           May we approach ?

 4           THE COURT:     Yeah .

 5                   (At the bar of the court .)

 6           MS. JOHNSTON:      This witness    has testifi ed he

 7 does n't know what that net weight          is and counsel      --

 8 what counsel      is using is the net weight , which is a

 9 calculation      based upon the percentage       and purity .        The

10 weight    --

11           MR. MONTEMARANO :       Th at 's not what he said it

12 was .    I asked him and he agreed .

13           MS. JOHNSTON:      If the Court look s at it , the

14 Court will see the weight          after testing   corresponds        to

15 the weight      found after the testing , and that weight             is

16 based upon the purity        analysis .    So , what counsel     --

17 first of all , this witness         can't really   say that whose

18 represent , but I have sort of let it go , and my look ing

19 at those figure s is what he is using is not the correct

20 figure s.      But because   the net weight    is the purity         of

21 the cocaine      in each content , not the weight       of the

22 substance      that was tested .     Otherwise , you would n't

23 have a weight      after testing     being high er .   As the Court

24 can see in look ing at the weight          after is high er than

25 the net weight .       The net weight     is not the weight      of




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 1 the drug s less the packaging .

 2           THE COURT:     It look s like she 's right , Mr.

 3 Montemarano .

 4           MR. MONTEMARANO :     Without    a calculat or , Your

 5 Honor .

 6           THE COURT:     I did the math in my mind .         She 's

 7 correct .

 8           MR. MONTEMARANO :     Your Honor , I hate to say that

 9 she 's probably     right , but she may be , but I don't wish

10 this to sound quite as testy as it does , but I don't

11 think it 's Ms. Johnston 's place to testify .            I asked

12 the witness     what this meant .      He agreed with me .      She

13 should n't have agreed that 's his problem .           Let me

14 fin ish my cross .     She can certain ly re ha bilitate .        If

15 he doesn't     know , he does n't know , but I hope she won't

16 be lead ing him .

17           THE COURT:     I don't want you to mis lead him .

18           MR. MONTEMARANO :     I would presume .      I don't know

19 what this mean s.

20           MS. JOHNSTON:      Neither   does the witness .

21           THE COURT:     All right .    Well --

22           MS. JOHNSTON:      Other than he agreed with him

23 that it     says net weight , so there is not a foundation

24 for him to interpret       these figure s, and so I'm

25 object ing to any further       question    of th is witness    based




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 1 upon these figure s.

 2            THE COURT:    How much more do you plan to go ?

 3 You've    already    got him to concede       something    that he

 4 was n't suppose d to concede .

 5            MR. MONTEMARANO :      I will    use the other column

 6 and we'll add up these number s.

 7            MS. JOHNSTON:       The weight    after testing ?

 8            THE COURT:    The weight    after .    The weight        after

 9 is what you ought to be using .

10            MR. MONTEMARANO :      Then that 's what I'l l use .

11 That 's perfect ly fine .

12            THE COURT:    Okay .    Thank you .

13                     (Back in open court .)

14            BY MR. MONTEMARANO :

15 Q.         Officer   Rob erts, let 's try this again .         Ms.

16 Johnston    has pointed    out we're using the wrong column

17 weight    after the weight      that was seize d, the net weight

18 is talk ing about the actual         weight    of drug s when

19 related    to the purity    of the total amount          seize d.

20 Let 's talk about the total amount            seize d.    The first

21 one 's 88 ,023 ?

22 A.         That 's correct .

23 Q.         That was A; B is 18 ,09 2; correct ?

24 A.         That 's correct .

25 Q.         These are all milligram s again ?




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1 A.       Correct .

2 Q.       C is 8,761 ?

3 A.       Yes .

4 Q.       D is still no drug s.       Right ?

5 A.       That 's correct .

6 Q.       And E, 13 ,29 4?

7 A.       That 's correct .

8 Q.       These are all milligram s; correct ?

9 A.       That 's correct .

10 Q.      So let 's add up our mill igrams        here .   88 and 18 ,

11 want to call that 106 for the sake of discussion ?

12 A.      If you want to .

13 Q.      And about another      nine ?   115 ?

14 A.      Okay .

15 Q.      And another     13 .128 ?

16 A.      Okay .

17 Q.      You were in narcotic s enforcement          for how long ,

18 if you recall ?

19 A.      Work ing vice and stuff , approximately          six year s.

20 Q.      Okay .    How many grams are in an ounce ?

21 A.      Beg your pardon ?

22 Q.      How many grams are in an ounce ?

23 A.      Thirty-two     grams in an ounce ?

24 Q.      Twenty-eight ?

25 A.      Twenty-eight,      well , whatever .




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1 Q.        For the sake of discussion , call that four

2 ounce s, 128 grams , if that 's 128 g rams ?         Does that work

3 for you ?

4 A.        Like I said , I'm not a chemist , sir .         I'm try ing

5 to answer    the questions      best I can .

6 Q.        If it were four ounce s, for the sake of

7 discussion , what's     the street    value of four ounce s of

8 cocaine ?

9 A.        That all depends      on the purity    of it , sir .

10 Q.       In your year s of en forci ng narcotic s law s in the

11 United   States   of America    and the District of      Columbia ,

12 was there ever a time when you found cocaine             to sell

13 for $25,000   an ounce ?

14 A.       Not in my tenure , no .

15 Q.       Did you fill out an Affidavit         related   to this

16 case , or a criminal     Complaint , a Statement      of Fact s?

17 Do you have a Statement        of Fact s there ?

18 A.       On June 10th ?     Yes .

19 Q.       The last line , the last sentence , can you tell

20 us what it says ?

21 A.       It says street     value of the drug s is $100,000 .

22 Q.       And right underneath       that is what ?

23 A.       My name .

24 Q.       Your signature ; correct , sir ?

25 A.       That is correct .




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 1 Q.         What 's it say right underneath          that ?

 2 A.         Sworn before     me and as cribe d in presence , June

 3 11 , 19 86 , June 10th .

 4 Q.         Be low that is what ?

 5 A.         A U.S. Magistrate 's name .

 6 Q.         You told a U.S. Magistrate         under oath under

 7 penalty     of perjury     that four ounces     of cocaine   has a

 8 street     value of $100,000 ?

 9 A.         That amount     came from the Moor e' s Division       of

10 Narcotic s.     That 's where our we get our estimate s from ,

11 sir .

12 Q.         You didn't     tell a U.S. Magistrate       that it was

13 worth $100,000 ?

14 A.         According     to this , yes .

15 Q.         That 's what I thought .        How many people   were in

16 the house when you search ed it on the 10 th of June ?

17 A.         Several     people .

18 Q.         Several ?

19 A.         Several .

20 Q.         Several     mean s different    thing s to different

21 people .     Can you give me a number , sir ?

22 A.         Several     people .   More than two .     More than that .

23 Q.         Five ?

24 A.         Approximately     five , could have been .

25 Q.         And the drug s were locate d be hind the sofa ;




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 1 correct ?

 2 A.         The drug s were locate d all over the house , sir .

 3 Q.         Be hind a so fa, underneath      a chair ?     Underneath    a

 4 cushion ?

 5 A.         Sofa cushion , that 's what it       says , yes .

 6 Q.         Okay .   And the second      time you search ed the

 7 premises , how many people        were there ?

 8 A.         I don't know     the exact number .     More than one

 9 and more than two .

10 Q.         Four or five again ?

11 A.         Possible .

12 Q.         A lot of other people        there , too .   They were all

13 arrested     as well , too ; correct ?

14 A.         No, sir , I never said that .

15 Q.         Was anybody     arrested ?

16 A.         Yes, sir .

17 Q.         Be sides Ms. Martin ?

18 A.         Not to my knowledge , no .

19 Q.         You bust a house , there 's drug s everywhere         in

20 separate     package s, you arrested       one person ?

21 A.         That is correct .

22            MR. MONTEMARANO :     Pass the witness , Your Honor .

23            MR. MARTIN:      Mr. Goodwin    has no question s for

24 this witness , Your Honor .

25            MR. HALL:      No question s, Your Honor .




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 1          MR. MITCHELL:       No , thank you .

 2          MR. WARD:     No question s, Your Honor .        Thank you .

 3          THE COURT:      Anyone    else ?   All right .   Redirect ?

 4          MS. JOHNSTON:       Just a few question s.

 5                        REDIRECT EXAMINATION

 6          BY MS. JOHNSTON:

 7 Q.       Detective    Robert s, who was the one person          who

 8 was present    on both times you went in the house ?

 9 A.       The person    that was present       was Ms .- --

10          MR. MONTEMARANO:         Objection , Your Honor , on

11 basis of knowledge .

12          Can we approach ?

13          MS. JOHNSTON:       I'll re phrase     my question .    I

14 don't think    it 's necessary .

15          BY MS. JOHNSTON:

16 Q.       On the two occasion s when you went into that

17 house on June 10th      and June 26 of 19 86 to execute         the

18 search   warrant , who was the person         that you found there

19 on both of those occasion s?

20          MR. MONTEMARANO:         Objection , Your Honor , basis

21 for knowledge .      Can we approach ?

22          BY MS. JOHNSTON:

23 Q.       Were you present      when you execute d the search

24 warrant s on both of those day s?

25 A.       I certain ly was .




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 1 Q.         Do you see the person         you identified   here in the

 2 courtroom     as the woman you knew then as          Paulette

 3 Murphy ?

 4 A.         Yes , I do .

 5 Q.         Was she present        on those two occasion s, June

 6 10th and June 26 , when you execute d the search            warrant

 7 at the residence ?

 8 A.         On both day s, that 's correct .

 9 Q.         On the second     occasion , where was cocaine

10 re move d from ?

11 A.         On the second     one ?     Some re move d from her

12 person .

13 Q.         In deed , counsel      was asking   you about street

14 value .     Do you sell the drug s -- how do you calculate              a

15 street     value ?

16 A.         What we do , they get the drug s to cut them up

17 mor e.

18            MR. MONTEMARANO :         Objection , Your Honor .    He's

19 already     state d he didn't      calculate   it in his answer .

20 Can we approach ?

21            THE COURT:     He can say how , in general       term s,

22 one calculate s value s.

23            BY MS. JOHNSTON:

24 Q.         What was the proced ure or process         you use d to

25 calculate     street    value ?




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 1 A.         The procedure     in the 4th      District , all drug s you

 2 get , you combine       them and you call Moor e's Division .

 3 They got a --

 4            THE COURT:      I don't want you to tell us what

 5 somebody     told .    You just answer      the question    with

 6 regard    to how you general ly come up with          a value , not

 7 what you did in this case .

 8            THE WITNESS:      Based on my knowledge .        That 's

 9 all .

10            BY MS. JOHNSTON:

11 Q.         Okay .     Do you use some reference      materials     as

12 well ?

13 A.         That 's correct .

14 Q.         In addition     to that , you mention ed the purity          of

15 the drug s.

16 A.         That 's correct .

17 Q.         Is that something      that you calculate d or the

18 chemist    does ?

19 A.         Chemist     calculate s that .

20 Q.         What effect     does purity      of the drug have on

21 whether    or not you can cut it or expand           the amount    of

22 drug s you have ?

23 A.         The purity     in crease s the value of the street

24 value of the drug s itself .

25 Q.         In regards     to that June 10th      incident   for which




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 1 counsel    put up the figure s on the board , is that the

 2 charge    that Ms. Martin     pled guilty     to ?

 3 A.        That is correct .

 4           MS. JOHNSTON:      I have nothing      further .

 5                         RECROSS EXAMINATION

 6           BY MR. MONTEMARANO :

 7 Q.        With regard     to the June 26 seizure .         She didn't

 8 plead guilty       to that ; did she ?

 9 A.        Not to my knowledge , sir .

10 Q.        Okay .    And Ms. Johnston      asked you several     time s

11 in this question       now , was Ms. Martin      present   on both

12 times .    She 's not allow ed to lead , but I'll lead .          She

13 was sitting    there both times;         was n't she ?

14 A.        She was there both time s, yes .

15 Q.        Fine .    You said you don't know how many people

16 were there the first time ; correct ?

17 A.        True .

18 Q.        You don't know how many people             were there the

19 second    time ; correct ?

20 A.        True .

21 Q.        You don't know the name s of the people            who were

22 there the first time ; correct ?

23 A.        Yes, I do.

24 Q.        All the names?

25 A.        I don't know all the names, but we sent




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 1 subpoenas to them, yes, sir.

 2 Q.         You don't know name s of the          people    who were

 3 there the second         time ?

 4 A.         No , I don't .

 5 Q.         You can't tell us sitting           here today whether       or

 6 not anybody      was there , other than Ms. Martin , on the

 7 10 th and the 26th ; correct , sir ?

 8 A.         I can only tell you Ms. Martin            was there

 9 personally .

10 Q.         But you can't tell us if anybody            else would have

11 been there ?         For all you know , it was       same people      both

12 time s; correct ?

13 A.         No, sir , it was n't the same people .            It was the

14 same subpoena s out because            I delivered    subpoena s

15 myself .

16 Q.         Subpoena s?

17 A.         Subpoena s, yes .

18 Q.         You search ed the premises          on the 26 th based on a

19 subpoena ?

20 A.         A search     warrant .     Yes , there were people       there

21 the first time .         The first time we search ed , there were

22 several     people     there .     The U.S. Attorney      gave me

23 several     subpoena s to se rve those people , to meet with

24 them in court , sir .            I served   the subpoena s to those

25 people     late r.




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 1 Q.         What were their name s?

 2 A.         I don't know , sir .

 3 Q.         So you're    sure it was n't the same people , but

 4 you don't know their name s?

 5 A.         No, sir , I don't know        their name s.

 6 Q.         You don't have it written         down anywhere    with

 7 you ?

 8 A.         No, sir , I do not .

 9 Q.         What were you wear ing that day ?

10 A.         Casual   clothe s, sir .      No problem .

11            MR. MONTEMARANO :      No further    question s.

12            THE COURT:     You may step down , Officer .         Thank

13 you very much .

14            MS. JOHNSTON:       Your Honor , may the officer       be

15 excused?

16            MR. MONTEMARANO :      Yes , Your Honor .

17            THE COURT:     You may be excused .

18                     (Witness   excused    at 3:23 p.m. )

19            MS. GREENBERG:       Your Honor , the next witness ,

20 we'll need to consult          with the Marshals    Service .    I

21 don't know     if the Court want s to take a break .

22            THE COURT:     We will take a 15 -minute        break , and

23 counsel , stay be hind for just one second .             I want to

24 ask you something .

25                     (Jury excused     at 3: 23 p.m. )




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 1          THE COURT:       Counsel , I want ed to talk to you

 2 about tomorrow .      You recall       I told you I had a dentist

 3 appointment    tomorrow    at 8:00.       I have move d it to 7:15 ,

 4 so it 's conceivable      that we could start as early as

 5 8:30 , if you want to try to pick up some time lost .                  I

 6 don't know    if that will cause the jury to pass out or

 7 not , or Mr. Ward to pass out from long travel .

 8          MR. WARD:     Your Honor , I will probably          arrange

 9 to stay over night in Green belt .

10          THE COURT:       We have a very nice attorney

11 conference    room downstairs .         You can stay down there .

12 It has Inter net service        and everything .       You can stay

13 down there in the attorney         lounge .

14          MR. MARTIN:       Your Honor , Mr. Goodwin        want s to

15 know if he can go to the dentist            with you .    He's got a

16 loose cap , and he 's been complain ing about it for the

17 last two day s, and I've told him to try to hold out

18 until the weekend      to see if he could see somebody           at

19 the jail .

20          THE COURT:       All right .     Is anybody     interest ed in

21 try ing to start before       9:00 ?

22          MR . HALL:    Your Honor that provides           me a little

23 bit of a problem      because    I have    to drop my daughter        off

24 at her day camp , but I can call my wife and see if she

25 can do it .    I can't remember         what my wife 's schedule       is




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 1 tomorrow .

 2            THE COURT:     What I'm going to do , I should        be

 3 here very comfortably       for a 9 o'clock      start , and

 4 perhaps    even before .    What I'd like to do is have the

 5 jury in the box at 9 o'clock , so if there are any other

 6 preliminary     issue s I need to deal with tomorrow

 7 morn ing , I will    be here at quarter      of 9:00.     All right ?

 8 So quarter     of 9:00, we will deal with preliminari es .

 9                  (Off the record       at 3:26 p.m. )

10                  (On the    record    at 3:41 p.m. )

11                  (Jury returns       at 3:43 p.m. )

12            MS. GREENBERG:     Your Honor , we next call to the

13 stand Moises     Uriarte , and we have an inter preter         here

14 to assist    Mr. Uriarte    as need ed , but as the Court may

15 recall , he does speak English , just if necessary .

16            THE COURT:     We will first swear the interpreter

17 who will assist      him if he needs it .

18                  (Interpreter     sworn .)

19            THE CLERK:     Please state your name       for the

20 record .

21            INTERPRETER:     Glad ys Segal , federal ly -certifi ed

22 court interpreter .

23            THE CLERK:     Now we have to swear the witness ;

24 right ?

25 Thereupon,




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 1                                 MOISES   URIARTE ,

 2 Having been called as a witness on behalf of               the

 3 Plaintiff , and having been first duly sworn by the

 4 Courtroom Deputy, was examined and testified as

 5 follows:

 6                           DIRECT EXAMINATION

 7            BY MS. GREENBERG:

 8 Q.         Sir , could you state your name           and spell your

 9 last name for the court reporter ?

10 A.         Moises   Uriarte .

11 Q.         Could you spell "Uriarte " for her , please ?

12 A.         U R I A R T E.

13 Q.         What language     is your native     language ?

14 A.         Spanish .

15 Q.         Do you speak English ?

16 A.         Yes , I do , ma'am .

17 Q.         And do you understand         that there 's a translate r

18 here in case you have any difficulty ?

19 A.         Yes, ma'am .

20 Q.         Especially     with the legal part of our language .

21 A.         Yes, ma'am .

22 Q.         So please    call on her if you need help with any

23 question s, okay ?

24 A.         Yes , I will , ma'am .

25 Q.         Now , have you use d any other name s be sides




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1 Moises     Uriarte ?

2 A.         Yes, ma'am .

3 Q.         Could you tell the jury what name s you've           use d?

4 A.         Alex Zapada and Juan Rojas Castro.

5 Q.         Why did you use other name s?

6 A.         Because     I was illegal ly in this country .

7 Q.         Where were you born ?

8 A.         Nicaragua .

9 Q.         When ?

10 A.        January     5th , 19 74 .

11 Q.        And when did you enter into the United          State s?

12 A.        2001 .    It was between    200 1 and 2002 .

13 Q.        When did you come into the United         States ?

14 A.        Oh the first time in 19 86 .

15 Q.        The question      I asked was -- I'll try and go

16 slow er -- when did you enter the United           States ?

17 A.        19 86 .

18 Q.        Did you get de port ed ?

19 A.        Yes, ma'am .

20 Q.        What year did you get de port ed ?

21 A.        19 98 .

22 Q.        And was that prior to your arrest         by us , by the

23 federal    authoriti es here in Maryland ?        You came back to

24 the United     States    prior to your arrest ?

25 A.        Yes , ma'am.




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1 Q.       Where were you arrested        by the federal     court

2 authoriti es ?

3 A.       New York .

4 Q.       What part of New York ?

5 A.       In the Bronx , ma'am .

6 Q.       Where were you living       at that time ?

7 A.       In the Bronx .

8 Q.       How long had it been that you were living             in the

9 Bronx from when you had been de port ed ?          In other words ,

10 how long had you been back in the United            States   before

11 you were arrested ?

12 A.      About two year s, I can say .

13 Q.      And you were here illegal ly ?

14 A.      Yes, ma'am .

15 Q.      Did you receive      any convictions     prior to the

16 time that you were de port ed ?      Had you been convict ed

17 here in the United     States ?

18 A.      Yes, ma'am .

19 Q.      Of what ?

20 A.      Drug felony .

21 Q.      Where was that drug felony ?

22 A.      In New York , ma'am .

23 Q.      And did you go to trial or did you plead guilty ?

24 A.      I plead ed guilty .

25 Q.      And were you arrested       in connection     with our




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 1 case here in Maryland ?

 2 A.        Yes, ma'am .

 3 Q.        Did you reach a plea agreement         with the

 4 government ?

 5 A.        Yes, ma'am .

 6           MS. GREENBERG:      Your Honor , may I approach       the

 7 witness ?

 8           THE COURT:     You may .

 9           BY MS. GREENBERG:

10 Q.        Show ing you what 's been mark ed as Government 's

11 Exhibit     A-3 .

12           Do you recognize     the front page of that exhibit ?

13 A.        Yes, ma'am .

14 Q.        Do recognize    your signature     on this signature

15 page , Page 9?

16 A.        Yes, ma'am , that 's my signature .

17 Q.        Do you recognize     the signature     on Page 11 ?

18 A.        Yes, ma'am , that 's my attorney 's.

19 Q.        What is this document , A-3 ?

20           Do you know what that document         is ?

21 A.        That 's the plea agreement .

22 Q.        Is that what it says here on the first line ?

23 Confirm s the plea agreement ?

24 A.        Yes, ma'am .

25 Q.        And as part of the plea agreement , did you agree




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 1 to cooperate     with law enforcement      authoriti es ?

 2 A.      Yes, ma'am .

 3 Q.      Could you tell this jury what you understand

 4 that cooperation     to mean ?    What do you have to do ?

 5 A.      Just tell the truth , nothing        by but the      truth .

 6 Q.      In response      to whose question s?

 7 A.      Your question s.

 8 Q.      How about when these guy s ask you question s?

 9 A.      Them , too .     To tell the truth .

10 Q.      Is there any difference ?

11 A.      Excuse    me ?

12 Q.      Is there any difference ?

13 A.      No .   Just to tell the truth .

14 Q.      Who decides      what your sentence     will be ?

15 A.      My judge .

16 Q.      Who is that ?

17 A.      Your Honor , Roger Titus .

18 Q.      Any other promise s made to you outside             this plea

19 agreement ?

20 A.      No, ma'am .

21 Q.      In connection      with your activity      in the Bronx in

22 New York , did you meet an individual         by the name of

23 Dog ?

24 A.      Yes, ma'am .

25 Q.      And did you meet somebody         that was known to you




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 1 as Dog 's girlfriend ?

 2 A.         Yes, ma'am .

 3 Q.         How did you meet Dog ?

 4 A.         I met him through         a friend     of mine from

 5 Nicaragua .

 6 Q.         And who is that person ?

 7 A.         Mor azon .

 8 Q.         Is that spell ed M O R A Z O N?

 9 A.         Yes, ma'am .

10 Q.         And how did you know Morazon ?

11 A.         Another      friend    of mine .     I met him over there .

12 Q.         From where ?

13 A.         From Nicaragua , too .

14 Q.         And how did Morazon         know Dog ?

15 A.         I believe      they were in jail in the United          States

16 before .

17 Q.         And why do you believe             that Morazon   and Dog were

18 in jail together ?

19 A.         Because      Morazon    told me .

20 Q.         Did you talk to Morazon             and Dog regard ing any

21 business ?

22 A.         Yes, ma'am .

23 Q.         And what business         did you talk     about ?

24 A.         About drug business .

25 Q.         What kind of drug s?




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 1 A.          Heroin   business .

 2 Q.          And what was the conversation ?          What was the

 3 discussion      about ?

 4 A.          That I would supply       him with heroin , you know ,

 5 once he got , you know , here in New York .

 6 Q.          I'm sorry , I had trouble      understand ing ?

 7 A.          That I would supply       him with heroin    when I met

 8 with Dog .

 9 Q.          And who were you supply ing with heroin ?

10 A.          Dog .

11 Q.          And did Morazon       want to supply    -- to be a part

12 of this ?      Was he involve d?

13 A.          He was back in Nicaragua , so he was n't here in

14 the United      States .

15 Q.          Is that why he didn't       do the business    with Dog ?

16 A.          Exact ly , ma'am .

17 Q.          Now , did Dog state a quantity         that he want ed

18 from you at the first conversation ?

19 A.          At first , said it could be any quantity          he said .

20 Q.          I'm sorry what ?

21 A.          He said any quantity .       He didn't    tell me a

22 specific      what -- how much -- the amount         of what he

23 want ed .

24 Q.          Just so we can get the timi ng right , you were

25 arrested      in April of 2004 ?




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 1 A.        Yes, ma'am .

 2 Q.        How -- approximately       how long before     your arrest

 3 was this conversation        with Dog ?

 4 A.        I can say about a year and a half or two .

 5 Q.        One and half to two year s?

 6 A.        Yes, ma'am .

 7 Q.        Did you get the heroin       for Dog ?

 8 A.        Yes , I did .

 9 Q.        How did you get the heroin        for Dog ?

10 A.        I got it for who or --

11 Q.        From whom ?

12 A.        A guy name d Juan Carlos .

13 Q.        I'm sorry,      what was his name ?

14 A.        From Juan Carlos .

15 Q.        Juan Carlos ?

16 A.        Yes, ma'am .

17 Q.        How did you know Juan Carlos ?

18 A.        Through a     friend   of mine , through    Morazon .

19 Q.        Through   Morazon ?

20 A.        Yes, ma'am .

21 Q.        Where would you meet Juan Carlos           to get the

22 drug s?

23 A.        I would meet him at Toy s R Us in New Jersey            to

24 get it and bring it back to the Bronx .

25 Q.        Toy s R Us in New Jersey , and then bring it back




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1 to the Bronx ?

2 A.         Yes, ma'am .

3 Q.         How would the heroin      be package d?     Would you

4 de scribe    that to the jury ?

5 A.         Yes, ma'am .   Wrap ping paper .

6 Q.         Wrap ping paper ?

7 A.         Yes, ma'am .

8 Q.         How did that start ?

9 A.         Well , it start ed since , you know , he wait ed for

10 me in Toy s R Us, he figure       he went in and bought       a

11 present , so he wrap it up in wrap ping paper and just

12 give it to me like that .

13 Q.        From what store ?

14 A.        Toy s R Us.

15 Q.        Was the heroin      cut before   you got it ?

16 A.        Not that I know of , ma'am .

17 Q.        Would you cut the heroin ?

18 A.        Sometimes .

19 Q.        Could you explain      to the jury how you would

20 package    -- how would it look when you got it into the

21 gift wrap ?    How would the heroin        look ?   Small bag s?

22 Big bag s, in one --

23 A.        Small bag s of 100 grams .

24 Q.        Is when you got it ?

25 A.        No , I got it -- I pack ed it up in small bag s of




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1 100 grams .

2 Q.       We'll start the jury with how it look ed when you

3 got the heroin     from Juan Carlos .          What did it look like

4 in the gift wrap ping ?

5 A.       A whole box of powder .        There was a whole bag ,

6 you know , wrap ped up , powder .

7 Q.       Was it hard ?     Was it soft ?

8 A.       Soft .

9 Q.       Was it in multiple       bag s or one bag ?

10 A.      Sometimes    one bag , two bag s.

11 Q.      Larger   bag s?

12 A.      Yeah .   It depends    on the quantity .

13 Q.      How much would you typically            buy from Morazon ?

14 A.      From Juan Carlos ?

15 Q.      I'm sorry , from Juan Carlos .

16 A.      Sometimes    one or two kilo s, three .        It depends .

17 Q.      Ever less than one kilogram ?

18 A.      Well , when we first start ed and after that , no .

19 Q.      How much did you pay for one kilogram            of heroin ?

20 A.      Fifty thousand , $55,000 .

21 Q.      What would do with the heroin that            you got from

22 Juan Carlos   after you received       it ?

23 A.      I gave it to Dog and to Dog 's girl .

24 Q.      Well , back ing us up , would you keep it in the

25 same contain er or would you change            it ?




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 1 A.         I would change      it .

 2 Q.         Could you tell the jury what you did with the

 3 package     to change   it ?

 4 A.         I wrap ped it up in little         bag s of 100 grams and ,

 5 wrap it up in a gift wrap ping .

 6 Q.         Would you add anything          to it before   you would

 7 wrap it     up ?

 8 A.         Sometimes    I would cut it .

 9 Q.         Could you explain          to the jury what "cut " is ?

10 A.         It start s with an M, but little           soap bar s.

11 Q.         What would you do with those ?

12 A.         Add it up in 100 grams , you know , the little

13 small bag s, add some cut in there .

14            MS. GREENBERG:       Your Honor , may I approach         the

15 witness ?

16            THE COURT:     You may .

17            BY MS. GREENBERG:

18 Q.         Show ing you a portion         of what's   been previous ly

19 put into evidence       as Digger 's Lane 4.

20            Do you recognize      this ?

21 A.         Yeah , that 's the cut that I use d to cut the

22 heroin .

23 Q.         It says Mannitol      on the front ; is that correct ?

24 A.         Yes .   Manito , we call it in Spanish .

25 Q.         Was this the same thing s you use d to cut the




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1 heroin ?

2 A.          Yes, ma'am .

3 Q.          From where did you get this ?

4 A.          I got it from a grocery      store in the Bronx .

5 Q.          I'm sorry , could you repeat      that ?

6 A.          From a grocery    store in the Bronx .

7 Q.          They sell those at a grocery       store ?

8 A.          Yes, ma'am .

9 Q.          And how much of that substance       would you put on

10 the heroin     in term s of ratio ?

11 A.         Depends .   30 grams ?   You know , 40 ?     It depends

12 on the quantity , too .

13 Q.         What would that do with respect        to the drug s

14 that you got ?

15 A.         Add more profit    to the -- up my profit .

16 Q.         If you get a kilogram      for 50 ,000 or $55,000      a

17 kilogram    of heroin , how much would you sell it to Dog

18 or Dog 's girl for ?

19 A.         $60,000 , $65,000 .

20 Q.         Could what you provided      be cut again ?

21 A.         Yes, ma'am , I believe     so .

22 Q.         I'd like to show you what's       been previous ly

23 mark ed into evidence       as Video 22 .    If you could look at

24 that screen , either      that one or the one on your witness

25 stand , and tell me if you recognize          wh at 's de pic ted in




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 1 Video 22 .

 2                  (Video begin s play ing at 3:56 p.m. )

 3          BY MS. GREENBERG:

 4 Q.       Do you recognize      that ?

 5 A.       That 's the furniture      store .

 6 Q.       Whose furniture      store is that ?

 7 A.       My furniture     store .

 8 Q.       Were you work ing there in April of 2004 ?

 9 A.       Yes , I was work ing there .

10 Q.       How would you get the drug s to Dog and his girl

11 that you got from Juan Carlos ?

12 A.       Can you repeat      the question ?

13 Q.       You got drug s from Juan Carlos           and you sold them

14 to either    Dog or his girl .      How would you get the drug s

15 to Dog or his girl ?

16          Ms. Interpreter , the question           is , he got drug s

17 from Juan Carlos      and he provide d the drug s to Juan and

18 -- to Dog and his girl .        How would he get the drug s to

19 Dog and his girl .

20 A.       Use d to take a tax i and just wait for him some

21 place s in New York , like a McDonald's , Burger King , nd

22 give it to them, hand it in to them .

23 Q.       How about the Furniture        Queen ?

24 A.       Yeah , we would do it in the furniture            store .

25 Q.       Who would come to meet you there ?




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1 A.       Dog 's girl .

2 Q.       Did you ever see if she had anyone           with her ?

3 A.       Well , she -- I believe        she did , because    she say

4 I got somebody      wait ing for me .

5 Q.       The day you were arrested , did you have a

6 conversation      with Dog 's girl ?

7 A.       Yes, ma'am .

8 Q.       What was suppose d to happen        on that date ?

9 A.       She call ed me .

10 Q.      To do what ?

11 A.      To do the transaction         for -- I would give her

12 the drug s, she hand me some money .

13 Q.      I'm sorry , what ?

14 A.      I will give her the drug s and she will give me

15 some money .

16 Q.      What kind of drug s?

17 A.      Heroin .

18 Q.      How much did Dog 's girl ask you for ?

19 A.      Well , at the time or before        that ?

20 Q.      Before     she came up , how much did she want ?

21 A.      The most that I had , she said .

22 Q.      Did she give you an amount         that she want ed ?

23 A.      Not really .     She says whatever      you have , you

24 know , I want to get it .

25 Q.      Did you reach an agreement         about how much to




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 1 give her ?

 2 A.        That time , I think it was four       or five kilo s,

 3 but I didn't have       that at the time .

 4 Q.        How much did you have to provide         to her ?

 5 A.        I have three .

 6 Q.        Three what?

 7 A.        Kilo s of heroin .

 8 Q.        Did you give her all three kilogram s of heroin ?

 9 A.        No, ma'am .     I gave her two .   Two and a half , I

10 think .

11 Q.        Why is that ?

12 A.        Because   I had not cut the other one , so I can't

13 want to give it to her .

14 Q.        Did she arrive     on that date , the date you were

15 arrested ?

16 A.        Yes, ma'am .

17 Q.        Did she bring anything      with her ?

18 A.        A box of money .

19 Q.        Just to be clear , that was April 23 , 2004 ?

20 A.        Yes, ma'am .

21 Q.        Did you record     this money in your ledger ?

22 A.        Yes, ma'am .

23 Q.        Show ing on the screen    what's   been pre-marked      as

24 NY-1 .    Could you tell the jury what that is ?

25 A.        That 's the book I kept records       of the money she




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 1 gave me and the drug s that I gave her .

 2 Q.         Were Dog and Dog 's girl your only customers ?

 3 A.         I have more -- one or two more .

 4 Q.         Are records    of their transactions     in this book ?

 5 A.         Yes, ma'am .

 6 Q.         Who was your biggest      customer ?

 7 A.         Dog .

 8 Q.         Let 's start here .   The first entry is January

 9 29 , 200 4, and then it says , 1021 G, an d then a dollar

10 figure .     Could you explain      to the jury what that is ?

11 A.         That is what it says I gave Dog .        And then it

12 says 1,021 grams , that 's a kilo and 21 grams , and the

13 money that he gave me .

14 Q.         This number    up here 44 ,920 .   What does that

15 mean ?     Do you see it right here at the top of the page ?

16 A.         That should    be the amount   that I gave -- the

17 amount     of drug s I gave Dog .     That should   be the amount

18 of money .

19 Q.         Just to be clear , you gave Dog on January         29 ,

20 20 04, 1,021 grams ; is that your testimony ?

21 A.         Yes, ma'am .

22 Q.         How much    did those -- did that 1,021 grams cost

23 Dog ?

24 A.         $61,260 .

25 Q.         And you add ed that to an existing       44 ,920 to get




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1 106 ,18 0?

2 A.          Yes, ma'am .

3 Q.          What is that 44,920 ?         What does that mean ?

4 A.          I believe    that 's another     amount    of drug I gave

5 him .

6 Q.          Did you have deal ings with Dog before           January

7 29 , 2004 ?

8 A.          Yes, ma'am .

9 Q.          For approximately        how long ?

10 A.         I don't remember        exact ly how long , but it was

11 approximately        one year .

12 Q.         Let me ask you this way :         Before    you were

13 arrested     in April 2004 , how long had been delivering

14 heroin    to Dog ?

15 A.         About a year , year and something .

16 Q.         Can you give this jury an estimate            in term s of

17 quantity     between    April of 200 3 and January       29 of 2004

18 how much heroin        you delivered     to Dog or Dog 's girl ?

19 A.         I believe    about 20 kilo s of heroin .

20 Q.         Twenty kilo grams of heroin ?

21 A.         Yes, ma'am .

22 Q.         Between    April of 2004 -- April , 200 3, and

23 January     29th of 2004 ?

24 A.         Yeah , I believe       so .

25 Q.         Is it correct , sir , in this ledger , that you




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 1 record ed the transactions       that you gave either        Dog or

 2 Dog 's girl by date and by amount ?          After -- from

 3 January   29 up un til the date of your arrest ?

 4 A.        Yes, ma'am .

 5 Q.        Just to walk us through       this to get some more

 6 example s.     Dog gave me , 2-4-04, an d a dollar         figure .

 7 What does that mean ?

 8 A.        The day he showed up and he gave me that amount

 9 of money .

10 Q.        And this reference      here , short 2,850 and 40 ,000

11 what does that mean ?       I'm sorry .     Do you see that

12 reference     there , short 2,850 and 40 ,000 ?

13 A.        Yeah , he was short almost       $3,000 .

14 Q.        He was suppose d to give you more ?

15 A.        Yes, ma'am .

16 Q.        And here on February      4th, you provided       1040 G.

17           What does that mean ?

18 A.        A kilo of 40 grams of heroin .

19 Q.        And the $62,400 ?

20 A.        That was the amount      we charge    him .

21 Q.        And these continued      down here with similar

22 notation s?

23 A.        Yes, ma'am .

24 Q.        Have you re view ed this ledger       before ?

25 A.        Yes, ma'am .




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 1 Q.        Does this reflect    -- is it correct        in this

 2 column    here , when you provided     him drug s and this

 3 column    here is the run ning total of what was paid and

 4 what was owed to     you ?

 5 A.        Yes, ma'am .

 6 Q.        Okay .   Now , if we could jump ahead to April 23 ,

 7 2004 .    Is that all your handwriting       that we've seen so

 8 far ?

 9 A.        Yes, ma'am .

10 Q.        What does this mean up at the top ?

11 A.        Dog 's account .   That 's what it       mean s.

12 Q.        In Spanish ?

13 A.        Yes, ma'am .

14 Q.        Now , we have April 23 , 2004 , as the date you

15 were arrested ?

16 A.        Yes, ma'am .

17 Q.        Okay .   You have here she owe d me .        You have her

18 I gave her , she owe d me .     Who are you referring        to

19 there ?

20 A.        Dog 's girl .

21 Q.        Do you know her name ?

22 A.        Now I know it .    Gwendolyn    Levi .

23 Q.        And here it 's got a reference       for 4-23-2004 ,

24 $220,600,    your balance.     Is that how much they owe d

25 you ?




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 1 A.       Yes, ma'am .

 2 Q.       And do you see that part , it says , I gave you

 3 April 23 , 2004 , 2300 ?

 4 A.       I gave her two kilo s and 300 grams .

 5 Q.       2.3 ?

 6 A.       Yes, ma'am .

 7 Q.       2300 grams for how much ?

 8 A.       $138,000 .

 9 Q.       For a total balance         of ?     Can you see that there ?

10 A.       $358,600 .

11 Q.       And you have different             calculation s here , and

12 down here at the bottom , there 's a reference              to

13 26 1,500.    What does that reflect ?

14 A.       She gave me 26 1,5 00 .

15 Q.       How did she give you $261,500 ?

16 A.       In the box she gave me that day .

17          MS. GREENBERG:       Your Honor , if I may approach ?

18          THE COURT:      You may .

19          BY MS. GREENBERG:

20 Q.       Show ing you what 's been mark ed as NY-4 .             Does

21 that appear      to be the box similar          to the box that you

22 got from Ms. Levi ?

23 A.       Yes, ma'am .

24 Q.       And this number      that was written         on it .

25 A.       Yeah .    That 's the amount         of money that was




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 1 suppose d to be there .

 2 Q.         26 1,500 ?

 3 A.         Yes, ma'am .

 4 Q.         Did you have an opportunity        to count that money ?

 5 A.         No, ma'am .

 6 Q.         Show ing you what 's been mark ed as Levi -8, do you

 7 recognize     that wrap ping paper ?

 8 A.         That 's the    wrap ping paper I give to her .

 9 Q.         I'm sorry .     What is this wrap ping paper ?

10 A.         I will give her the heroin .        I will   wrap it up

11 like that .

12 Q.         Is this the wrap ping paper you use d on April 23 ,

13 2004 ?

14 A.         Yes, ma'am .

15 Q.         "Over the hill ?"

16 A.         Yes, ma'am .

17 Q.         Show ing you what has been mark ed as Drug s-2,

18 although     these have certain       black mark ings on that ,

19 does that appear         similar   to the baggi es you use d to

20 wrap the heroin ?

21 A.         Yes, ma'am .

22 Q.         And is this similar       in size and substance    to

23 what you provided         to Dog 's girl that date ?

24 A.         Yes, ma'am .

25 Q.         Now , why didn't    you sell Gwen the addition al




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 1 amount    that was in your furniture          store ?    Why didn't

 2 you sell her the add itional         heroin    that was in your

 3 furniture    store ?

 4 A.        Because   I didn't have     the chance        to cut that

 5 one .

 6 Q.        Where did you cut your drug s?

 7 A.        I use d to rent room s and cut it in there .

 8 Q.        Where would you get room s?

 9 A.        Like house s, rent a room house s.

10           MS. GREENBERG:      Your Honor , if I may approach

11 again .

12           THE COURT:     You may .

13           BY MS. GREENBERG:

14 Q.        Could you tell the jury what NY-3 is ?

15 A.        That 's the phone that I was using to call Dog 's

16 girl .

17 Q.        Have you re view ed this phone and saw Dog and

18 Dog 's girl on your phone ?

19 A.        Yes, ma'am .

20 Q.        And NY-2 , what is that ?

21 A.        That 's the scale that I use d to make the 100

22 grams bag s.

23 Q.        I'm sorry , it was use d to what ?

24 A.        To pack up the small little          bag s, 100 gram s.

25 Q.        Is this scale capable       of weigh ing 100 gram




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1 quantiti es ?

2 A.       Yes, ma'am .

3 Q.       Where was this scale kept by you ?

4 A.       I had it in the store that day .

5 Q.       I'm sorry ?

6 A.       I had it in the store that day I got arrested .

7 Q.       In the Furniture       Queen store ?

8 A.       Yes, ma'am .

9 Q.       Now , did you estimate , based on your ledger , how

10 much drug s you sold to Gwen and Dog between           January    of

11 200 4 and when you were arrested          on April 23 , 2004 ?

12 A.      Almost   20 kilo s of heroin .

13 Q.      Of heroin ?

14 A.      Yes, ma'am .

15 Q.      And did anyone      work for you to cut the drug s?

16 A.      No .   I did it myself .

17 Q.      Why not ?

18 A.      I trusted     myself   better .

19 Q.      You didn't     trust anybody      else ?

20 A.      No, ma'am .

21 Q.      Did anyone     re package   the drug s for you ?

22 A.      I did it .

23 Q.      Base d on your conversation s with Dog and Gwen ,

24 did you know what they were do ing with the drug s?

25 A.      I believe     they were sell ing it .




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 1 Q.      Where ?

 2 A.      Down here , Maryland , Baltimore .

 3 Q.      Do you know who they sold it to ?

 4 A.      No, ma'am .

 5 Q.      Do you know if they cut it or someone            else did ?

 6 A.      They did cut it .

 7 Q.      How do you know that ?

 8 A.      Because    they asked me for some cut one day so I

 9 believe d there was cut in it .

10 Q.      What kind of cut did you give them ?

11 A.      The same one you just show ed me , man it o.

12 Q.      Just so the record       is clear , what I show ed you

13 before , NY-4 ?

14 A.      Yes, ma'am .

15 Q.      You provided      them box es just like this ?

16 A.      Yes, ma'am .

17 Q.      Did you tell them where you got it ?

18 A.      No .

19 Q.      How many of these little        soap -size Mannitol

20 (sic) did you give them ?

21 A.      About 15 , 20 .

22 Q.      About 15 or 20 ?

23 A.      Yes, ma'am .

24 Q.      Do you know after they cut the drug s what they

25 did with the drug s?




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 1 A.        They were sell ing it .

 2 Q.        Do you know who they sold them to ?

 3 A.        No, ma'am .

 4 Q.        Do you know any of the people            that were

 5 customers    or buyers    from them ?

 6 A.        No, ma'am .

 7 Q.        Have you ever met anybody        else associate d with

 8 their heroin     conspiracy ?

 9 A.        No, ma'am .

10 Q.        Do you recognize      any of the people           sitting   here

11 in the courtroom ?

12           MR. MITCHELL:      Objection .

13           Can we approach ?

14                    (At the bar of the Court.)

15           THE COURT:     Your objection     is ?

16           MR. MITCHELL:      There is a report        where Mr.

17 Uriarte   is shown a bunch of photos,         a number        of photo s

18 in which he recognize s people          because    he was lock ed up

19 with them , one of which is my client , and I believe                  --

20           MS. GREENBERG:      I'm just say ing do you recognize

21 any of these people       prior to April 2004 .

22           MR. MITCHELL:      No .   You said , do you recognize

23 any of the people .

24           MS. GREENBERG:      I will re phrase       it .

25           MR. HALL:     My client    was lock ed up with him ,




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 1 too .

 2          MR. MITCHELL:       I think the question       is

 3 objectionable     because   it leave s it open to where .

 4          THE COURT:      Prior to your arrest       in this case ,

 5 were you acquainted       with any of the person s in this

 6 courtroom ?

 7            MR . MITCHELL:      That will be fine .      Thank you .

 8                        (B ack in open court .)

 9          BY MS. GREENBERG:

10 Q.       Just to clarify , Mr. Uriarte .

11 A.       Yes, ma'am .

12 Q.       Prior to your arrest       in April of 2004 , had you

13 had any occasion      to meet any of the people        that you see

14 here in this courtroom ?

15 A.       Yes, ma'am .

16 Q.       Prior to your arrest       in April , 2004 ?

17 A.       No, ma'am .

18 Q.       Had you had any occasion        to meet anybody      that

19 work ed with or dealt with       Gwen or    Dog?

20 A.       No, ma'am .

21 Q.       Just to be clear , we're talk ing about the amount

22 of drug s from when you first met Dog until the time

23 that you start ed keep ing a ledger , approximately            how

24 many drug s, kilogram s of heroin , had you provided            to

25 him ?




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 1 A.         It was more than 20 .        I don't know   the exact

 2 amount .

 3 Q.         Between    January   of 200 4 and the time you were

 4 arrested    in April of 2004 , all of those amount s are

 5 record ed here ; is that correct ?

 6 A.         Yes, ma'am .

 7 Q.         In the middle     column   where we see , for example ,

 8 2.225 and 2.300 .        That 's all record ed in your ledger ;

 9 is that correct ?

10 A.         Yes, ma'am .

11 Q.         Could you give the jury an approximate          amount ,

12 in case they don't want to add up the number s, between

13 January    of 200 4 and April of 2004 in addition          to what

14 you just said what you dealt to Dog and Gwen ?

15 A.         Twenty    kilo s of heroin .

16 Q.         Approximately ?

17 A.         Yes, ma'am .

18            MS. GREENBERG:       No further   question s, Your

19 Honor .

20            THE COURT:     Cross-examination    ?

21            MR. MONTEMARANO:       Court 's indulgence    for a

22 moment , Your Honor .

23            THE COURT:     All right .

24                           CROSS-EXAMINATION

25            BY MR. MONTEMARANO :




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1 Q.       Good afternoon , Mr. Uriarte .         How are you ?

2 A.       How you do ing , sir ?

3 Q.       Let me see if I can get this straight .             You came

4 to this country       illegal ly ; correct ?

5 A.       Yes, sir .

6 Q.       Start ed deal ing drug s?

7 A.       Yes, sir .

8 Q.       Got convict ed ; correct ?

9 A.       Excuse     me ?

10 Q.      Got convict ed ?

11 A.      In this charge ?

12 Q.      In New York ?

13 A.      Yes .     For the first time .

14 Q.      About 19 98 ?

15 A.      19 97 .

16 Q.      '97 ?

17 A.      Yes .

18 Q.      What was the sentence       you received ?

19 A.      Three to life , I think , I believe         it was .

20 Q.      Three to ?

21 A.      Life .

22 Q.      Three to life ?

23 A.      Yes .

24 Q.      Three year s to life ?

25 A.      Three year s to life .




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 1 Q.        So you're    still on parole     or probation ?

 2 A.        I got de port ed , so I don't know      how that work ed .

 3 Q.        You then came back to the U.S .?

 4 A.        Yes, sir .

 5 Q.        That 's the second    time you entered      illegal ly ;

 6 correct ?

 7 A.        Second time , sir .

 8 Q.        And start ed deal ing drug s again ?

 9 A.        Yes, sir .

10 Q.        You just told Ms. Greenberg , in response            to her

11 question , you thought      you sold about 20 , 2-0?

12 A.        Yes, sir .

13 Q.        Kilogram s of heroin     to Gwen and Dog ; correct ?

14 A.        Yes, sir .

15 Q.        Do you remember     testify ing here in this court --

16           MS. GREENBERG:      Your Honor , may we approach ?

17                    (At the bar of the Court.)

18           MS. GREENBERG:      Your Honor .

19           THE COURT:     Wait until Mr. Mitchell       get s here .

20           MS. GREENBERG:      Ms. Johnston    also point ed that

21 out to me .     In the ledger , I've count ed it a zillion

22 time s, and I've talk ed to this witness          at least     three

23 time s.     It's 18 .7, in the ledger     between    January    and

24 April , kilogram s of heroin .       There 's a typographic al

25 error in the transcript        where she didn't      hear 18 and




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 1 she wrote 80 .      It 's not the witness ' --

 2            MR. MONTEMARANO :       I see 50 to 55 .     Your question

 3 was how much he sold to them and that was 20 .                 I was

 4 going to clarify        that he told this court , before         Judge

 5 Titus,   a different      number   back in November , I guess .

 6            MS. GREENBERG:      I thought   he was going to go

 7 into the 80 where it was suppose d to be 18 .             That 's

 8 fine .

 9            THE COURT:     Objection    is withdrawn .

10            MR. MONTEMARANO :       Objection    is withdrawn , Ms.

11 Greenberg ?

12            MS. GREENBERG:      That 's fine .     Go ahead .

13            BY MR. MONTEMARANO :

14 Q.         Do you remember     testify ing here on Tuesday , 22nd

15 of November , 2005 , about six months           ago ?

16 A.         Yes, sir .

17 Q.         Do you remember     being asked how much       heroin    you

18 sold Gwen and Dog ?

19 A.         I remember    being asked that , yes, sir .

20 Q.         Do you remember     what you told the Court ?

21 A.         I think it was approximately          20 kilo s.    I don't

22 remember     the question    that I gave at that time .

23 Q.         You read English ?

24 A.         Yes, sir .

25 Q.         Okay .   So you can read this ?




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 1 A.        Yes, sir .

 2 Q.        What does that say right there ?

 3 A.        Fifty-five    kilo s.

 4 Q.        Fifty to 55 kilo s?

 5 A.        Yes, sir .

 6           MR. MONTEMARANO:        No further   question s, Your

 7 Honor .

 8           MR. MARTIN:       Mr. Goodwin    has no question s for

 9 Mr. Uriarte .

10           MR. HALL:     No question s, Your Honor .

11           MR. MITCHELL:       No question s, Your Honor .

12           THE COURT :    Anyone else ?

13           Any re direct ?

14           MR. WARD:     I'm sorry ?

15           THE COURT:     Oh, you do ?      Thank you .

16                          CROSS-EXAMINATION

17           BY MR. WARD:

18 Q.        I'm just sort of interest ed , sir .           Since you

19 came back illegal ly the second           time , how much money did

20 you make off your drug deal ing operation s?

21 A.        Well , honest ly , the most money that I ever made

22 was Juan Carlos .

23 Q.        Huh ?

24 A.        Juan Carlos , who was the one who made the most

25 money than me .




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 1 Q.        Well , yeah , I'm sure Juan Carlos        made money

 2 because   he was sell ing to you .

 3 A.        Yes, sir .

 4 Q.        The question      is how much did you make all

 5 together ?

 6 A.        Well , I didn't have     a -- I didn't have      an

 7 average   all together      how much I make , but .

 8 Q.        Hum ?

 9 A.        I don't have      an average     of what I made all

10 together , but I did make money .

11 Q.        It sounds    to me like you made about ten grand a

12 kilo .

13 A.        Not myself .

14 Q.        Huh ?

15 A.        Five , $5,000 .

16 Q.        Let 's say $5,000     a kilo .

17 A.        Yes, sir .

18 Q.        And you gave -- you estimate          you sold as much as

19 55 kilo s?

20 A.        Yes, sir .

21 Q.        Of course    you paid tax es on all that money ,

22 right ?

23 A.        No, sir .

24 Q.        Oh , you didn't ?     Oh , I see .

25           That was what help ed you to buy your furniture




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 1 store ; isn't that correct , sir ?        All the money you made

 2 on drug s?

 3 A.         Well , the furniture    store was a family      business ,

 4 so it was n't really      mine .   I work ed there .

 5 Q.         You work ed there ?

 6 A.         Yes, sir .

 7 Q.         You got paid for work ing there ?

 8 A.         Yes, sir .

 9 Q.         And the 55 time s $5,000      went into your pocket ,

10 you didn't     pay any tax es on it ?

11 A.         No, sir .

12 Q.         No what ?    No, you didn't    pay tax es , or no , it

13 didn't     go into your pocket ?

14 A.         What ?   Can you repeat   the question , please ?

15 Q.         My question    is you said , no .    My question    is ,

16 did you mean , no , that you didn't         pay tax es on it , or

17 did you mean no , that the money didn't          go into your

18 pocket ?

19 A.         Some money did go into my pocket .          I didn't   pay

20 tax es because      I was illegal ly in this country .        That 's

21 why .

22 Q.         You didn't    pay tax es because    you were illegal ?

23 A.         Yes, sir .

24 Q.         Some went into your pocket .

25 A.         Yes, sir .




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 1 Q.       I assume     the rest you gave to charitable          cause s,

 2 like the church      and thing s like that ; is that right ?

 3 A.       Well , I helped , you know , my family .

 4 Q.       You help ed your family ?

 5 A.       Yes, sir .

 6 Q.       Are they illegal , too ?

 7 A.       No , they're    legal .

 8 Q.       They're    legal ?

 9 A.       Yes, sir .

10          MR. WARD:      Okay .     All right , sir .    Thank you .

11          THE COURT:      Any other cross ?         Any re direct ?

12          MS. GREENBERG:          Brief ly , Your Honor .

13                         REDIRECT EXAMINATION

14          BY MS. GREENBERG:

15 Q.       This is your ledger ; correct ?

16 A.       Yes, ma'am .

17 Q.       You start record ing in this ledger            the

18 transactions     with Dog start ing on January          29 , 2004 ?

19 A.       Yes, ma'am .

20 Q.       Based on this $44,000         figure , had you had prior

21 transactions     with Dog ?

22 A.       Yes, ma'am .

23 Q.       Did you keep a record         of that ?

24 A.       At the level , no .

25 Q.       So that is no long er in existence ?




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 1 A.       No .

 2 Q.       And you estimate d a certain           amount   based on the

 3 transactions      prior to January      29 , 2004 ?

 4 A.       On this book .

 5 Q.       But you don't have an exact quantity ?

 6 A.       No, ma'am .

 7 Q.       So prior to January         29 , 2000 , how many kilogram s

 8 are we talk ing about ?

 9 A.       I believe     it 's 20 .

10 Q.       Just to be clear .         That 's just an estimate ?

11 A.       Yes, ma'am .

12 Q.       But the amount s for -- from January             29 , 2004 ,

13 are listed      on Page 1 of this that you gave Dog , this

14 sheet right here ?

15 A.       Yes, ma'am .

16 Q.       If we're clear , the number s here 1021 G, 1040 G,

17 633 G, 1500 G, down here , 1065 G.

18          What do they all relate         to ?

19 A.       Heroin .    Kilo s.

20 Q.       And in term s of grams ?

21 A.       Yes, ma'am .     A kilo and 65 grams .

22 Q.       That 's a little      over a kilogram ?

23 A.       Yes, ma'am .

24 Q.       Not to take the jury 's time , but the same thing

25 is on the back of this page ?




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 1 A.       Same thing .

 2 Q.       And you changed       it in the middle     of the page ,

 3 start having     "her " reference .      Two is , gave her , for

 4 example , with this 2200 .

 5 A.       Dog 's girl .

 6 Q.       Who is that ?

 7 A.       Gwendolyn    Levi .

 8 Q.       But this is still on Dog 's account ?

 9 A.       Yes, ma'am .

10 Q.       So all these figure s here in the middle            column

11 start ing on this page from 2000 down to 26 50 , what do

12 they relate ?

13 A.       Kilo s.

14 Q.       And last ly , account     to Dog , Dog 's account , is

15 this the last page of your transactions ?

16 A.       Yes, ma'am .

17 Q.       So they basically       go from January     29 , 2004 , to

18 April 23 of 2004 ; is that correct ?

19 A.       Correct .

20 Q.       And is that in addition          to the approximately      20

21 kilogram s you previous ly testifi ed to ?

22 A.       Yes, ma'am .

23          MS. GREENBERG :       Nothing    further , Your Honor .

24          THE COURT:      Any re cross ?

25                             RECROSS EXAMINATION




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 1            BY MR. MONTEMARANO :

 2 Q.         Do you have your plea agreement , sir ?

 3 A.         Not here , sir .

 4 Q.         Have you discuss ed with Mr. Barber        the potential

 5 sentence     you might receive ?

 6            MS. GREENBERG:      Your Honor , this is outside       the

 7 scope of re direct .

 8            THE COURT:    Approach    the bench

 9                    (At the bar of the Court.)

10            THE COURT:    How is this proper      re cross ?

11            MR. MONTEMARANO:      I'm simply clarifying what she

12 asked --

13            THE COURT:    How is this -- is somehow        this

14 predicate d upon re direct ?

15            MR. MONTEMARANO:      This is predicate d on her

16 re direct and the potential         sentence .   We now went from

17 20 up to 40 .

18            MS. GREENBERG :     Your Honor, I was asking him to

19 clarify what Mr. Montemarano crossed him on, the 55

20 kilograms.     I was asking him to clarify, since he

21 refused even to -- that's all I did.        It was based on

22 his prior     testimony , so it was within       the scope of

23 cross-exami nation,     and this is outside       the scope of

24 redirect .

25            MR. MONTEMARANO :     Based upon her clarification ,




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 1 I have determine d that investigati ng the potential

 2 sentence    based upon his plea agreement           would be

 3 entire ly reasonable .       If the Court says I can't do it ,

 4 obvious ly I can't , Your Honor .

 5            THE COURT:     How far are you going with this line

 6 of question ing ?

 7            MR. MONTEMARANO :    I was going to ask him the

 8 potential     sentence   he was going to receive .           I was

 9 going to ask him a few follow -up question s follow ing up

10 on Mr. Ward 's question s.          I think   I have   ten question s

11 total .

12            THE COURT:     I'm going to sustain         the objection .

13                         (Back in open court .)

14            MR. MONTEMARANO :    Cou rt's indulgence .

15            MR. MONTEMARANO :    Court 's indulgence , please .

16            THE COURT:     You may .

17            MR. MONTEMARANO :    Nothing       further , Your Honor .

18 Thank you .

19            THE COURT:     All right .     You may step down .

20                  (Witness    excused     at 4:26 p.m. )

21            THE COURT:     Counsel     approach   the bench

22                    (At the bar of the Court.)

23            THE COURT:     Is Sergeant     Sakala   available    to be

24 further    examine d?

25            MS. JOHNSTON:     Yes , Sergeant      Sakala   is




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 1 available .     I will advise      the Court that we have two

 2 witness es we have to get on tomorrow              because   of

 3 vacation    schedule s.     They will be -- one will be

 4 definite ly out of order .         This 's the chemist       Gervasoni .

 5 He's going to testify          about some of the      drug s we

 6 haven't    introduced     yet from the search        warrant s and the

 7 other one is Detective          Hub bard .

 8            Sergeant   Sakala    is here and is available          for his

 9 recross -examination , but it 's 4:30 now .

10            THE COURT:     It 's 4:29 .       I have a status

11 conference     in a civil case at 5:00 .           I could go long er ,

12 unless    you all have had enough            of this case for today .

13            MS. JOHNSTON:       I don't think      we've had enough      of

14 this case for this week .

15            THE COURT:     No , we haven't .

16            MS. JOHNSTON:       We've had about four hour s of

17 testimony     between   these two day s; however , I would note

18 that the Court was very narrow               in term s of Ms. Harden 's

19 waiver    of her appearance       here .

20            THE COURT:     That 's correct .

21            MS. JOHNSTON:       I don't know      where counsel     is

22 going .

23            THE COURT:     You are correct .        Thank you for

24 re mind ing me of that .        Okay .     We are going to recess .

25 The jury is asking        to tell them what my anticipate d




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 1 schedule     is for next week , and let me tell you what I'm

 2 planning     to tell them .       Tuesday , I'm going to be

 3 start ing at 10:00 because           I have an ugly civil motion

 4 at 9:00 .     Somebody    want s to de pose the county     executive

 5 of Prince     George's    County .

 6            MS. JOHNSTON:      That ought to be interest ing .

 7            THE COURT:     Yeah.

 8            MR. MONTEMARANO :       Can we come and watch ?

 9            THE COURT:     Wednesday , I have a sen tencing      of

10 another     defendant    in this case .

11            MS. JOHNSTON:      Who is that ?

12            THE COURT:     Mr. Farm er .

13            MS. JOHNSTON:      Oh , okay .

14            THE COURT:     So we have to start at 10:00 .        I

15 have a -- it 's either        a hear ing on pend ing motion s or

16 guilty    plea , in a case on Thursday .        So we will start

17 at 10:00,     and on Friday , I'm going to see if I can do

18 the schedule     of 9:00 to 2:00 .

19            MS. JOHNSTON:      I would just notify     Court that we

20 are be hind my schedule , and my schedule , quite frankly ,

21 taking    into account     we have to have a for feiture

22 proceed ing as well if there is a guilty           find ing , and I

23 believe     that will be contested , so we are be hind

24 government 's schedule        at this point in time .      I still

25 hope to rest next week , although           if we have more




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 1 illness es and more elevator s stuck .

 2            THE COURT:      If we get seriously         be hind , we will

 3 start talk ing about start ing early and run ning late .

 4 Next week , I have 9:00 --         I have block ed out 9 o'clock

 5 matter s, and going from 10 o'clock             to 4:30 every day .

 6 Except     on Friday .    I will recess      today .

 7            Where 's Mr. Sussman ?     You haven't        heard anything

 8 further     from your client ?

 9            Have you heard anything          further    from your

10 client ?

11            MR. SUSSMAN :      I've gotten     some call s, but I

12 haven't     pick ed it up .    I was wait ing until we

13 adjourn ed .

14            THE COURT:      Why don't I dis charge        the jury and I

15 won't lea ve the bench .         Why don't you find out what the

16 stat us is .    I want to make sure you have a way to

17 notify     me and my law clerk .

18            MR. SUSSMAN :      I was try ing to    get your fax

19 number     because    you said you want ed some paperwork .

20            THE COURT:      That 's true .

21            MR. SUSSMAN :      As soon as we break , I will         check .

22            THE COURT:      I will break the jury .         Stay be hind .

23                      (Back in open court .)

24            THE COURT:      Ladies and gentlemen        , we're going to

25 conclude     the testimony     today with that witness .           I will




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 1 resume    tomorrow   at 9:00, and we will go to 2:00, plus

 2 or minus -- 2:30 at the worst , with two break s.               You

 3 asked about next week .        Next week is a day we're

 4 sitting , as you know , four day s of the week .

 5           On Tuesday , Wednesday , and Thursday , we'll start

 6 at 10:00 because       I have 9 o'clock     matter s on those

 7 three day s.     On Friday , the 14 th , a drill day .        I'm

 8 going to try to do the Friday         drill , start ing at 9:00

 9 and end ing at 2:00 .

10           Now , that is subject     to change , and if any

11 change    occur s, I will let you know right away , but I

12 anticipate     that we'll have a full day beginning           at 9:00

13 on Monday     -- excuse   me , Tuesday , and that we'll go

14 until 4:30 .     All right .    You're excused     for the day .

15 Please    do not dis cuss the case amongst        yourselves    or

16 with any other person s until you return .

17                  (Jury excused     at 4:31 p.m. )

18           THE COURT:      Mr. Sussman , did you say -- did you

19 say there 's something      on your cell phone ?

20           MR. SUSSMAN :     Well , no .   There 's some restricted

21 call s.     If the court will allow me , I will        step

22 outside .

23           THE COURT:      Do you want to step outside         and see

24 if you have an update ?

25           MR. SUSSMAN :     That 's what I will try to do .          I




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 1 asked for your fax number .          I have the chamber s number .

 2           THE COURT:     You want me -- I'll give it to you .

 3 It 's (30 1) 34 4-38 88 .

 4           MS. JOHNSTON:      May the interpreter      be excused ?

 5           THE COURT:     Yes, ma'am .     Thank you very much .

 6           MR. MONTEMARANO :       Your Honor , can I address

 7 defense    Counsel   about witness es for tomorrow ?

 8           THE COURT:     Yes .

 9           MS. JOHNSTON:      Your Honor , before     counsel     does

10 that , while Your Honor is still here , if for some

11 reason    Ms. Harden   has a note that her doctor         says she

12 can't come to court tomorrow , I would like the Court to

13 get a waiver     from her so that we can proceed          with

14 testimony    not involving       her directly , and that would be

15 the testimony     of Gervasoni , the chemist       having   to deal

16 with the analysis      of drug s that were not seize d from

17 her that I think she was , at one point , willing              to

18 stipulate    or has stipulate d to some of these find ings .

19           MR. SUSSMAN:      We stipulat ed to the chemist .

20           MS. JOHNSTON:      Right .    But it has to do with

21 people    who have not stipulate d as to their drug s.              Ms.

22 Dobie , and I think Mr. Goodwin          haven't   stipulate d to

23 all their drug s.

24           It also has to do with Detective          Hub bard , I

25 believe , who is the Takoma         Park officer   who arrested




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 1 Mr. Bynum in 19 99, and then we would like to proceed

 2 with the search      warrant s at Paula 's School of

 3 Performing    Arts at Hayward      and , if necessary , we would

 4 go to Oglethorpe       from there , but I don't think        we'll

 5 get that far , and Mr. Echarte 's testimony .

 6           MR. SUSSMAN :     You don't need me .

 7           MS. JOHNSTON:      Mr. Echarte    does not know Ms.

 8 Harden , but I don't want us to lose another             day in

 9 court .

10           THE COURT:      No , I don't intend    to .

11           MS. JOHNSTON:      If Ms. Hard en is willing       to --

12           THE COURT:      Mr. Sussman , you've    got to im pre ss

13 upon your client       that some note from an emergency           room

14 physician 's assistant      that says Ms. Harden        needs bed

15 rest and can't come to court for a week or something                 is

16 not going to do the job .

17           MR. SUSSMAN :     Well , let me just take it one step

18 at a time .

19           THE COURT:      Let 's see what it is .       She needs to

20 understand    I take very seriously        her requirement     to be

21 here .    And I really    need something     very power ful that

22 would indicate     that that 's simply      not possible .

23           MR. SUSSMAN :     Your Honor , I think she took that

24 requirement .     She 's been maki ng appearances        for two

25 year s.    I think she was really       not engage d yesterday




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 1 because    she felt so bad ly , and I think she woke up

 2 feel ing horrible       and thought    she was do ing the right

 3 thing .

 4            THE COURT:      Hope fully with the short session

 5 tomorrow    and the whole weekend         to recover   until

 6 Tuesday , she will be fine .          But im pre ss upon her that

 7 she can't call up and say, gee , I don't feel good and I

 8 can't come .

 9            MR. SUSSMAN :     I will , sir, and I will try to get

10 whatever    paper work they gave her .

11            THE COURT:      I'm work ing on something      here , so

12 you go out and make your phone call and tell me what --

13 you come back and tell me what you find out because                   if

14 we can address     it today , I'd like to .

15            MR. SUSSMAN :     I will see what I can get .        If

16 she 's got paperwork , I will have it faxed to you .

17            MS. JOHNSTON:      If she can't be here , I would

18 like a waiver .

19            MR. SUSSMAN :     I will   try to do that .

20                  (Off the record         at 4:35 p.m. )

21                  (On the record       at 4:39 p. m.)

22            MR. SUSSMAN :     I have Ms. Harden     on the phone .

23 She has not been seen .         Crisis    in emergency    medicine .

24 Given that situation , I ex press ed -- I don't know             if

25 she can hear me .        I ex press ed a concern    that you want




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 1 her here at 9 o'clock         tomorrow , that we could do

 2 something     similar , if worse came to worse that we did

 3 today , but that would not be anyone 's de sire .           She has

 4 not been seen .      I'll -- you know , I will instruct         her

 5 to do what you suggest .         Do you want the paperwork        once

 6 she get s seen faxed direct ly to you ?

 7            MS. JOHNSTON:      My suggestion     is she bring

 8 whatever    paperwork   she has tomorrow       morn ing .

 9            THE COURT:      I think she should     come here with

10 her paper work .

11            MS. JOHNSTON:      If she were in a life -threatening

12 or serious     injury , she would have been seen .

13            THE COURT:      This is my alma mater , Johns

14 Hopkins .     I can't believe     they would make her sit in an

15 emergency     room all day l ong if she were an emergent

16 patient .

17            MR. SUSSMAN :     It depends    on what come s in on any

18 given day .

19            THE COURT:      Tell her I expect     her to be here

20 tomorrow    and she should      bring whatever     note she has

21 with her and we will deal wit h it, but she really              has

22 to be here .

23            MR. SUSSMAN :     I'm sorry,    Your Honor .

24            THE COURT:      All right .

25                  (Off the record         at 4:40 p.m. )




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 1                             CERTIFICATE

 2

 3       I, Tracy Rae Dunlap,       RPR , CRR , an Official Court

 4 Reporter for the United States District Court of

 5 Maryland, do hereby certify that I reported, by machine

 6 shorthand, in my official capacity, the proceedings had

 7 and testimony adduced upon the Jury Trial Proceedings

 8 in the case of UNITED STATES OF AMERICA versus PAULETTE

 9 MARTIN, et al,     Criminal Action Number        RWT -04-0235 on

10 July 6, 2006.

11

12       I further certify that the foregoing            225 pages

13 constitute the official transcript of said proceedings,

14 as taken from my machine shorthand notes, of said

15 proceedings.

16

17       In witness whereof, I have hereto subscribed my

18 name, this     24th day of April 2008.

19

20

21                              __________________________

22                              TRACY RAE DUNLAP, RPR , CR R
                                OFFICIAL COURT REPORTER
23

24

25




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